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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    02/26/2021
                                                                                                    CT Log Number 539113790
TO:         Suzanne Scelza
            Berkley Shared Services
            2445 Kuser Rd Ste 201
            Trenton, NJ 08690-3361

RE:         Process Served in Wisconsin

FOR:        StarNet Insurance Company (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Kathleen Filighera, etc., Pltf. vs. Starnet Insurance Company, Dft.
DOCUMENT(S) SERVED:                               -
COURT/AGENCY:                                     None Specified
                                                  Case # 2021CV000061
NATURE OF ACTION:                                 Insurance Litigation
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Madison, WI
DATE AND HOUR OF SERVICE:                         By Process Server on 02/26/2021 at 10:26
JURISDICTION SERVED :                             Wisconsin
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 02/26/2021, Expected Purge Date:
                                                  03/03/2021

                                                  Image SOP

                                                  Email Notification, Suzanne Scelza sscelza@wrberkley.com

                                                  Email Notification, Melissa Riefenhauser mriefenhauser@wrberkley.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  301 S. Bedford Street
                                                  Suite 1
                                                  Madison, WI 53703
                                                  800-448-5350
                                                  MajorAccountTeam1@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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  STATE OF WISCONSIN                         CIRCUIT COURT                 WOOD                                                          02-16-2021
                                                                                                                                         Clerk of Circuit Court
• Kathleen Filighera vs. Starnet Insurance Company       Electronic Filing                                                               Wood County, WI
                                                              Notice
                                                                                                                                         2021CV000061
                                                     Case No. 2021CV000061                                                               Honorable Gregory J.
                                                     Class Code: Other-Contract                                                          Potter
                                                                                                                                         Branch 1



                                  STARNET INSURANCE COMPANY                                                                    PROCESS SEVER
                                  301 S. BEDFORD ST, SUITE 1                                                                   TIME           DATE
                                                                                                                               ()PERSONAL    ()SUBST T
                                  MADISON WI 53703                                                                             ()POSTED      () CORPORATE




                 Case number 2021CV000061 was electronically filed with/converted by the Wood 6         ;ounty
                                                                                                         --------
                                                                                                             -    N
                 Circuit Court office. The electronic filing system is designed to allow for fast,reliable'exchange
                 of documents in court cases.

                 Parties who register as electronic parties can file, receive and viewliocuments,pnlin‘through
                 the court electronic filing website. A document filed electron/id-alphas thksameJegal effect as
                 a document filed by traditional means. Electronic parties are responsible,for serving
                 non-electronic parties by traditional means.

                 You may also register as an electronic party.by following.tbeliStructions found at
                 http://efiling.wicourts.gov/ and mayAvith-deaW.asi6n•eldcfronic party at any time. There is a
                 $20.00 fee to register as an electronic,party. ))

                 If you are not representecy%p9„.attpi-neyand;would like to register an electronic party, you
                 will need to enter thelollowingucode on the eFiling website while opting in as an electronic
                 party.

                 Pro Se opt-in code: 3eb7e7

                - Unless\y9u r.egister•as an electronic party, you will be served with traditional paper documents
                  by otherparties and by the court. You must file and serve traditional paper documents.
                          ))
                  Registration is available to attorneys, self-represented individuals, and filing agents who are
                 authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                 agency, corporation, or other group. Non-attorney individuals representing the interests of a
                  business, such as garnishees, must file by traditional means or through an attorney or filing
                 agent. More information about who may participate in electronic filing is found on the court
                 website.

             — If you have questions regarding this notice, please contact the Clerk of Circuit Court at
               715-421-8807.

                                                                                     Wood County Circuit Court
                                                                                     Date: February 16, 2021




 GF-180(CCAP), 06/2017 Electronic Filing Notice                                                                                           §801.18(5)(d), Wisconsin Statutes
                                                  This form shall not be modified. It may be supplemented with additional material.
      Case 2021CV000061       Document 2Filed 02-12-2021                Page 1 of 8
          Case: 3:21-cv-00208-wmc Document #: 1-2 Filed: 03/26/21 Page 3 ofFILED
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                                                                                       Clerk of Circuit Court
                                                                                       Wood County, WI
                                                                                       2021CV000061
                                                                                       Honorable Gregory J.
                                                                                       Potter
                                                                                       Branch 1

STATE OF WISCONSIN                           CIRCUIT COURT                     WOOD COUNTY



KATHLEEN FILIGHERA
D/B/A PALO VERDE TRAINING STABLE,LLC
4331 Washington Street
Wisconsin Rapids, WI 54494
                                                              Case No.
                                                              Case Codes:30303
                                                                         30106
VS.


STARNET INSURANCE COMPANY
do CT Corporation System
301 S. Bedford St, Suite 1
Madison, WI 53703

                        Defendant.

                                            SUMMONS
THE STATE OF WISCONSIN to each party named above as a defendant:

          You are hereby notified that the Plaintiff named above has filed a lawsuit or other legal
action against you. The Complaint, which is attached, states the nature and basis of the legal
action.
          Within twenty (45) days of receiving this Summons, you must respond with a written
Answer, as that term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint. The
Court may reject or disregard an Answer that does not follow the requirements of Wisconsin
statutes. The Answer must be sent or delivered to the Court, whose address is:
          Clerk of Courts
          Wood County Courthouse
          400 Market Street
          P.O. Box 8095
          Wisconsin Rapids, WI 54495-8095
                                                                Page 2 of 8
      Case:
   Case                 Document 2Document
        2021C3:21-cv-00208-wmc
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                                       Filed#:02-12  Filed: 03/26/21 Page 4 of 132




and to Plaintiff's attorney, whose address is:
        Gebert Law Office, LLC
        181 Market Street
        P.O. Box 848
        Wisconsin Rapids, WI 54495-0848
You may have an attorney help represent you.
                                                                      days, the Court may grant a
        If you do not provide a proper Answer within twenty (45)
                                                          legal action requested in the Complaint,
judgment against you for the award of money or other
                                                          or may be incorrect in the Complaint. A •
and you may lose your right to object to anything that is
                                                           ent awarding money may become a lien
judgment may be enforced as provided by law. A judgm
                                                           may also be enforced by garnishment or
 against any real estate you own now or in the future, and
seizure ofproperty.


 Dated thi          day of February, 2021.
                                                     GEBERT LAW OFFICE, LLC
                                                     Attorneys for the Plaintiff

 GEBERT LAW OFFICE,LLC
 181 Market St
 P.O. Box 848
                                                     TimotO S. Gebert
 Wisconsin Rapids, WI 54495-0848
                                                     State Bar No. 1030499
 715.424.1800
 715.424.1801 (fax)
      Case 2021CV000061
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                                                                                     Wood County, WI
                                                                                     2021CV000061
                                                                                     Honorable Gregory J.
                                                                                     Potter
                                                                                     Branch 1
STATE OF WISCONSIN                    CIRCUIT COURT                WOOD COUNTY




KATHLEEN FILIGHERA
D/B/A PALO VERDE TRAINING STABLE,LLC
4331 Washington Street
Wisconsin Rapids, WI 54494                                 Case No.:

                Plaintiff                                  Case Codes: 30303
VS.                                                                    30106

STARNET INSURANCE COMPANY
c/o CT Corporation System
301 S. Bedford Street, Suite 1
Madison, WI 53703

                Defendant.


                                         COMPLAINT


NOW COMES the Plaintiff, Kathleen Filighera, D/B/A Palo Verde Training Stable, LLC,by its
attorneys, Gebert Law Office, LLC,and complains of the following:

                                           PARTIES

         1.     Kathleen Filighera is an adult resident of the State of Wisconsin doing business

      as Palo Verde Training Stable, LLC ("Palo Verde"), a domestic limited liability company

      with a principal place of business of 4331 Washington Street, Wisconsin Rapids, Wisconsin

      54494.

         2.    StarNet Insurance Company ("StarNet") is a foreign stock company with a

      principal place of business of 11201 Douglas Avenue, Urbandale Iowa 50322. The registered
Case 2021CV000061
  Case:             DocumentDocument
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                                                                 Page 4Page




agent for service of process for StarNet Insurance Company is CT Corporation System

located at 301 S. Bedford Street, Suite 1, Madison, Wisconsin 53703.

                                         FACTS

   1.      The Parties entered into a contract for StarNet to provide liability and property

insurance coverage for Palo Verde from July 31, 2018 through July 31, 2019.

   2.      As consideration, Palo Verde paid $4,403.00 in premiums to StarNet.

   3.      A true and accurate copy of this policy provided by StarNet to Palo Verde is

attached as Attachment A.

   4.      This policy provided coverage for Palo Verde's Stable/Arena in the amount of

$326,000 and included coverage for replacement cost.

   5.      Under Coverage G, this policy provided coverage for damage or loss to Palo

Verde's Stable/Arena when such damage is caused by windstorm.

   6.      Under Coverage G, this policy provided coverage for damage or loss to the

interior of Palo Verde's Stable/Arena that is caused by rain, snow, sleet, sand, or dust when

such rain snow, sleet, sand, or dust enters the Stable/Arena's interior through its roof or

walls because the Stable/Arena first sustained wind damage to its roof or walls.

   7.      On'July 20, 2019, wind caused significant damage to the Stable/Arena's roof,

wall, and electrical system.

   8.      On July 20, 2019, wind caused sufficient damage to the Stable/Arena's roof and

walls such that rain, snow sleet, sand, or dust entered the Stable/Arena's interior and caused

damage to the interior.
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    9.     Kathleen 'Filighera ("Ms. Filighera"), the owner and operator of Palo Verde,

promptly reported the damage consistent with the provisions of the policy.

    10.    Ms. Filighera promptly contacted contractors to secure their services to mitigate

the damage caused by the wind.

    11.    Ms. Filighera took reasonable efforts to secure contractors to mitigate the damage

caused by the wind.

    12.   .A contractor who examined the Stable/Arena informed Ms. Filighera that the

Stable/Arena cannot be safely or economically repaired.

    13.    StarNet has breached the contract for insurance by refusing to pay to Palo Verde

the replacement cost of the Stable/Arena.

    14.    Rather, StarNet has offered payment only for its projected cost to repair the

damage to the structure.

    15.    However,StarNet has also breached the contract for insurance by refusing to pay

for covered losses caused by covered events, including deterioration in the Stable, stall

framing, wood paneling, and hallway floors that were all caused by rain after wind caused

damage to the Stable/Arena's roof or walls.

    16.   StarNet further breached the contract for insurance by refusing to pay for repairs

made to the Stable/Arena's electrical system.

                       First Cause of Action: Breach of Contract

    17.   As and for a first cause of action, Plaintiff incorporates the above and further

states:
Case 2021CV000061
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    1.8.   The policy issued by StarNet provides coverage for loss of or damage to Palo

Verde's Stable/Arena caused by windstorm.

    19.    The policy issued by StarNet provides coverage for loss of or damage to the

interior of Palo Verde's Stable/Arena when such loss or damage is caused by rain after the

Stable/Arena sustained wind damage to its roof or walls through which the rain entered.

    20.    The policy issued by StarNet includes replacement cost coverage for the

Stable/Arena.

   21.     The Stable/Arena cannot be repaired and must be replaced.

   22.     StarNet refuses to pay for the replacement cost.

   23.     StarNet refuses to pay for electrical damage to the table/Arena that was caused

by windstorm.

   24.     StarNet refuses to pay for damage to the interior of Palo Verde's Stable/Arena

that was caused by rain after the Stable/Arena sustained wind damage to its roof or walls

through which the rain entered.

   25.     StarNet's breach of the contract for insurance has caused Pali?,Verde to suffer the

loss of its Stable/Arena for an unreasonable period of time.

                           Second Cause of Action: Bad Faith

   26.     As and for a second cause of action, Plaintiff incorporates the above and further

states:

   27.     StarNet had no reasonable basis for denying Palo Verde's claim for the

replacement cost of its Stable/Arena and either knew or recklessly failed to ascertain that

Palo Verde's claim for replacement costs should have been paid.
   Case 2021CV000061
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       28.    StarNet failed to reasonably investigate the claim after Palo Verde provided

   evidence contradicting the report on which StarNet relied to deny Palo Verde's claim for

   replacement costs.

                   THIRD CAUSE OF ACTION:PUNITIVE DAMAGES

       29.    As and for a third cause of action, Plaintiff incorporates the above and further

   states:

       30.    StarNet acted maliciously or with intentional disregard for Palo Verde's rights.

       31.    StarNet's actions were sufficiently aggravated as to warrant punishment with

   punitive damages pursuant to Wis. Stat.§ 895.043

WHEREFORE,Palo Verde demands judgment against StarNet as follows:

   1. For actual damages caused by StarNet's breach of contract;

   2. For punitive damages;

   3. For actual attorneys fees; and

   4. All other relief the Court deems appropriate.



            lk
Dated this//- day of February, 2021.

                                                   Gebert Law Office, LLC
                                                   Attorneys for Plaintiff

                                           Signed:   /
                                                  Ti thy S. Gebert
                                                 S : 1030499
P.O. Address
Gebert Law Office, LLC
181 Market Street
P.O.Box 848
Wisconsin Rapids, WI 54495-0848
      Case 2021CV000061  Document 4           02-16-2021       Page 1 of 123
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                                                                                       Clerk of Circuit Court
                                                                                       Wood County, WI
                                                                                       2021CV000061
                                                                                       Honorable Gregory J.
                                                                                       Potter
                                                                                       Branch 1

STATE OF WISCONSIN                           CIRCUIT COURT                     WOOD COUNTY



KATHLEEN FILIGHERA
D/B/A PALO VERDE TRAINING STABLE, LLC
4331 Washington Street
Wisconsin Rapids, WI 54494
                                                              Case No. 21CV61
                        Plaintiff,                            Case Codes: 30303
                                                                          30106
VS.


STARNET INSURANCE COMPANY
c/o CT Corporation System
301 S. Bedford St, Suite 1
Madison, WI 53703

                        Defendant.


                                      AMENDED SUMMONS


THE STATE OF WISCONSIN to each party named above as a defendant:

          You are hereby notified that the Plaintiff named above has filed a lawsuit or other legal
action against you. The Complaint, which is attached, states the nature and basis of the legal
action.
          Within twenty (45) days Of receiving this Summons, you must respond with a written
Answer, as that term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint. The
Court may reject or disregard an Answer that does not follow the requirements of Wisconsin
statutes. The Answer must be sent or delivered to the Court, whose address is:
         Clerk of Courts
       • Wood County Courthouse
         400 Market Street
         P.O. Box 8095
         Wisconsin Rapids, WI 54495-8095
                            Document 4
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        Case:  3:21-cv-00208-wmc   DocumentFiled 02-16-2021
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  and to Plaintiff's attorney, whose address is:
           Gebert Law Office, LLC
           181 Market Street
           P.O. Box 848
           Wisconsin Rapids, WI 54495-0848
  You may have an attorney help represent you.

            If you do not provide a proper Answer within twenty (45) days, the Court may grant a
 judgment against you for the award of money or other legal action requested in the Complaint,
  and you may lose your right to object to anything that is or may be incorrect in the Complaint. A
 judgment may be enforced as provided by law. A judgment awarding money may become a lien
  against any real estate you own now or in the future, and may also be enforced by garnishment or
  seizure of property.



  Dated this 16th day of February, 2021.
                                                      GEBERT LAW OFFICE, LLC
                                                      Attorneys for the Plaintiff

  GEBERT LAW OFFICE, LLC
' 181 Market St                                       By:
  P.O. Box 848                                        Timothy Gebert
  Wisconsin Rapids, WI 54495-0848                     Stat ar No. 1030499
  715.424.1800
  715.424.1801 (fax)
      Case 2021CV000061
        Case:             DocumentDocument
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STATE OF WISCONSIN                   CIRCUIT COURT                 WOOD COUNTY




KATHLEEN FILIGHERA
D/B/A PALO VERDE TRAINING STABLE,LLC
4331 Washington Street
Wisconsin Rapids, WI 54494                                 Case No.: 21CV61

                Plaintiff                                  Case Codes: 30303
VS.                                                                    30106

STARNET INSURANCE COMPANY
c/o CT Corporation System
301 S. Bedford Street, Suite 1
Madison, WI 53703

                Defendant.


                                   AMENDED COMPLAINT



NOW COMES the Plaintiff, Kathleen Filighera, D/B/A Palo Verde Training Stable, LLC,by its
attorneys, Gebert Law Office, LLC, and complains of the following:

                                           PARTIES

         1.     Kathleen Filighera is an adult resident of the State of Wisconsin doing business

      as Palo Verde Training Stable, LLC ("Palo Verde"), a domestic limited liability company

      with a principal place of business of 4331 Washington Street, Wisconsin Rapids, Wisconsin

      54494.

         2. .   StarNet Insurance Company ("StarNet") is a foreign stock company with a

      principal place of business of 11201 Douglas Avenue, Urbandale Iowa 50322. The registered
Case 2021CV000061
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                                                           Page Page   13 of 132



agent for service of process for StarNet Insurance Company is CT Corporation System

located at 301 S. Bedford Street, Suite 1, Madison, Wisconsin 53703.

                                         PACTS

   1.      The Parties entered into a contract for StarNet to provide liability and property

insurance coverage for Palo Verde from July 31, 2018 through July 31, 2019.

   2.      As consideration, Palo Verde paid $4,403.00 in premiums to StarNet.

   3.      A true and accurate copy of this policy provided by StarNet to Palo Verde is

attached as Exhibit A.

   4.      This policy provided coverage for Palo Verde's Stable/Arena in the amount of

$326,000 and included coverage for replacement cost.

   5.      Under Coverage G, this policy provided coverage for damage or loss to Palo

Verde's Stable/Arena when such damage is caused by windstorm.

   6.      Under Coverage G, this policy provided coverage for damage or loss to the

interior of Palo Verde's Stable/Arena that is caused by rain, snow, sleet, sand, or dust when

such rain snow, sleet, sand, or dust enters the Stable/Arena's interior through its roof or

walls because the Stable/Arena first sustained wind damage to its roof or walls.

   7.      On July 20, 2019, wind caused significant damage to the Stable/Arena's roof,

wall, and electrical system.

   8.      On July 20, 2019, wind caused sufficient damage to the Stable/Arena's roof and

walls such that rain, snow sleet, sand, or dust entered the Stable/Arena's interior and caused

damage to the interior.
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                                              Filed: 03/26/21    of 123
                                                               Page   14 of 132



    9.     Kathleen Filighera ("Ms. Filighera"), the owner and operator of Palo Verde,

promptly reported the damage consistent with the provisions of the policy.

    10.    Ms. Filighera promptly contacted contractors to secure their services to mitigate

the damage caused by the wind.

    11.    Ms. Filighera took reasonable efforts to secure contractors to mitigate the damage

caused by the wind.

    12.    A contractor who examined the Stable/Arena informed Ms. Filighera that the

Stable/Arena cannot be safely or economically repaired.

    13.    StarNet has breached the contract for insurance by refusing to pay to Palo Verde

the replacement cost of the Stable/Arena.

    14.    Rather, StarNet has offered payment only for its projected cost to repair the

damage to the structure.

    15.    However, StarNet has also breached the contract for insurance by refusing to pay

for covered losses caused by covered events, including deterioration in the Stable, stall

framing, wood paneling, and hallway floors that were all caused by rain after wind caused

damage to the Stable/Arena's roof or walls.

    16.   StarNet further breached the contract for insurance by refusing to pay for repairs

made to the Stable/Arena's electrical system.

                       First Cause of Action: Breach of Contract

    17.    As and for a first cause of action, Plaintiff incorporates the above and further

states:
Case 2021CV000061
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    18.    The policy issued by StarNet provides coverage for loss of or damage to Palo

Verde's Stable/Arena caused by windstorm.

    19.    The policy issued by StarNet provides coverage for loss of or damage to the

interior of Palo Verde's Stable/Arena when such loss or damage is caused by rain after the

Stable/Arena sustained wind damage to its roof or walls through which the rain entered.

    20.    The policy issued by StarNet includes replacement cost coverage for the

Stable/Arena.

    21.    The Stable/Arena cannot be repaired and must be replaced.

    22.    StarNet refuses to pay for the,replacement cost.

    23.    StarNet refuses to pay for electrical damage to the Stable/Arena that was caused

by windstorm.

   24.     StarNet refuses to pay for damage to the interior of Palo Verde's Stable/Arena

that was caused by rain after the Stable/Arena sustained wind damage to its roof or walls

through which the rain entered.

    25.    StarNet's breach of the contract for insurance has caused Palo Verde to suffer the

loss of its Stable/Arena for an unreasonable period of time.

                           Second Cause of Action: Bad Faith

    26.    As and for a second cause of action, Plaintiff incorporates the above and further

states:

    27.    StarNet had no reasonable basis for denying Palo Verde's claim for the •

replacement cost of its Stable/Arena and either knew or recklessly failed to ascertain that

Palo Verde's claim for replacement costs should have been paid.
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        28.    StarNet.failed to reasonably investigate the claim after Palo Verde provided

    evidence contradicting the report on which StarNet relied to deny Palo Verde's claim for

    replacement costs.

                    THIRD CAUSE OF ACTION:PUNITIVE DAMAGES

        29.    As and for a third cause of action, Plaintiff incorporates the above and further

    states:
•

       30.     StarNet acted maliciously or with intentional disregard for Palo Verde's rights.

       31.     StarNet's actions were sufficiently aggravated as to warrant punishment with

    punitive damages pursuant to Wis. Stat. § 895.043

WHEREFORE,Palo Verde demands judgment against StarNet as follows:

    1. For actual damages caused by StarNet's breach of contract;

    2. For punitive damages;

    3. For actual attorneys fees; and

    4. All other relief the Court deems appropriate.




Dated this 16th day of February, 2021.

                                                    Gebert Law Office, LLC
                                                    Attorneys for Plaintiff

                                            Signed:
                                                   Ti othy S. Gebert
                                                   SBN: 1030499
P.O. Address
Gebert Law Office, LLC
181 Market Street
P.O. Box 848
Wisconsin Rapids, WI 54495-0848
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                                                                    Agency Name, Address and Telephone:
                   Berkley                                          Excalibur Insurance Agency 06000
                                                                    PO Box 500
                   Equine & Cattle'• La,,r;.1,
                                             ?y,
                                                                    Hartland, WI 53029-0500
                                                                   (800)617-2450

   Issuing Company: StarNet Insurance Company
   Underwriting Office: 3655 North Point Parkway, Suite 625, Alpharetta, GA 30005 Telephone: 866-298-5525


                   FARM COMMON POLICY DECLARATIONS

 POLICY NUMBER:             QFO 4126600 - 13                PRIOR POLICY NUMBER:                     4126600-12
 NAMED INSURED:             Palo Verde Training Stable, LLC & Kathleen Filighera

 MAILING ADDRESS:          4331 Washington St.
                           Wisconsin Rapids, WI 54494


POLICY PERIOD:              FROM: 07/31/2018                            TO:    07/31/2019
                            at 12:01 A.M. Standard Time at your mailing address shown above.

Bill To: Insured           Pay Plan: 4P                            Direct Bill Account Number: 10001599
                                                                   Pay online - go to - berkleyequine.com

BUSINESS DESCRIPTION:              Equine Farm

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

     THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS
                  INDICATED. THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
                                                                            Premium
 FARM LIABILITY COVERAGE PART                                                    678
 FARM PROPERTY COVERAGE PART                                                    3,725
                                                    TOTAL: $                    4,403

FORMS APPLICABLE:
Number    Edition            pescriotion
FP 01 48      10-2002        Wisconsin Changes
IL 00 03      07-2002        Calculation of Premium
IL 00 17      1 1-1998       Common Policy Conditions
IL 00 21      07-2002        Nuclear Energy Liability Exclusion - Broad Form
IL 00 39      01-2006        Exclusion Of Terrorism
IL 02 83      07-2002        Wisconsin Changes - Cancellation And Nonrenewal
IL 75 04      05-2003        Privacy Notice - StarNet Insurance Company



COUNTERSIGNED                                                     BY
(Where required)         (Date)                                          (Authorized Representative)


                                                           EXHIBIT




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             COMMON POLICY DECLARATIONS - FARM

StarNet Insurance Company

                                                ed and attested your policy.
ATTESTATION - IN WITNESS WHEREOF,We have execut




            Secretary                                   President




                                                                               Pogo 1 of 1
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                                                                 Agency Name, Address and Telephone:
     AIL Berkley                                                 Excalibur Insurance Agency 06000
                                                                 PO Box 500
     Ale Equine & Cattle-                                        Hartland, WI 53029-0500
                                                                (800)617-2450

     Issuing Company: StarNet Insurance Company
     Underwriting Office: 3655 North Point Parkway, Suite 625, Alpharetta, GA 30005 Telephone: 866-298-5525


        FARM PROPERTY COVERAGE FORM DECLARATIONS

 POLICY NUMBER:           ORD 4126600- 13                 PRIOR POLICY NUMBER:                   4126600-12
 NAMED INSURED:           Palo Verde Training Stable, LLC & Kathleen Filighera

  MAILING ADDRESS:        4331 Washington St.
                          Wisconsin Rapids, WI 54494

 POLICY PERIOD:           FROM: 07/31/2018                            TO:    07/31/2019
                          at 12:01 A.M. Standard Time at your mailing address shown above.

 IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
 WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


 "INSURED LOCATIONS":
 "Insured Location"#  Location*
 1                    35 Acres
                      4300 Washington St.
                      Wisconsin Rapids, Wood, WI 54494

 2                          80 Acres
                            4121 Washington St.
                            Wisconsin Rapids, Wood, WI 54494


 COVERAGES PROVIDED Insurance at the "Insured Locations" applies only for coverage for which Limits
 of Insurance are shown.

Loc,#   Coverage & Description                               Limit of          Covered Cause                Premium
Bidg#                                                        insurance         Of Loss
1-1     Coverage A - Dwelling                            $        113,000      SPECIAL               $             481
1 - '1  Coverage B - Other Private Structures            $          11,300     SPECIAL               $               0
1 -1    Coverage C - Household Personal Property         $           1,000     BROAD                 $               4
1 -1    Coverage D - Loss Of Use                 _       $          11,300     SPECIAL               $               0
 $ 2,500 Deductible
 Replacement Cost on Household Personal Property

Loc#     Coverage & Description                              Limit of          Covered Cause                Premium
Bidg#                                                        Insurance         Of Loss




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 Policy No.:       OF° 4126600 - 13

2- 1     Coverage A - DweIlin                                          160,000 SPECIAL                                      681

2- 1   1
2 -.1 __ Coverage B - Other Private Structures
         Coverage D - Loss Of Use
 $ 2,500 Deductible
                                                                        16,000 SPECIAL
                                                                        16,000 SPECIAL
                                                                                                                              0
                                                                                                                              0


COVERAGE G - SCHEDULE OF COVERED PROPERTY:
Loc.# Coverage G - Description of Covered   Limit of      Covered Cause                                           Premium
Bldg# Property                              Insurance     Of Loss
1 -2     Garage                           $        57,000 SPECIAL                                        $                  254
$ 2,500 Deductible
Replacement CostIncluded

Loc.# Coverage G - Description of Covered                     Limit of     Covered Cause                         Premium
Bldg# Property                                                Insurance    Of Loss
2- 2     Stable/Arena                                       $      326,000 SPECIAL                       $                1,452
$ 2,500 Deductible
Replacement Cost Included

Loc.# Coverage G - Description of Covered                     Limit of     Covered Cause                         Premium
Bldg# Property                                                Insurance    Of Loss
2-3      Stable #2                                          $      162,000 SPECIAL                       $                  721
$ 2,500 Deductible
Replacement Cost Included

OTHER COVERAGE AND ENDORSEMENTS:
Endorsement      Title                                                                                         Premium
Number


FORMS APPLICABLE:
Number    Edition             Description
CL FP 01 03     09-2002      Fungus, Wet Or Dry Rot, Or Bacteria Or Other Microbes Exclusion
FP 00 12        01-1998      Farm Property. Farm Dwellings, Appurtenant Structures And Household Personal Property Coverage Form
FP 00 13        01-1998      Farm Property - Farm Personal Property Coverage Form
FP 00 14        01-1998      Farm Property - Barns, Outbuildings And Other Farm Structures Coverage Form
FP 00 90        01-1998      Farm Property. Other Farm Provisions Form -Additional Coverages, Conditions, Definitions
FP 0304         01-1998      Single Farm Property Per-Occurrence Deductible
FP 04 36        01-1998      Replacement Cost - Household Personal Property
FP 10 21        04-1998      Exclusion of Certain Computer Related Losses
FP 10 60        01-1998      Causes of Loss Form - Farm Property
FP 75 00        12-2003      Ordinance Or Law
FP 75 02        04-2011      Endorsement• Coverage Enhancements And Increased Limits
FP 75 03        04-2011      Endorsement - Changed Limits Of Insurance
FP 7507         04-2011      Endorsement - Barns, Outbuildings And Other Farm Structures Coverage Enhancements




 COUNTERSIGNED                                                    BY
(Where required) (Date)                                                 (Authorized Representative)




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DECLARATIONS PAGE B - SCHEDULE OF"FARM PERSONAL PROPERTY" - COVERAGE E

SCHEDULE OF FARM PERSONAL PROPERTY:
Loc.# Item                 Covered                    Limit of             Deductible                  Premium
Bldg#                      Cause of Loss              Insurance
1     Hay in Barns         BROAD                    $        5,000        $          2,500      $                 36
1     Saddles &            BROAD                    $        3,000        $          2,500      $                 20
      Miscellaneous Tack
1     1996 H & S Manure    SPECIAL                  $          2,000      $          2,500      $                  6
      Spreader
      M#MS175BP /
      S#791375
1     1950 Ford Tractor    SPECIAL                  $          3,000      $          2,500      $                  7
      M#9N
1     1950 Farmall Tractor SPECIAL                  $          1,500      $          2,500      $                  4
      M#504                                                                                              ,
1     2004 JD Gator        SPECIAL                  $          3,000      $          2,500      $                  7
1     2007 John Deere      SPECIAL                  $         21,000      $          2,500      $                 51
      4329 Tractor WI
      Loader
1     Bush Hog             SPECIAL                  $            700      $          2,500      $                  2




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                                                                           Agency Name, Address and Telephone:
                 Berkley                                                   Excalibur Insurance Agency 06000
                                                                           PO Box 500
                 Equine & Cattle.                                          Hartland, WI 53029-0500
                                                                          (800)617-2450

    • Issuing Company: StarNet Insurance Company
      Underwriting Office: 3655 North Point Parkway, Suite 625, Alpharetta, GA 30005 Telephone: 866-298-5525


              FARM LIABILITY COVERAGE DECLARATIONS

POLICY NUMBER:                QFO 4126600- 13                      PRIOR POLICY NUMBER:4126600-12
NAMED INSURED:                Palo Verde Training Stable, LLC & Kathleen Filighera

MAILING ADDRESS:              4331 Washington St.
                              Wisconsin Rapids, WI 54494


POLICY PERIOD:                FROM: 07/31/2018                            TO:     07/31/2019
                              at 12:01 A.M. Standard Time at your mailing address shown above.

FORM OF BUSINESS:
0 Individual                  0 Partnership                                   0 Joint Venture
  Limited Liability Company 0 Trust
0 Organization (Other than Partnership, Joint Venture or Limited Liability Company)

"Description Of Premises:
"Insured Location" #    Location*
1                       35 Acres
                        4300 Washington St.
                        Wisconsin Rapids, Wood, WI 54494

2                           80 Acres
                            4121 Washington St.
                            Wisconsin Rapids, Wood, WI 54494

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL'THE TERMS OF THIS POLICY,
WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


COVERAGES PROVIDED:                             LIMITS OF INSURANCE:                                 PREMIUM:

Coverage H        Bodily Injury and Property
                  Damage Liability
Coverage I        Personal and Advertising $            1,000,000 General Aggregate Limit
                  Injury Liability
Coverage H        Bodily Injury and Property $            500,000 Each "Occurrence" Limit            $            637
                  Damage Liability
Coverage I        Personal and Advertising $ •            500,000 Any One Person or Organization Limit
                  Injury Liability
Coverage H        Fire Damage Limit                       100,000 Any One Fire (Premises Rented To Others)




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Policy No.:       QFO 4126600 - 13

Coverage J         Medical Payments                                5,000 Any One Person Limit    $                  13
                                                                         (Except "Residence
                                                                         Employees")
                                                                   1,000 Any One "Residence Employee"

OTHER COVERAGE AND ENDORSEMENTS:
Endorsement Number Title                                                                               Premium

FL 0406                        Additional Residence Rented To Others                                                28

FORMS APPUCABLE:
N umber   Edition               Description
FL 00 20  01-1998              Farm Liability Coverage Form
FL 01 16        09-1994        Exclusion - Migrant And Seasonal Agricultural Worker Protection Act
FL 01 63        01-1998        Amendatory Endorsement
FL 04 08        01-1998        Additional Residence Rented to Others
FL 10 20        12-2002        War Liability Exclusion
FL 10 35        12-2002        Fungi Or Bacteria Exclusion - Liability
FL 10 90        01-2006        Exclusion Of Terrorism
FL 75 04        12-2003        Endorsement - Asbestos, Lead, And Silica Exclusion
FL 75 06        01-2007        Endorsement - Equine Activities - Owner Occupied Insured Location



COUNTERSIGNED                                                         BY
(Where required) (Date)                                                      (Authorized Representative)




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                                                                                                           FARM
                                                                                                FP RN 79 00 06 08

                                            StarNet Insurance Company
                                                A Berkley Company

Underwriting Office: 3655 North Point Parkway, Suite 625, Alpharetta, GA 30005
Telephone Number:866-298-5525

FARMOWNERS POLICY RENEWAL CERTIFICATE:

Expired Policy Number: QFO 4126600-12             Expiration Date: 07/31/2018

Renewal Policy Number: OF° 4126600-13             Effective Date : 07/31/2018

Named Insured: Palo Verde Training Stable, LLC & Kathleen Filighera

Mailing Address: 4331 Washington St., Wisconsin Rapids, WI 54494




Renewal Policy Period: From: 07/31/2018                      To: 07/31/2019
               At 12:01 AM at your mailing address shown above.

IN RETURN FOR THE PAYMENT OF THE PREMIUM SHOWN IN THE RENEWAL DECLARATIONS, AND
SUBJECT TO ALL THE TERMS OF THIS POLICY UNLESS OTHERWISE SPECIFIED, THE ABOVE NUMBERED
POLICY IS RENEWED FOR THE TERM SHOWN ABOVE.

Attached to this Renewal Certificate are the Renewal Policy Declaration Pages and specific coverage forms, which
have limits of insurance or information that is not shown In the Declarations, for your policy. Any changes in these
forms or endorsements will have been disclosed to you in our renewal offer. Please attach the Renewal Policy
Declaration Pages to your expired Policy Declaration Pages. The specific coverage forms attached replace any
corresponding coverage forms or endorsements.

Please review the Renewal Policy Declaration Pages and specific coverage forms and notify your StarNet
Insurance Company agent immediately if any corrections or changes need to be made.

Please review the policy forms and endorsements currently on your policy. The policy form numbers are listed on
the Renewal Policy Declaration Pages. Call your StarNet Insurance Company agent if you need to review any
coverage with her or him.

Thank you for placing your Insurance with one of our specialized equine agents.

THIS IS A VALUABLE DOCUMENT - ATTACH THIS CERTIFICATE, RENEWAL POLICY DECLARATION
PAGES AND SPECIFIC COVERAGE FORMS TO YOUR EXPIRED POLICY,




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                                                                                                             FARM
                                                                                                  CL FP 01 03 09 02

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   FUNGUS, WET OR DRY ROT, OR BACTERIA OR OTHER
               MICROBES EXCLUSION
This endorsement modifies insurance provided under the following:

        FARM PROPERTY — OTHER FARM PROVISIONS FORM — ADDITIONAL COVERAGES,
        CONDITIONS, DEFINITIONS
        CAUSES OF LOSS FORM — FARM PROPERTY

A. The following Exclusion is added to E.                                This exclusion does not apply to loss or
   Exclusions of CAUSES OF LOSS FORM —                                   damage directly caused by or directly
   FARM PROPERTY:                                                        resulting from fire or lightning.
   The following exclusion applies when any or all              B. The last paragraph of the CAUSES OF LOSS
   of the Covered Causes of Loss, Basic, Broad or                  FORM — FARM PROPERTY is deleted and
   Special, are specified in the Declarations.                     replaced by the following:
    We will not pay for loss, cost, expense (Including             Exclusions E.1. through E.10. apply whether or
    any expenses, or any increase in expenses, for                 not the loss event results in widespread damage
    Loss Of Use and/or Debris Removal) or damage                   or affects a substantial area.
    caused directly or indirectly, in whole or in part,         C. Paragraph 24., Accidental Discharge Or
    by or resulting from any of the following. Such                Leakage Of Water Or Steam from within a
    loss, cost, expense or damage Is excluded                      plumbing, heating, air conditioning or other
    regardless of any other cause or event that                    system or appliance that is located on the
    contributes concurrently or in any sequence to                 "insured Location" and contains water or steam,
    the loss.                                                       under C. Covered Causes of Loss — Broad of
    10. 'Fungus", Wet Or Dry Rot, Bacteria or                      the CAUSES OF LOSS FORM — FASRM
         Other Microbes.                                           PROPERTY is changed to add the following:
        (a) Presence,          existence,      growth,               We will not pay:
             proliferation, spread, or any activity of             e, For loss or damage caused by or resulting
            "fungus", wet or dry rot, or bacteria or                   from continuous or repeated seepage or
             other microbes; or                                        leakage of water, or the presence or
       (b) Abating, testing for,      cleaning up,                     condensation of humidity, moisture or vapor,
           removing,      monitoring,     containing,                  that occurs over a period of 14 days or
           treating,    detoxifying,    neutralizing,                  more.
           remediating or disposing of, or in any               D. Exclusion 1.g. under D. Covered Causes of
           way responding to, or assessing the                     Loss — Special of the CAUSES OF LOSS
           effects of, "fungus", wet or dry rot, or                FORM — FARM PROPERTY is changed by
           bacteria or other microbes; or                          adding (4) below:
       (c) Request, demand, order, or statutory or                   9. Discharge or overflow of water of steam
           regulatory requirement that any insured                      from within a plumbing, heating, air
           or others abate, test for, clean up,                         conditioning or automatic fire protective
           remove, contain, detoxify, neutralize,                       system or from within a household
           remediate, dispose of, or in any way                         appliance:
           respond to or assess the effects of,
           "fungus", wet or dry rot, or bacteria or
           other microbes.




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       (4) that continuously or repeatedly seeps or             F. The following definition is added to C.
           leaks, or results in the presence or                    Definitions of the FARM PROPERTY — OTHER
           condensation of humidity, moisture or                   FARM PROVISIONS FORM — ADDITIONAL
           vapor, over a period of 14 days or more.                COVERAGES, CONDITIONS, DEFINITIONS;
E. Exclusion w.(2) under D. Covered Causes of                       "Fungus" means any type or form of fungus,
   Loss — Special of the CAUSES OF LOSS                             including mold, mildew, mushroom, toadstool,
   FORM — FARM PROPERTY is deleted and                              smut, or rust, and any mycotoxins, spores,
   replaced with the following:                                     scents, vapors, gases, substances, or by-
                                                                    products produced or released by fungi.
   (2) Rust or other corrosion, decay (other than
       wet or dry rot), deterioration, hidden or latent
       defect or any quality in property that causes
       it to damage or destroy itself;




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                                                                                                         FARM
                                                                                                 FP 00 12 01 98

 FARM PROPERTY - FARM DWELLINGS, APPURTENANT
 STRUCTURES AND HOUSEHOLD PERSONAL PROPERTY
               COVERAGE FORM
Various provisions in this policy restrict coverage.            2. Property Not Covered
Read the entire policy carefully to determine rights,              Under Coverage A, Covered Property does
duties and what is and is not covered.                             not include:
Throughout this Coverage Form, the words "you"                     a. Land (including land on which the
and "your" refer to the Named Insured shown in the                     "dwelling" is located);
Declarations. If the Named Insured shown in the
Declarations and spouse are members of the same                    b. Water, or
household, the words "you" and "your" also refer to                c. Trees, shrubs, plants or lawns, except to
the spouse. The words "we", "us" and "our" refer to                     the extent provided for in the applicable
the Company providing this insurance.                                   Coverage Extension in Section II of this
Other words and phrases that appear in quotation                        Coverage Form.
marks have special meaning. Refer to the Defini-                3. Special Limit Of Insurance Under
tions Section of the Farm Property — Other Farm                    Coverage A
Provisions Form — Additional Coverages, Condi-                     Outdoor radio and TV antennas and satellite
tions, Definitions.                                                dishes attached to covered "dwellings" are
                                                                   subject to a Special Limit of Insurance of
SECTION I — COVERAGES                                              $250 in any one occurrence. This Special
COVERAGE A — DWELLINGS                                             Limit is part of, not in addition to, the Cover-
                                                                   age A Limit of Insurance.
A. Coverage
                                                                    If a higher Limit of Insurance is specified In
   We will pay for direct physical loss of or damage               the Declarations, the higher limit will apply.
   to Covered Property at the "insured location" de-
   scribed in the Declarations, or elsewhere as ex-          B. Coverage A Conditions
   pressly provided below, caused by or resulting               Coverage A is subject to the following Loss
   from any Covered Cause of Loss.                              Condition as well as to the Farm Property Condi-
   1. Covered Property                                          tions (see Farm Property — Other Farm Provi-
                                                                sions Form — Additional Coverages, Conditions,
       The following are Covered Property under                 Definitions) and the Common Policy Conditions.
       Coverage A of this Coverage Form:
                                                                LOSS CONDITION — VALUATION
       a. Each "dwelling" owned by you and for
          which a Limit of Insurance is shown in the            1. Property
          Declarations. The "dwelling" may be lo-                   a. The basis for loss settlement will be de-
          cated on or away from the "insured loca-                      termined by the ratio of the Coverage A
          tion";                                                        Limit of Insurance to the full replacement
       b. Structures       attached     to     covered                  cost of the destroyed or damaged Cov-
          "dwellings", except structures attached                       ered Property. When determining the full
          only by a fence, utility line or similar con-                 replacement cost, the values of the follow-
          nection;                                                      ing will be disregarded:
       c. Materials on the "insured location" in-                     (1) Excavations;
          tended for use In building, altering or re-                 (2) Foundations; and
          pairing the covered "dwellings" or their
          attached structures; and                                    (3) Piers and other supports below the
                                                                            undersurface of the lowest basement
       d. If not otherwise covered in this policy,                         floor; or, where there is no basement,
          building and outdoor equipment used                               those below the surface of the ground
          principally for the service of the covered                        inside the foundation walls; also un-
          "dwelling", its grounds or structures appur-                      derground flues, pipes, wiring and
          tenant to it, including equipment tempo-                          drains.
          rarily away from the premises.



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      b. If the Limit of Insurance on the damaged                       d. If your loss qualifies for payment on a
         structure is at least 80% of its full re-                          replacement cost basis, but the cost of re-
         placement cost as of the time of loss, we                          pair or replacement is more than either
         will settle the loss based on the smallest                         $1,000 or 5% of the applicable Limit of In-
         of the following amounts:                                          surance, the only basis on which we will
        (1) The cost to replace the damaged part                            settle pending completion of repairs or
             of the structure with equivalent con-                          replacement is actual cash value, as of
             struction for use on the same prem-                            time of loss, of the damaged part of the
             ises.                                                          structure. In case of such a loss you can
                                                                            make an initial claim for payment on the
        (2) The amount actually and necessarily                             actual cash value basis, and later make a
             spent to repair or replace the structure.                      supplementary claim for replacement cost
       (3) The applicable Limit of Insurance.                               payment. If you elect to exercise this op-
                                                                            tion, you must notify us of your intention
         The cost of repairs or replacement does                            within 180 days of the occurrence of the
         not include the increased cost attributable
                                                                            loss.
         to enforcement of any ordinance or law
         regulating the construction, use or repair                         The cost of repairs or replacement doe's
         of any property.                                                   not include the increased cost attributable
                                                                            to enforcement of any ordinance or law
      C. If the Limit of Insurance on the damaged
                                                                            regulating the construction, use or repair
         structure is less than 80% of its full re-
                                                                            of any property.
         placement cost as of the time of loss, we
         will settle on the basis of(1) or (2) below,               2. Glass Replacement
         whichever is larger:                                           We will settle on the basis of the cost to re-
       (1) The actual cash value, as of time of                         place damaged glass with safety glazing
             loss, of the damaged part of the                           material, if required by law.
             structure.                                          COVERAGE B — OTHER PRIVATE STRUCTURES
       (2) A proportion of the cost to repair or                 APPURTENANT TO DWELLINGS
             replace the damaged part of the                     A. Coverage
             structure, without deduction for depre-
             ciation. This proportion will equal the                We will pay for direct physical loss of or damage
             ratio of the applicable Limit of Insur-                to Covered Property at the "insured location" de-
             ance to 80% of the cost of repair or                   scribed in the Declarations, or elsewhere as ex-
             replacement. The cost of repairs or                    pressly provided below, caused by or resulting
             replacement does not include the in-                   from any Covered Cause of Loss.
             creased cost attributable to enforce-                  1. Covered Property
             ment of any ordinance or law regulat-                      All of the following are Covered Property un-
             ing the construction, use or repair of                     der Coverage B of this Coverage Form, pro-
             any property.                                              vided a Limit of Insurance is shown in the
         However, we will not pay more than the                         Declarations:
         applicable Limit of Insurance, regardless                     Private structures you own (including private
         of whether (1)or(2)above applies.                              garages for which the coverage provided un-
                                                                       der the Coverage Extension in Section ll of
                                                                       this Coverage Form is inadequate), that are
                                                                        appurtenant to a covered "dwelling" and:
                                                                        a. Separated from it by clear space; or
                                                                        b. Attached to it only by a fence, utility line
                                                                            or similar connection.




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    2. Property Not Covered                                           b. At your request, household personal prop-
        Under Coverage B, Covered Property does                          erty of others while the property is:
        not include:                                                   (1) In a part of the "dwelling" you occupy;
                                                                             Or
        a. Land (including land on which the other
            structures are located);                                    (2) On the grounds appurtenant to that
       b. Water;                                                             "dwelling" if you own it.
        c. Structures (other than private garages)                 2. Property Not Covered
            that you rent or hold for rental to any per-              Under Coverage C, Covered Property does
            son who is not a tenant of the covered                    not include:
           "dwelling" you occupy; or                                  a. Articles separately described and specifi-
       d. Structures (other than private garages)                        cally covered under this or any other in-
            that you use principally for farming pur-                    surance;
            poses.                                                    b. Aircraft and aircraft parts, except model or
   3. Special Limit Of Insurance Under                                    hobby aircraft not used or designed to
       Coverage B                                                        carry an operator(s), any other person(s)
       Outdoor radio and TV antennas and towers                          or cargo;
       and satellite dishes are subject to a Special                  C. Trees, shrubs, plants and lawns that you
       Limit of Insurance of $250 in any one occur-                      own as a tenant, except to the extent
       rence. This Special Limit is part of, not in                       provided for in the applicable Coverage
       addition to, the Coverage B Limit of Insur-                       Extension in Section II of this Coverage
       ance.                                                             Form;
       If a higher Limit of Insurance is specified in                 d. Animals, birds or fish;
       the Declarations, the higher limit will apply.                 e. "Business property" except to the extent
 B.Coverage B Conditions                                                 provided for in Items f. and g. under
   Coverage B is subject to the Valuation Loss                           Paragraph A.3. Special Limits Of Insur-
   Condition shown in Paragraph B. under Cover-                          ance Under Coverage C;
   age A. It is also subject to the Farm Property                     f. Magnetic recording or storage media for
   Conditions (see Farm Property — Other Farm                            electronic data processing, such as cell,
   Provisions Form — Additional Coverages, Condi-                        disc, drum, film and tape, over or above
   tions, Definitions) and the Common Policy                             their replacement value:
   Conditions.                                                         (1) As prepackaged software programs; or
COVERAGE C — HOUSEHOLD PERSONAL                                        (2) In unexposed or blank form;
PROPERTY
                                                                         whichever is greater.
A. Coverage
   We will pay for direct physical loss of or damage                 9. Electronic apparatus that is designed to
                                                                         be operated solely by use of the power
   to Covered Property at the "insured location" de-                     from the electrical system of motor vehi-
   scribed in the Declarations, or elsewhere as ex-                      cles or motorized land conveyances of
   pressly provided below, caused by or resulting                        any kind. Electronic apparatus includes:
   from any Covered Cause of Loss.
                                                                       (1) Accessories and antennas; and
   1. Covered Property
                                                                       (2) Tapes, wires, records, discs and other
       All of the following are Covered Property un-                         media;
      der Coverage C of this Coverage Form, pro-
       vided a Limit of Insurance is shown in the                        for use with the electronic apparatus.
       Declarations:                                                     The exclusion of property described in
       Household personal property meaning:                              g.(1) and g.(2) above applies only while
                                                                         the property is in or upon the vehicle or
       a. Household personal property owned or                           conveyance.
           used by you or members of your family
           who reside with you, while such property                      But Covered Property includes items
           is on the "insured location"; and                             specifically scheduled in the Declarations.




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        h. 'Farm personal property", other than                         $1,500 for loss to electronic apparatus,
            office fixtures, furniture and office equip-                while in or upon a motor vehicle or other
            ment;                                                       motorized land conveyance, if the elec-
         I Any motor vehicle or motorized land con-
         .                                                              tronic apparatus is equipped to be oper-
            veyance, or its equipment or accessories.                   ated by power from the electrical system
            But Covered Property includes vehicles                     e the vehicle or conveyance while retain-
            not licensed for road use that are:                         ing its capability of being operated by
                                                                        other sources of power. Electronic appara-
          (1) Used only for servicing an "insured's"                    tus includes:
                "dwelling", its grounds or structures
                appurtenant to it; or                                 (1) Accessories and antennas; and
          (2) Designed and used for assisting the                    (2) Tapes, wires, records, discs and other
                handicapped.                                                media;
   3. Special Limits Of Insurance Under                                for use with the electronic apparatus; and
      Coverage C                                                    J. $1,500 for loss to electronic apparatus,
      Certain categories of household personal                          while not in or upon a motor vehicle or
       property are subject to Special Limits of In-                   other motorized land conveyance, if the
      surance. These Special Limits are part of, not                   electronic apparatus:
      In addition to, the applicable Limit of Insur-                 (1) Is equipped to be operated by power
      ance shown in the Declarations. The Special                          from the electrical system of the vehi-
      Limit shown with any category listed below is                        cle or conveyance while retaining Its
      the most we will pay for loss of or damage to                        capability of being operated by other
      all property in that category in any one occur-                      sources of power,
      rence:                                                         (2) Is off the "insured location"; and
      a. $200 on gold other than goldware,                           (3) Is used at any time or in any manner in
           "money", platinum and silver other than                         connection with the operation of the
           silverware;                                                     farm or a business.
      b. $1,500 on letters of credit, manuscripts,                     Electronic apparatus includes:
            passpOrts and "securities";
                                                                     (1) Accessories and antennas; and
      c. $1,500 on watercraft, including their
           equipment, furnishings, outboard engines                  (2) Tapes, wires, records, discs and other
           or motors, and trailers;                                        media;
      d. $1,500 on trailers not used with watercraft                   for use with the electronic apparatus.
           nor for farming operations;                      B. Coverage C Conditions
      e. $1,000 on gravemarkers;                               Coverage C is subject to the following Loss
       f. $2,500 on "business property" on the                 Condition as well as to the Farm Property Condi-
           "insured location";      .                          tions (see Farm Property — Other Farm Provi-
                                                               sions Form — Additional Coverages, Conditions,
      g. $250 on "business property" off the                   Definitions) and the Common Policy Conditions.
           "insured location". However, this limit
           does not apply to loss to adaptable elec-           LOSS CONDITION — VALUATION
           tronic apparatus as described in Special            In the event of loss of or damage to covered
           Limits i. and J. below;                             household personal property, we will settle at
      h. In the event of loss by theft:                        actual cash value as of time of loss, but we will
                                                               not pay more than the amount necessaty for re-
         (1) $1,500 on furs, jewelry, precious and             pair or replacement.
               semiprecious stones, and watches;
         (2) $2,500 on goldware, goldplated ware,
               silverware, silverplated ware and
               pewterware; this property includes
                platedware, flatware, hollowware, tea
               sets, trays, trophies and the like; also
               other utilitarian items made of or con-
               taining silver, gold or pewter; and
         (3) $2,500 on firearms;




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COVERAGE — LOSS OF USE                                             b. Due to cancellation of a lease or agree-
A. Coverage                                                            ment.
   We cover the following, up to the Limit of Insur-           The period of our liability under Coverage D —
   ance shown in the Declarations for Coverage D:              Loss of Use is not limited by the expiration of
                                                               this policy.
   1. Your Additional Living Expense
                                                               No Deductible applies to Coverage D.
       If a Covered Cause of Loss renders your
       principal living quarters uninhabitable, we will     B. Coverage D Conditions
       pay any necessary increase in living expense            Coverage D is subject to the Farm Property
       you Incur so that your household can main-              Conditions (see Farm Property — Other Farm
      tain its normal standard of living, provided             Provisions Form — Additional Coverages, Condi-
      that such uninhabitable quarters are located             tions, Definitions) and the Common Policy
      in:                                                      Conditions.
       a. A "dwelling" covered under Coverage A;
          or                                                SECTION II— COVERAGE EXTENSIONS
      b. The "dwelling" in which covered House-             A. Trees, Shrubs, Plants And Lawns
           hold Personal Property is located, if you           This Coverage Extension applies to Coverages
          are a tenant.                                        A and C.
      Payment under your Additional Living Ex-                 Trees, shrubs, plants and lawns located within
      pense will be for the shortest time required             250 feet of a covered "dwelling" are Covered
      for repair or replacement of the damaged                 Property but only if loss or damage is caused by
      property, or, if you relocate, the shortest time         or results from any of the following Covered
      required for your household to settle else-              Causes of Loss: fire or lightning, explosion, riot,
      where.                                                   civil commotion, aircraft, vehicles not owned or
   2. Fair Rental Value                                        operated by a resident of the covered "dwelling",
      If a Covered Cause of Loss renders uninhab-              vandalism, or theft.
      itable any portion of:                                   For all damaged or destroyed trees, shrubs,
      a. A "dwelling" covered under Coverage A;                plants or lawns located within 250 feet of a cov-
          Or
                                                               ered "dwelling", the most we will pay under this
                                                               Extension is:
      b. An appurtenant structure covered under
          Coverage B;                                          1. 5% of the Coverage A Limit of Insurance
                                                                   shown in the Declarations for the "dwelling";
      that you, as the owner, rent or hold for rental              or
      to others as a residence or private garage, we
      will pay for the Fair Rental Value loss you              2. 10% of the Coverage C Limit of Insurance
      sustain.                                                     shown in the Declarations if the dwelling is
                                                                   not covered under Coverage A.
      But we will exclude from our payment any
      expenses that do not continue while the                  However, we will not pay more than $500 for any
      rental portion is uninhabitable.                         one damaged or destroyed tree, shrub, plant or
                                                               lawn.
      Payment under this Fair Rental Value Cover-
      age will be for the shortest time required for           This Extension is additional insurance.
      repair or replacement of the damaged prop-               We will not pay for loss of or damage to trees,
      erty.                                                    shrubs, plants or lawns grown for business or
   3. Loss And Expense Due To Emergency                        farming purposes.
      Prohibition Against Occupancy                         B. Structures Used Solely As Private Garages
      We will pay for the Additional Living Expense            This Coverage Extension applies to Coverage B.
      and Fair Rental Value loss you sustain if a           - You may apply, as an additional amount of in-
      civil authority prevents use of the "dwelling"           surance, up to 10% of the Limit of Insurance
      or appurtenant structure because of direct               shown in the Declarations for Coverage A —
      damage to neighboring premises by a Cov-                 Dwellings to unattached structures used solely as
      ered Cause of Loss.                                      private garages, including outdoor radio and TV
      But we will not pay parts of such loss or ex-            antennas and satellite dishes attached to such
      pense that are incurred:                                 garages.
      a. After a period of 2 weeks has elapsed; or




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C. Household Personal Property Of "Insureds"                 E. Building Additions And Alterations
    Away From The "Insured Location"                            This Coverage Extension applies to Coverage C,
    This Coverage Extension applies to Coverage C,               but only if you are a tenant.
    whether you are the owner or tenant, and is part            1. Coverage
    of (not in addition to) the applicable Limit of In-
    surance.                                                         Your insurance under Coverage C — House-
                                                                      hold Personal Property includes building ad-
    Covered Property is extended to mean house-                      ditions, alterations, fixtures, improvements or
    hold personal property anywhere in the world,                    installations made or acquired at your ex-
    provided it is owned or used by you or members                    pense to that part of the "dwelling" used ex-
    of your family who reside with you on the                        clusively by you.
   "insured location".
                                                                     The Limit of Insurance for this Coverage Ex-
    But an "insured's" household personal property                   tension is 10% of the Limit of Insurance that
    at any "Insured's" residence away from the                       applies to Household Personal Property. But
   "insured location" shown in the Declarations is                   if a higher Limit of Insurance is shown in the
    subject to a Special Limit of Insurance equal to:                Declarations, the higher Limit applies.
    1. 10% of the Limit of Insurance shown in the                   This Extension is additional insurance.
         Declarations for Household Personal Prop-
         erty; or                                               2. Loss Settlement
    2., $1,000;                                                      If the repair or replacement is done at the ex-
                                                                     pense of the "insured" within 12 months after
    whichever is greater.                                           the loss, we will settle the loss on the basis of
    However, if a higher limit of insurance is shown                actual cash value as of time of loss.
    in the Declarations, the higher limit applies. The               If the repair or replacement is not done within
   only such property not permanently subject to                     12 months after loss, we will settle on the
   the Special Limit is household personal property                  basis of a proportion of the cost of repair or
   at a newly acquired principal residence. For a                    replacement. This proportion will equal the
    period of 30 days immediately after you begin                   ratio of a. below to b. below.
    moving it to the newly acquired principal resi-
   dence, this property will be subject to the Limit of              a. The period of time from the loss or dam-
    Insurance shown in the Declarations for House-                       age to the expiration of the lease.
    hold Personal Property. That Limit will apply on a               b. The period of time from the installation of
   pro rata basis during the 30—day period to per-                       the improvements to the expiration of the
   sonal property at both locations.                                     lease.
D. Refrigerated Products — Not"Farm Personal                        Lease means the lease, whether written or
   Property"                                                       oral, in effect at the time of the loss.
   This Coverage Extension applies to Coverage C,                   If your lease contains a renewal option, and if
   whether you are the owner or tenant, and is part                 you exercise that option, the expiration of the
   of (not in addition to) the applicable Limit of In-             renewal option period will replace the expira-
   surance.                                                        tion of the lease in a. and b. above.
   We will pay up to $500 for loss of or damage to                  If repair or replacement is done at the ex-
   contents of a freezer or refrigerated unit, in the               pense of others for the use of the "insured",
  "dwelling" you occupy or a structure appurtenant                 we provide no insurance.
   to it,. caused by a change in temperature due to:
   1. Interruption of electrical service to refrigera-      SECTION III — ADDITIONAL COVERAGES
        tion equipment, caused by damage to gen-
                                                            A. Removal Of Fallen Trees
        erating or transmission equipment; or
                                                               1. We will pay the reasonable expense you
   2. Mechanical or electrical breakdown of a re-
                                                                  incur removing any fallen tree from the
        frigeration system.
                                                                  grounds appurtenant to your principal resi-
   Under this Coverage Extension, we will not pay                 dence, provided that, in falling, the tree dam-
  for loss of or damage to "farm personal property"               aged property covered under Coverage A, B
  or to property not owned by you.                                or C, and provided further:
  This Coverage Extension will not apply unless                   a. That the tree is located more than 250
   you maintain the refrigeration equipment In                       feet from a covered "dwelling", and the
   proper working order.                                             cause of its falling was a Covered Cause
   No deductible applies to this Refrigerated Prod-                  of Loss; or else
   ucts Extension of Coverage.



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       b. That the tree is located within 250 feet of              c. Loss to any "insured" caused by forgery or
           a covered "dwelling", and the cause of its                 alteration of any check or negotiable in-
          falling was a Covered Cause of Loss other                   strument; and
           than fire or lightning, explosion, riot or              d. Loss to any "insured" through acceptance
          civil commotion, aircraft, vehicles owned                    in good faith of counterfeit United States
          and operated by nonresidents of the cov-                    or Canadian paper currency.
          ered "dwelling", vandalism, or theft.
                                                               2. But we will not pay for loss arising out of
   2. In the event a Covered Cause of Loss, as                     business pursuits or dishonesty of any
      described in a. or b. above occurs, we will                 "insured".
       pay the reasonable expense you incur remov-
      ing any fallen tree from the grounds appurte-            3. No deductible applies to this Additional Cov-
      nant to your residence premises described in                 erage.
      the Declarations provided that, in falling, the          4. Defense
      tree does not damage covered property, and:                  a. We may make any investigation and
      a. The tree blocks a driveway on the resi-                      settle any claim or suit that we decide is
          dence premises preventing a motor vehi-                     appropriate. Our obligation to defend any
          cle, which is subject to motor vehicle reg-                 suit ends when the amount we pay for the
          istration, from entering or leaving the                      loss equals the applicable Limit of Insur-
          residence premises; or                                       ance.
      b. The tree blocks a ramp or other fixture                   b. If a suit is brought against any "insured"
          designed to assist a handicapped person                     for liability under the Credit Card or Fund
          who is an "insured" to enter or leave the                   Transfer Card Coverage, we will provide a
          residence premises.                                         defense at our expense by counsel of our
   3. The most we will pay under this Additional                      choice.
      Coverage is $1,000 in any one loss regard-                   c. We have the option to defend at our ex-
      less of the number of fallen trees. No more                      pense any "insured" or any "insured's"
      than $500 of this limit will be available for the                bank against any suit for the enforcement
      removal of any one tree.                                        of a payment under the Forgery Cover-
      This Additional Coverage is additional insur-                   age.
      ance.                                                    5. This Additional Coverage is additional insur-
      This Additional Coverage, Removal of Fallen                  ance.
      Trees, does not apply to trees covered under          C. Water Damage
      the Trees, Shrubs, Plants and Lawns Cover-               In the event of water (or steam) damage not oth-
      age Extension under Section II — Coverage                erwise excluded, from a plumbing, heating, air
      Extensions.                                              conditioning or automatic fire protective sprinkler
B. Credit Cards And Fund Transfer Cards;                       system or household appliance, we:
   Forgery; Counterfeit Currency                               1. Will also pay the necessary cost of tearing
   1. We will pay up to $500, unless a higher limit                out and replacing any part of a covered
      is indicated in the Declarations, for:                       building or structure so that the damaged
      a. The legal obligation of any "insured" to                  system or appliance can be repaired,. pro-
          pay because of the theft or unauthorized                 vided that Special Causes of Loss is shown in
          use of credit cards issued to any "insured"              the Declarations for Coverages A and B un-
          or registered in any "insured's" name.                   der which the building or structure is covered;
                                                                   but
          But this Additional Coverage will not apply
          if any "insured" has not complied with all           2. Will not pay the cost to repair any defect
          terms and conditions under which the                     which caused water or steam to escape from
          credit card was issued.                                  a system or appliance containing water or
                                                                   steam.
      b. Loss resulting from theft or unauthorized
          use of a fund transfer card used for de-             In this Additional Coverage, a plumbing system
           posit, withdrawal or transfer of funds, is-         does not include a sump, sump pump or related
          sued to any "insured" or registered in any           equipment.
          "insured's" name.                                    This Additional Coverage will not increase the
          But this Additional Coverage will not apply          Limit of Insurance provided in this Coverage
          if any "insured" has not complied with all           Part.
          terms and conditions under which the fund
          transfer card was issued.



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D. Other Additional Coverages                              B. Limits Of Insurance
   For Other Additional Coverages, see the Farm               See the Farm Property — Other Farm Provisions
   Property — Other Farm Provisions Form — Addi-              Form — Additional Coverages, Conditions, Defi-
   tional Coverages, Conditions, Definitions.                 nitions.
                                                           C. Deductible
SECTION IV— OTHER PROVISIONS                                  See the Farm Property — Other Farm Provisions
A. Covered Causes Of Loss, Exclusions And                     Form — Additional Coverages, Conditions, Defi-
   Limitations                                                nitions.
   See the Causes of Loss Form — Farm Property,
   for Basic, Broad or Special coverage as shown
   In the Declarations.




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                                                                                                        FARM
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        FARM PROPERTY FARM PERSONAL PROPERTY
                   COVERAGE FORM
Various provisions in this policy restrict coverage.             d. Farm products, materials and supplies
Read the entire policy carefully to determine rights,               shown in the Declarations. These include
duties and what is and is not covered.                              farm materials and related packing materi-
Throughout this Coverage Form, the words "you" and                  als and containers usual to the operations
"your" refer to the Named Insured shown In the Dec-                 of a farm, but not hay, grain or any growing
larations. If the Named Insured shown in the Declara-               crops.
tions and spouse are members of the same house-                  e. "Poultry" (excluding turkeys unless speci-
hold, the words "you" and "your" also refer to the                  fied):
spouse. The words "we", "us" and "our" refer to the                (1) In the open; or
Company providing this insurance.
                                                                   (2) In any building designated for "poultry"
Other words and phrases that appear in quotation                        in the Declarations.
marks have special meaning. Refer to the Definitions
Section of the Farm Property — Other Farm Provi-                    But for this property, the Basic or Broad
sions Form — Additional Coverages, Conditions,                      Covered Causes of Loss are the only Cov-
Definitions.                                                        ered Causes of Loss.
                                                                 f. Trays, boxes and box shook, each item or
SECTION I — COVERAGES                                               set in the proportion that its value bears to
                                                                    the total value of all trays, boxes and box
COVERAGE E — SCHEDULED FARM PERSONAL                                shook covered under this Coverage Form.
PROPERTY
                                                                 g. Computers and related software used prin-
A. Coverage                                                         cipally as aids in farm management.
   We will pay for direct physical loss of or damage                But an item of software is Covered Prop-
   to Covered Property at the "insured location" de-                erty only up to the amount required to re-
   scribed in the Declarations, or elsewhere as ex-                 place it as a prepackaged program, or in
   pressly provided below, caused by or resulting                   unexposed or blank form, whichever is
  from any Covered Cause of Loss.                                   greater.
   1. Covered Property                                           h. Miscellaneous equipment, usual or inciden-
      All of the following are Covered Property under               tal to the operation of a farm (including
      Coverage E of this Coverage Form, provided a                  machinery, vehicles, tools, and supplies of
      Limit of Insurance is shown in the Declarations               all kinds), covered under a single Limit of
      for the specific type of property:                            Insurance shown for Miscellaneous Equip-
      a. Grain, threshed seeds and beans, ground                    ment in the Declarations.
          feed, silage, and manufactured and                        But such miscellaneous farm equipment
          blended "livestock" feed in buildings or                  does not include:
          structures or in sacks, wagons or trucks.               (1) Threshing machines, tractors, com-
      b. Grain in stacks, shocks, swaths or piles in                    bines, corn pickers, hay balers, harvest-
          the open, but for this property fire and                      ers, peanut diggers, potato diggers and
          lightning, vandalism, vehicles and theft are                  pickers, cotton pickers, crop driers or
          the only Covered Causes of Loss.                              sawmill equipment;
      C. Hay, straw and fodder                                    (2) Automobiles, trucks, motorcycles, mo-
        (1) In buildings or structures; and                             torized bicycles or tricycles, mopeds,
                                                                        dirt bikes, snowmobiles, four-wheel all-
        (2) In stacks, windrows or bales, but for this                  terrain vehicles; mobile homes, house
              property fire or lightning, windstorm or                  trailers; vehicles primarily designed and
              hail, vandalism, vehicles and theft are                   licensed for road use (other than farm
              the only Covered Causes of Loss.                          wagons and farm trailers); watercraft or
              A stack means hay, straw or fodder in                     aircraft; or the equipment, tires or parts
              one area separated by a clear space of                    of any of these;
              100 feet or more from any other hay,                (3) Liquefied petroleum or manufactured
              straw or fodder in the open.                              gas or fuel, or their containers;


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          (4) Bulk milk tanks, bulk feed tanks Or bins                    But we do not cover "livestock" while:
                attached to buildings or structures; barn               (1) In the custody of a common or contract
                cleaners, pasteurizers or boilers; any                       carrier;
                permanent fixtures within or attached to
                a building;                                             (2) At public stockyards, sales barns or
                                                                             sales yards; or
          (5) Brooders;
                                                                        (3) At packing plants or slaughterhouses.
          (6) Fences, windchargers, windmills or their
                towers;                                                I Bees, but for this property the Basic or
                                                                       .
                                                                          Broad Covered Causes of Loss are the only
          (7) Outdoor radio or television equipment                       Covered Causes of Loss.
                or wiring; private power and light poles;
                                                                     m. Worms, but for this property the Basic or
          (8) Irrigation equipment;                                       Broad Covered Causes of Loss are the only
          (9) Portable buildings and portable struc-                      Covered Causes of Loss.
                tures;                                                n. Fish, but for this property the Basic or
        (10) Household personal property or property                      Broad Covered Causes of Loss are the only
                usual to a "dwelling"; or                                Covered Causes of Loss.
        (11) Property more specifically covered                      o. Other animals, but for this property the
                under another Coverage or Coverage                       Basic or Broad Covered Causes of Loss
                Form of this or any other policy.                        are the only Covered Causes of Loss.
        I. Farm machinery, vehicles and equipment                     p. Portable buildings and portable structures
            that you borrow or rent without a written                    that you own.
            contract, but only to the extent that such            2. Property Not Covered
            property is not covered under another Cov-
            erage Form of this or any other policy. The              Under Coverage E, Covered Property does not
            borrowed or rented property must be:                     include:
         (1) Usual or incidental to farming opera-                   a. Growing crops, trees, plants, shrubs or
               tions;                                                    lawns;
         (2) In your care, custody or control; and                   b. Household personal property or property
                                                                         usual to a "dwelling";
         (3) Property in which you have no interest
               as owner or lienholder.                               c. Magnetic recording or storage media for
                                                                         electronic data processing, such as cell,
            But Covered Property does not include bor-                   disc, drum, film and tape, over or above
            rowed or rented property of the following                    their replacement value:
            types:
                                                                       (1) As prepackaged software programs; or
         (1) Automobiles, trucks, motorcycles, mo-
               torized bicycles or tricycles, mopeds,                   (2) In unexposed or blank form;
               dirt bikes, snowmobiles, four-wheel all-                  whichever is greater.
               terrain vehicles; mobile homes, house
                                                                     d. Any permanent fixtures within or attached
               trailers; vehicles primarily designed and
                                                                         to a building; or
               licensed for road use (other than farm
               wagons and farm trailers); watercraft or              e. Outdoor radio .or television equipment or
               aircraft; or the equipment, tires or parts                wiring; private power and light poles.
               of any of these; or                                3. Special Limits Of Insurance Under
         (2) Dealers' demonstration            machinery,            Coverage E
               vehicles or equipment.                                Under Coverage E, certain individual items of
       J. Farm machinery, vehicles and equipment                    "farm personal property" are subject to Special
           which are individually described and spe-                 Limits of Insurance. These Special Limits are
           cifically covered in the Declarations, while              part of, not in addition to, the applicable Limits
           on Or away from the "insured location", ex-               of Insurance shown in the Declarations.
           cept while in the custody of a common or                  a. If no specific stack limit is shown in the
           contract carrier.                                             Declarations for hay, straw or fodder in the
      k. "Livestock" on or away from the "insured                        open, the Limit will be $10,000 on any one
           location", but for this property the Basic or                 stack.
           Broad Covered Causes of Loss are the only
           Covered Causes of Loss.




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       b. For covered "poultry", the Limit of Insur-        3. Livestock, Poultry, Bees, Fish, Worms and
           ance per bird under any provision of this            Other Animals
           Coverage Form applicable to "poultry" will           With respect to "livestock", "poultry", bees,
           be its cash market value as of the time of          fish, worms, and other animals, the term loss
           loss.                                                means death or destruction caused by, result-
       c. The Limit of Insurance on any one item of            ing from or made necessary by a Covered
           miscellaneous equipment is $2,000.                   Cause of Loss.
       d. The most we will pay for loss of or damage        4. Valuation
          to any one head of "livestock" (other than            In the event of loss of or damage to covered
          animals individually described and specifi-          "farm personal property", we will settle at ac-
          cally covered under this coverage) is the            tual cash value as of time of loss, but we will
           least of the following amounts:                      not pay more than the amount necessary for
        (1) 120% of the amount obtained by divid-               repair or replacement.
              ing the total insurance on the class and      5. Coverage Territory
               type of animal involved by the number
              of head of that class and type owned by           We cover loss or damage commencing within
               you as of the time of loss.                     the coverage territory. The coverage territory
                                                                is:
        (2) The actual cash value of the animal
               destroyed or damaged.                            a. The United States of America;
        (3) $2,000.                                             b. Puerto Rico; and
          Each horse, mule or head of cattle under              c. Canada.
          one year of age as of time of loss will be     COVERAGE F — UNSCHEDULED FARM
          counted as 1/2 head.                           PERSONAL PROPERTY
B. Coverage E Conditions                                 A. Coverage
   Coverage E is subject to the following Loss Con-         We will pay for direct physical loss of or damage
   ditions as well as to the Farm Property Conditions       to Covered Property at the "insured location" de-
  (see Farm Property — Other Farm Provisions                scribed in the Declarations, or elsewhere as ex-
   Form — Additional Coverages, Conditions, Defini-         pressly provided below, caused by or resulting
   tions) and the Common Policy Conditions.                 from any Covered Cause of Loss.
   LOSS CONDITIONS                                          1. Covered Property
   1. Portable Buildings And Portable Structures                All of the following are Covered Property under
      That You Own                                              Coverage F of this Coverage Form, provided a
      The most we will pay for loss of or damage to             Limit of Insurance is shown in the Declara-
      this property in any one occurrence is the pro-           tions:
      portion that the applicable Limit of Insurance            a. All items of "farm personal property" on the
      shown in the Declarations bears to the value of               "insured location", except for items speci-
      all portable buildings and portable structures                fied under.Paragraph 2. Property Not Cov-
      you own as of the time of loss.                               ered; and
   2. Pro Rata Distribution — Applicable Only to                b. The following items of "farm personal prop-
      Grain, Hay, Straw and Fodder, to Farm Ma-                     erty" away from the "insured location":
      chinery, Vehicles and Equipment, and to Poul-               (1) Grain, ground feed, fertilizer, fodder,
      try in Unheated Buildings.                                        hay, herbicides, manufactured and
      This Condition applies only if Scheduled "farm                    blended "livestock" feed, pesticides, si-
      personal property" is covered at more than one                    lage, straw, threshed beans and
     "insured location". The Limit of Insurance for                     threshed seeds, except while:
      any category of covered "farm personal prop-                     (a) Being stored or processed in com-
      erty" mentioned in the heading of this Condi-                         mercial drying plants, manufacturing
      tion will apply at any one "insured location" in                      plants, public elevators, seed houses
      the proportion that the value of Covered Prop-                        or warehouses; or         •
      erty in that category at that location bears to
      the value of all Covered Property in that cate-                 (b) In the custody of a common or con-
      gory at all "insured locations",                                      tract carrier.




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          (2) "Livestock", except while:                          k. Automobiles, trucks, motorcycles, motor-
              (a) In the custody of a common or con-                   ized bicycles or tricycles, mopeds, dirt
                   tract carrier;                                      bikes, snowmobiles, four-wheel all-terrain
                                                                       vehicles; mobile homes, house trailers;
             (b) At public stockyards, sales barns or                  vehicles primarily designed and licensed
                   yards; or                                          for road use (other than farm wagons and
             (c) At packing plants or slaughter-                      farm trailers); watercraft or aircraft; or the
                   houses.                                            equipment, tires or parts of any of these;
               But for "livestock", the Basic or Broad             I. Fences; windmills or windchargers or their
               Covered Causes of Loss are the only                    towers;
               Covered Causes of Loss.                          m. Bulk milk tanks, bulk feed tanks or bins
          (3) Farm machinery, equipment, imple-                       attached to buildings or structures; barn
               ments, tools and supplies, except:                     cleaners, pasteurizers or boilers; any per-
                                                                       manent fixtures within or attached to a
             (a) Items specified under Paragraph 2.
                                                                       building;
                   Property Not Covered; or
                                                                  n. Outdoor radio or television equipment;
             (b) While in the custody of a common or
                  contract carrier.                              o. Portable buildings or portable structures;
   2. Property Not Covered                                       p. Irrigation equipment;
      Covered Property does not include:                         q. Property separately described and specifi-
                                                                      cally covered in whole or in part under an-
      a. Household or personal property usual to a                    other Coverage or Coverage Form of this
           "dwelling";
                                                                      or any other policy;
      b. Magnetic recording or storage media for
                                                                  r. Cotton pickers and harvester-thresher
           electronic data processing, such as cell,
                                                                      combines; or
           disc, drum, file and tape, over or above
           their replacement value:                              s. Any property shown in the Declarations
                                                                      under the heading Other Property Not Cov-
          (1) As prepackaged software programs; or
                                                                      ered Under Coverage F.
          (2) In unexposed or blank form;
                                                             3. Special Limits Of Insurance Under
           whichever is greater.                                 Coverage F
      c. Animals other than "livestock";                         Under Coverage F, individual "livestock" are
      d. "Poultry", bees, fish or worms;                         subject to Special Limits of Insurance. These
                                                                 Special Limits are part of, not in addition to,
      e. Racehorses, show horses or show ponies;                 the applicable Limit of Insurance shown in the
       f. Any of the following while being stored or             Declarations.
           processed in 'manufacturing plants, public            The most we will pay for loss of or damage to
           elevators, warehouses, seed houses or                 any one head of "livestock" is:
           commercial drying plants: grain, threshed
           seeds, threshed beans, hay, straw, fodder,            a. $1,000 on any horse, mule or head of cattle
           silage, ground feed, herbicides, fertilizer,               under one year of age as of time of loss;
           manufactured or blended "livestock" feed;                  and
     9.    Trees,  plants, shrubs or lawns;                      b. $2,000 on any head of "livestock" not in-
                                                                      cluded under a. above.
      h. Tobacco, cotton, vegetables, root crops,
           potatoes, bulbs, fruit or nursery stock;              If it becomes necessary to impose the penalty
                                                                 provided for in the last sentence of the Cover-
        I. Crops in the open, except to the extent               age F Loss Condition — Coinsurance (see B.2.
           provided for in the applicable Coverage               below), no amount used as the actual cash
           Extension in Section II of this Coverage              value of an animal will exceed the applicable
           Form;                                                 Limit of Insurance specified above.
       I. Contents of chicken fryer or broiler houses,    B. Coverage F Conditions
           laying houses, "poultry" brooder or duck or
           turkey houses;                                    Coverage F is subject to the following Loss Con-
                                                             ditions as well as to the Farm Property Conditions
                                                            (see the Farm Property — Other Farm Provisions
                                                             Form — Additional Coverages, Conditions, Defini-
                                                             tions) and the Common Policy Conditions.




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    LOSS CONDITIONS                                         B. Covered Property Away From The "Insured
    1. Livestock                                                Location"
        With respect to "livestock", the term loss              This Coverage Extension applies to Coverage E.
        means death or destruction caused by, result-           1. Coverage is extended to apply to Covered
       ing from or made necessary by a covered                     Property while away from the "insured loca-
       cause of loss.                                              tion", for up to a certain percentage of the
   2. Coinsurance                                                  Limit of Insurance shown in the Declarations
                                                                   for the specific type of property, as follows:
       You must maintain insurance on unscheduled
      "farm personal property" to the extent of at                 a. 25%, for Miscellaneous Equipment Usual
        least 80% of its actual cash value as of the                   or Incidental to the Operation of a Farm; or
       time of loss. If you fall to do this, the percent-          b. 10%,for other types of property.
       age we pay of any. loss will be the result pro-         2. This Coverage Extension is part of, not in
       duced by dividing the Limit of Insurance actu-              addition to, the applicable Limit of Insurance or
       ally carried by the required Limit of Insurance.            Special Limit of insurance.
       The following provision applies in the event of         3. This Coverage Extension does not apply to:
       loss of or damage to machinery or equipment
       within 30 days after the purchase of additional             a. "Livestock" or individually Insured farm
       or replacement machinery or equipment.                          machinery, vehicles or equipment which
                                                                       are described in Paragraph 1.J. or 1.k. of
        If the Limit of Insurance actually carried be-                 Covered Property;
       comes inadequate due to the purchase of ad-
       ditional or replacement machinery or equip-                 b. Property while In the custody of a common
       ment, then, up to $50,000 of the value of the                   or contract carrier;
       newly purchased machinery or equipment will                 C. Property stored or being processed in
       be omitted in determining the required Limit of                 manufacturing plants, public elevators,
       Insurance.                                                      warehouses, seed houses or commercial
   3. Valuation                                                        drying plants; or
       In the event of loss of or damage to covered                d. Property in public sales barns or public
      "farm personal property', we will settle at ac-                  sales yards.
      tual cash value as of time of toss, but we will          4. Under this Coverage Extension, -the greatest
       not pay more than the amount necessary for                  proportion we will pay of any one loss is the
       repair or replacement.                                      proportion we would have paid if every policy
   4. Coverage Territory                                           covering the property involved in the loss had
                                                                   provided the same coverage as this Coverage
       We cover loss or damage commencing within                   Extension.
      the coverage territory. The coverage territory
       is:                                                  C. Replacement Machinery, Vehicles And
                                                               Equipment Newly Purchased
       a. The United States of America;
                                                               This Coverage Extension applies to Coverage E.
       b. Puerto Rico; and                                     A Special Limit of Insurance equal to $50,000 plus
       c. Canada.                                              the corresponding limit specified in the Declara-
                                                               tions for individually scheduled items of Farm Ma-
SECTION II — COVERAGE EXTENSIONS                               chinery, Vehicles and Equipment applies to any
                                                               item of property purchased as a replacement of
A. Property In The Custody Of A Common Or                      such machinery, vehicle or equipment.
   Contract Carrier
                                                               The additional $50,000 coverage will end:
   This Coverage Extension applies to Coverages E
   and F.                                                      1. 30 days after the date of purchase of the re-
                                                                   placement item; or
   Coverage is extended to apply to "farm personal
   property", insured under Coverage E or Coverage             2. When this policy expires;
   F, while in the custody of a common or contract             whichever comes first.
   carrier, for up to a total of $1,000 under each of          In no event will we pay more than the actual cash
   these Coverages. However, if a higher limit is              value as of the time of loss.
   specified in the Declarations for Coverage E or
   Coverage F — Property in the Custody of a Com-              A newly purchased vehicle or item of machinery
   mon or Contract Carrier, the higher limit will apply        or equipment is covered under this Coverage Ex-
   to the Coverage(s)specified, instead of $1,000.             tension only to the extent that it is not covered
                                                               under another Coverage or Coverage Form of this
                                                               or any other policy of the "insured".


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D. Additional Machinery, Vehicles And                                 b. With separate Limits of Insurance per class
   Equipment Newly Purchased                                             shown in the Coverage E Declarations;
   This Coverage Extension applies to Coverage E.                     we will cover additional "livestock" you acquire
                                                                      during the policy period, for up to 30 days from
   1. Coverage on such items of farm equipment,
      machinery and vehicles such as tractors,                        acquisition.
      combines, harvesters, corn pickers and hay                  2. The most we will pay under this Coverage
      balers, will extend to apply to newly purchased                 Extension is the lesser of:
      additional farm equipment, machinery and                        a. The actual cash value of the additional
      vehicles.                                                          "livestock"; or
   2. The most we will pay under this Coverage                        b. 25% of the total of the Limits of Insurance
      Extension is $100,000 for loss of or damage to                     shown in the Coverage E Declarations for:
      all such Newly Purchased Additional Farm
      Equipment, Machinery and Vehicles. This                           (1) Specifically declared and described
      $100,000 Limit is part of, not in addition to, the                     "livestock"; and
      applicable Limit of Insurance.                                    (2) "Livestock" with separate limits per
   3. When values for Newly Purchased Additional                             class. •
      Farm Equipment, Machinery and Vehicles are                  3. You must report the additional "livestock"
      reported under this Coverage Extension, addi-                   within 30 days from the date of acquisition and
      tional premium for these values will be due                     pay any additional premium due. If you do not
      and payable from the date of purchase.                          report such property, coverage will end 30
   4. None of the following is covered under this                     days after the date of acquisition.
      Coverage Extension:                                      F. Farm Products In The Open — Coverage
      a. Automobiles, trucks, motorcycles, motor-                 Against Certain Causes Of Loss
          ized bicycles or tricycles, mopeds, dirt                This Coverage Extension applies to Coverage F.
          bikes, snowmobiles; three-wheel all-terrain             You may apply up to 10% of the Limit of Insur-
          vehicles; mobile homes or house trailers;               ance shown in the Declarations for "farm personal
          vehicles primarily designed and licensed                property" to cover the following in the open:
          for road use (other than farm wagons and                1. Grain in piles, shocks, stacks or swaths;
          farm trailers); watercraft, aircraft; or their
          equipment, tires or parts;                              2. Hay, straw and fodder in stacks, windrows or
                                                                      bales; but the most we will pay for loss or
      b. Liquefied petroleum or manufactured gas                      damage is $10,000 for any one stack of hay,
          or fuel, or their containers;                               straw or fodder.
      c. Brooders, fences, windchargers, windmills                A stack means hay, straw or fodder in one area
          or their towers; or                                     separated by a clear space of 100 feet or more
      d. Any farm equipment, machinery, or vehi-                  from any other hay, straw or fodder in the open.
          cles purchased as replacements of equip-                Fire or lightning, windstorm or hail, vandalism,
           ment, machinery, vehicles or equipment                 vehicles and theft are the only Covered Causes of
          specifically described in the Declarations.             Loss for the property named in 1. and 2. above.
   5. This Coverage Extension will end:                           3. Unharvested barley, corn, oats, rye, wheat and
      a. 30 days after the date of acquisition of the                 other grains, flax, soy beans and sunflowers
          additional item; or                                        (but not on seed or forage crops, straw or
      b. When this policy expires;                                    stubble).
      whichever comes first                                           Fire or lightning is the only Covered Cause of
                                                                      Loss for this property.
   6. Newly Purchased Additional Farm Equipment,
      Machinery and Vehicles are covered under this            This Extension is part of, not in addition to, the appli-
      Coverage Extension only to the extent that               cable Limit of Insurance.
      they are not covered under another Coverage
      or Coverage Form of this or any other policy of
      the "insured".
E. Additional Acquired Livestock
   This Coverage Extension applies to Coverage E.
   1. If Coverage E covers "livestock"
      a. Specifically declared and described In the
          Coverage E Declarations; or



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SECTION III— ADDITIONAL COVERAGES                          C. Other Additional Coverages
A. Cost Of Restoring Farm Operations Records                  For other Additional Coverages, see the Farm
                                                              Property — Other Farm Provisions Form — Addi-
   For any one loss we will pay up to $2,000 to cover         tional Coverages, Conditions, Definitions.
   your cost to research, replace or restore the lost
   information on farm operations records damaged
   by a Covered Cause of Loss.                             SECTION IV — OTHER PROVISIONS
   But if a higher Limit of Insurance is specified in      A. Covered Causes Of Loss, Exclusions And
   the Declarations, the higher limit will apply.             Limitations
   No deductible applies to this Additional Coverage.         See the Causes of Loss Form — Farm Property,
                                                              for Basic, Broad or Special coverage as shown in
B. Extra Expense                                              the Declarations.
    If a Limit of Insurance is shown in the Declarations   B. Limits Of Insurance
   for Extra Expense Coverage, we will pay, up to
   that Limit of Insurance, the actual and necessary          See the Farm Property — Other Farm Provisions
   expenses you incur to resume normal farming op-          • Form — Additional Coverages, Conditions, Defini-
   erations interrupted as the result of direct physical      tions.
   loss of or damage to Covered Property by a Cov-         C. Deductible
   ered Cause of Loss.                                        See the Farm Property — Other Farm Provisions
   Coverage for such extra expense is not limited by           Form — Additional Coverages, Conditions, Defini-
   the expiration of this policy. But, we will not pay         tions.
   extra expense you incur after the period required
   for repair, rebuilding or replacement of Covered
    Property.
    Extra Expense Coverage does not include loss
    caused by or resulting from the enforcement of
     any ordinance or law which requires any "insured"
    or others to test for, monitor, clean up, remove,
     contain, treat, detoxify, neutralize, or in any way
     respond to, or assess the effects of, "pollutants".
     No deductible applies to this Additional Coverage.




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                                                                                                           FARM
                                                                                                   FP 00 14 01 98

        FARM PROPERTY BARNS, OUTBUILDINGS AND
         OTHER FARM STRUCTURES COVERAGE FORM
Various provisions in this policy restrict coverage.                f. Improvements and Betterments. Improve-
Read the entire policy carefully to determine rights,                  ments and betterments are additions, al-
d uties and what is and is not covered.                                terations, fixtures or installations made part
Throughout this Coverage Form the words "you" and                      of the described building, but do not Include
"your" refer to the Named Insured shown in the Dec-                    items that may be legally removed by an
larations. If the Named Insured shown in the Declara-                  "insured". If you are a tenant, we cover
                                                                       your use interest in the improvements and
tions and spouse are members of the same house-
hold, the words "you" and "your" also refer to the                     betterments you make at your expense to a
                                                                       building you do not own at the"insured lo-
spouse. The words "we", "us" and "our" refer to the
                                                                       cation"; and
Company providing this insurance.
Other words and phrases that appear in quotation                  g. Building Materials and Supplies:
marks have special meaning. Refer to the Definitions                 (1) For use in building, altering or repairing
Section of the Farm Property — Other Farm Provi-                           farm buildings or structures; and
sions Form — Additional Coverages, Conditions,                       (2) Kept on or adjacent to the "insured
Definitions.                                                               location".
                                                               2. Property Not Covered
SECTION I — COVERAGES
                                                                  Covered Property does not include:
COVERAGE G — BARNS,OUTBUILDINGS AND
OTHER FARM STRUCTURES                                              a. Land (including land on which a building or
                                                                       structure is located);
A. Coverage
                                                                   b. Water;
   We will pay for direct physical loss of or damage
   to Covered Property at the "insured location" de-              c. Field or pasture fences;
   scribed in the Declarations, or elsewhere as ex-                d. Foundations, if below ground, of buildings
   pressly provided below, caused by or resulting                      or structures;
   from any Covered Cause of Loss.                                 e. Pilings, piers, wharves or docks; or
   1. Covered Property                                              f. The cost of excavations, grading, filling or
      All of the following are Covered Property under                  backfilling.
      Coverage G of this Coverage Form, provided            B. Coverage G Conditions
      a Limit of Insurance Is shown in the Declara-
      tions for the specific type of property:                 Coverage G is subject to the following Loss Con-
                                                               ditions as well as to the Farm Property Conditions
       a. Farm buildings and structures other than            (see the Farm Property — Other Farm Provisions
          "dwellings", including attached sheds and            Form — Additional Coverages, Conditions, Defini-
           permanent fixtures;                                 tions) and the Common Policy Conditions.
      b. Silos individually described in the Declara-          LOSS CONDITIONS
          tions or on a schedule, whether or not at-
          tached to buildings;                                 1. Fences, Corrals, Pens, Chutes, Feed Racks
      c. Portable buildings and portable structures;               The most we will pay in any one occurrence of
                                                                   loss of or damage to covered fences, corrals,
      d. All fences (except field and pasture                      pens, chutes and feed racks is the proportion
          fences), corrals, pens, chutes and feed                  that the applicable Limit of Insurance shown In
          racks;                                                   the Declarations bears to the value of all cov-
      e. Outdoor radio and TV equipment, anten-                   ered fences, corrals, pens, chutes and feed
          nas, masts and towers;                                   racks you own as of the time of loss.




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   2. Portable Buildings And Portable Structures                  (2) If the Limit of insurance on the dam-
      The most we will pay in any one occurrence of                   aged building or structure is at least
      loss of or damage to portable buildings or                      80% of its full replacement cost as of
      portable structures is the proportion that the                  the time of loss, we will settle the loss
      applicable Limit of Insurance shown In the                       based on the smallest of the following
      Declarations bears to the value of all portable                 amounts:
      buildings and portable structures you own as of               (a) The cost to replace the damaged
      the time of loss.                                                    part of the building or structure with
      But this Condition does not apply to any port-                      equivalent construction for use on
      able building or portable structure individually                     the same premises.
      covered under its own Limit of Insurance                      (b) The amount actually and necessarily
      shown in the Declarations. .                                        spent to repair or replace the build-
   3. Valuation — Property Other Than                                     ing or structure.
      Improvements And Betterments                                  (c) The applicable Limit of Insurance.
      a. if the Replacement Cost Basis option is not                  The cost of repairs or replacement does
         expressly indicated in the Declarations, we                  not include the increased cost attribut-
         will, in the event of loss or damage to Cov-                 able to enforcement of any ordinance or
         ered Property, settle at the actual cash                     law regulating the construction, use or
         value, as of the time of loss, of the de-                    repair of any property.
         stroyed or damaged part of the structure,                (3) If the Limit of Insurance on the dam-
         but we will not pay more than the amount                     aged building or structure is less than
         necessary for repair or replacement.                         80% of its full replacement cost as of
         The cost of repairs or replacement does not                  the time of loss, we will settle on the
         include the increased cost attributable to                   basis of (a) or (b) below, whichever is
         enforcement of any ordinance or law regu-                    larger:
         lating the construction, use or repair of any              (a) The actual cash value, as of time of
         property.                                                        loss, of the damaged part of the
      b. If the Replacement Cost Basis option is                          building or structure.
         expressly indicated in the Declarations, loss              (b) A proportion of the cost to repair or
         valuation will be determined as provided                         replace the damaged part of the
         below:                                                           building or structure, without deduc-
        (1) The basis for loss settlement will be                         tion for depreciation. This proportion
             determined by the ratio of the applicable                    will equal the ratio of the applicable
             Limit of Insurance for the specific                          Limit of Insurance to 80% of the cost
             building or structure to the full replace-                   of repair or replacement. The cost of
             ment cost of the destroyed or damaged                        repairs or replacement does not in-
             Covered Property. When determining                           clude the increased cost attributable
             the full replacement cost, the values of                     to enforcement of any ordinance or
             the following will be disregarded:                           law regulating the construction, use
           (a) Excavations;                                               or repair of any property.
           (b) Foundations; and                                       However, we will not pay more than the
                                                                      applicable Limit of Insurance, regardless
           (c) Piers and other supports below the                     of whether(a) or (b) above applies.
                 undersurface of the lowest basement
                 floor; or, where there is no base-
                 ment, those below the surface of the
                 ground inside the foundation walls;
                 also underground flues, pipes, wiring
                 and drains.




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         (4) If your loss qualifies for payment on a         SECTION II— COVERAGE EXTENSIONS
                 replacement cost basis, but the cost of     A. Private Power And Light Poles
                 repair or replacement is more than ei-
                ther $1,000 or 5% of the applicable             We will pay up to $250 in any one occurrence as
                Limit of Insurance, the only basis on           an additional amount of insurance for direct physi-
                which we will settle pending completion         cal loss of or damage to private power and light
                of repairs or replacement is actual cash        poles, outside wiring and attachments. Attach-
                value, as of time of loss, of the dam-           ments include attached switch boxes, fuseboxes,
                aged part of the building or structure. In      and other electrical equipment mounted on poles
                case of such a loss you can make an             you own at the "insured location". The $250 Limit
                initial claim for payment on the actual         applies in excess of any applicable Deductible.
               cash value basis, and later make a               If specific private power and light poles are shown
               supplementary claim for replacement              in the Declarations, the Limits of Insurance shown
               cost payment. If you elect to exercise           for them will be in addition to the $250 Limit.
                this option, you must notify us of your
                                                             B. New Construction
                intention in writing within 180 days of
               the occurrence of the loss.                      1. We will pay up to $100,000 for direct physical
                                                                    loss of or damage to new, permanent farm
               The cost of repairs or replacement does
                                                                    structures at the "insured location" including
               not include the increased cost attribut-             materials and supplies for use in their con-
               able to enforcement of any ordinance or
                                                                    struction.
               law regulating the construction, use or
               repair of any property.                          2. This Coverage Extension applies only:
   4. Valuation — Improvements And Betterments                      a. To structures that are not otherwise cov-
                                                                        ered under this or any other policy; and
       a. If repair or replacement is done at the ex-
            pense of the "insured" wtthin 12 months                 b. To loss caused by aircraft, explosion, fire,
          after the loss, we will settle the loss on the                lightning, riot or civil commotion, smoke,
           basis of actual cash value as of time of                     vandalism, vehicles, windstorm or hail.
           loss.                                                3. Insurance on each farm structure covered
      b. If repair or replacement Is not done within                under this Coverage Extension will end as
           12 months after loss, we will settle on the              soon as any of the following takes place:
           basis of a proportion of the cost of repair or           a. You report values to us. (We will charge
           replacement. The cost of repairs or re-                      you an additional premium for values re-
            placement does not include the increased                    ported from the date construction begins or
          cost attributable to enforcement of any or-                   the materials and supplies are delivered.)
          dinance or law regulating the construction,
          use or repair of any property, The applica-               b. 60 days have elapsed since the first date of
           ble proportion will equal the ratio of (1) be-               delivery of the materials and supplies.
          low to (2) below.                                         c. This policy expires.
         (1) The period of time from the loss or               4. This Coverage Extension is part of, not in
               damage to the expiration of the lease.               addition to, the applicable Limit of Insurance.
        (2) The period of time from the installation
               of the improvements to the expiration of      SECTION III — ADDITIONAL COVERAGES
               the lease.                                    A. Extra Expense
          Lease means the lease, whether written or             If a Limit of Insurance is shown in the Declarations
          oral, in effect at the time of the loss.             for Extra Expense Coverage, we will pay, up to
           If your lease contains a renewal option and          that Limit of Insurance, the actual and necessary
          if you exercise that option, the expiration of        expenses you incur to resume normal farming op-
          the renewal option period will replace the            erations interrupted as the result of direct physical
          expiration of the lease in (1) and (2) above.         loss of or damage to Covered Property by a Cov-
      c. If repair or replacement is done at the ex-            ered Cause of Loss.
          pense of others for the use of the "insured",         Coverage for such extra expense is not limited by
          we provide no insurance.                              the expiration of this policy. But, we will not pay
   5. Valuation — Glass Replacement                             extra expense you incur after the period required
                                                               for repair, rebuilding or replacement of Covered
      We will settle on the basis of the cost to re-            Property.
      place damaged glass with safety glazing ma-
      terial, if required by law.



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   Extra Expense Coverage does not include loss               C. Other Additional Coverages
   caused by or resulting from the enforcement of                For other Additional Coverages, see the Farm
   any ordinance or law which requires any "insured"             Property — Other Farm Provisions Form — Addi-
   or others to test for, monitor, clean up, remove,             tional Coverages, Conditions, Definitions.
   contain, treat, detoxify, neutralize, or in any way
    respond to, or assess the effects of, "pollutants".
                                                              SECTION IV — OTHER PROVISIONS
    No deductible applies to this Additional Coverage.
                                                              A. Covered Causes Of Loss, Exclusions And
B. Water Damage                                                  Limitations
   In the event of water (or steam) damage not oth-              See the Causes of Loss Form — Farm Property for
   erwise excluded, from a plumbing, heating, air                Basic, Broad or Special coverage as shown in the
   conditioning or automatic fire protective sprinkler           Declarations.
   system or household appliance, we:
                                                              B. Limits Of Insurance
   1. Will also pay the necessary cost of tearing out
       and replacing any part of a covered building or           See the Farm Property — Other Farm Provisions
       structure so that the damaged system or appli-            Form — Additional Coverages, Conditions, Defini-
       ance can be repaired, provided that Special               tions.
       Causes of Loss is shown in the Declarations            C. Deductible
       for Coverage G under which the building or
                                                                 See the Farm Property — Other Farm Provisions
       structure Is covered; but
                                                                 Form — Additional Coverages, Conditions, Defini-
   2. Will not pay the cost to repair any defect                 tions.
       which caused water or steam to escape from a
       system or appliance containing water or steam.
   In this Additional Coverage, a plumbing system
  does not include a sump, sump pump or related
  equipment.
  This Additional Coverage will not increase the
  Limit of Insurance provided in this Coverage Part.




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                                                                                                           FARM
                                                                                                   FP 00 90 01 98

  FARM PROPERTY OTHER FARM PROVISIONS FORM -
  ADDITIONAL COVERAGES, CONDITIONS, DEFINITIONS
A. Additional Coverages                                        3. Damage To Property Removed For
   1. Debris Removal                                              Safekeeping
      a. We will pay your expense to remove debris                We will pay for loss to Covered Property dam-
         of Covered Property caused by or resulting               aged by any cause during or up to 30 days af-
         from a Covered Cause of Loss that occurs                 ter its removal from a building endangered by
         during the policy period. The expenses will              a Covered Cause of Loss.
         be paid only if they are reported to us in               Payment under this Additional Coverage will
         writing within 180 days of the date of direct            be subject to, not in addition to, the Limit of In-
         physical loss or damage.                                 surance applying to the property being re-
      b. Except as provided in d. below, the most                 moved.
         we will pay under this Additional Coverage            4. Fire Department Service Charge
         is 25% of:                                               We will pay the liability you have assumed by
       (1) The amount we pay for the direct physi-                contract or agreement for fire department
             cal loss of or damage to Covered Prop-               charges incurred when the fire department is
             erty; plus                                           called to save or protect Covered Property
       (2) The deductible in this policy applicable               from a Covered Cause of Loss. But we will not
             to that loss or damage.                              pay fire department service charges if the
                                                                  property Is located within the limits of the city,
      c. This Additional Coverage does not apply to               municipality or protection district furnishing the
         costs to:                                                fire department response.
       (1) Extract "pollutants" from land or water;               The amount we pay under this Additional Cov-
             or                                                   erage will be in addition to any Limit of Insur-
        (2) Remove, restore or replace polluted                   ance that applies under this Coverage Form.
             land or water.                                       No deductible applies to this Additional Cover-
      d. Debris removal expense is included in the                age.
          Limit of Insurance applying to the damaged           5. Collapse
          property. But if:
                                                                  The following Additional Coverage applies
        (1) The amount payable for the sum of                     when Broad or Special Covered Causes of
             direct physical loss or damage and de-               Loss is specified in the Declarations:
             bris removal expense exceeds the ap-
             plicable Limit of Insurance; or                      a. We will pay for direct physical loss or dam-
                                                                      age to Covered Property, caused by col-
        (2) The debris removal expense exceeds                        lapse of a building or any part of a building
             the amount payable under the 25%                         insured under a Farm Property Coverage
             limitation in b. above;                                  Form, if the collapse is caused by one or
         an additional 5% of the Limit of Insurance                   more of the following:
         applying to the damaged property will be                   (1) The "specified causes of loss" or break-
         available to cover debris removal expense.                       age of building glass, all only as insured
   2. Reasonable Repairs                                                  against in this Coverage Part;
      We will pay the reasonable cost to make nec-                  (2) Hidden decay;
      essary repairs to protect Covered Property                    (3) Hidden insect or vermin damage;
      from further damage after a loss insured
      against has occurred.                                         (4) Weight of people or personal property;
      Payment under this Additional Coverage will                   (5) Weight of rain that collects on a roof;
      be subject to, not in addition to, the Limit of In-
      surance applying to the property being re-
      paired.




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        (6) Use of defective material or methods in              6. Pollutant Clean Up And Removal
              construction, remodeling or renovation if             We will pay your expense to extract
              the collapse occurs during the course of             "pollutants" from land or water at the "insured
              the construction, remodeling or renova-               location" if the discharge, dispersal, seepage,
              tion. However, if the collapse occurs                 migration, release or escape of the "pollutants"
              after construction, remodeling or reno-               is caused by or results from a Covered Cause
              vation is complete and is caused in part              of Loss that occurs during the policy period.
              by a cause of loss listed In 5.a.(1)                  The expenses will be paid only if they are re-
              through 5.a.(5), we will pay for the loss             ported to us in writing within 180 days of the
              or damage even if use of defective                    date on which the Covered Cause of Loss oc-
              material or methods, in construction,                 curs.
              remodeling or renovation, contributes to
             the collapse.                                           This Additional Coverage does not apply to
                                                                     costs to test for, monitor or assess the exis-
      b. With respect to the following property:                     tence, concentration or effects of "pollutants".
       (1) Foundations and retaining walls;                          But we will pay for testing which is performed
        (2) Underground pipes, flues and drains;                      in the course of extracting the "pollutants" from
                                                                     the land or water.
       (3) Cesspools arid septic tanks;
                                                                    The most we will pay under this Additional
        (4) Walks, roadways, patios and other                        Coverage, for each location listed In the Decla-
              paved surfaces;                                        rations as an "insured location", is $10,000 for
        (5) Awnings;                                                the sum of all covered expenses arising out of
       (6) Fences;                                                  Covered Causes of Loss occurring during each
                                                                    separate 12 month period of this policy.
       (7) Outdoor equipment including yard fix-
                                                             B. Farm Property Conditions
             tures;
                                                                In addition to the Common Policy Conditions and
       (8) Swimming pools; and
                                                                the Conditions in the individual Coverage Forms,
       (9) Bulkheads, docks, piers and wharves;                 the following apply:
         if the collapse is caused by a cause of loss           LOSS CONDITIONS
         listed in 5.a.(2) through 5.a.(6), we will pay
         for loss or damage to that property only if:           1. Abandonment
                                                                    There can be no abandonment of any property
       (1) Such loss or damage is a direct result of
                                                                    to us.
             the collapse of a building insured under
             a Farm Property Coverage Form; and                 2. Appraisal
       (2) The property is Covered Property under                    If we and you disagree on the value of the
             a Farm Property Coverage Form.                         property or the amount of loss, either may
                                                                    make written demand for an appraisal of the
     c. Collapse does not include settling, crack-
         ing, shrinkage, bulging or expansion.                      loss. In this event, each party will select a
                                                                   competent and impartial appraiser. The two
     d. This Additional Coverage will not increase                  appraisers will select an umpire. If they cannot
         the Limits of Insurance provided in this                   agree, either may request that the selection be
         Cover6ge Part.                                             made by a judge of a court having jurisdiction.
                                                                   The appraisers will state Separately the value
                                                                   of the property and amount of loss. If they fail
                                                                   to agree, they will submit their differences to
                                                                   the umpire. A decision agreed to by any two
                                                                   will be binding. Each party will:
                                                                    a. Pay its chosen appraiser; and
                                                                    b. Bear the other expenses of the appraisal
                                                                          and umpire equally.
                                                                    If there is an appraisal, we will still retain our
                                                                   right to deny the claim.




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   3. Duties In The Event Of Loss Or Damage                  4. Insurance Under Two Or More Coverages
      a. You must see that the following are done in            If two or more of this policy's Coverages apply
          the event of loss or damage to Covered                to the same loss or damage, we will not pay
         Property:                                              more than the actual amount of the loss or
        (1) Notify the police if a law may have been            damage.
             broken.                                         5. Legal Action Against Us
        (2) Give us prompt notice of the loss or                No one may bring a legal action against us un-
             damage. Include a description of the               der a Coverage Form to which this Condition
             property involved.                                 applies, unless:
        (3)  As  soon as possible, give us a descrip-           a. There has been full compliance with all of
             tion of how, when and where the loss or                the terms of this Coverage Form; and
             damage occurred.                                   b. The action is brought within 2 years after
        (4) Take all reasonable steps to protect the                the date on which the direct physical loss or
             Covered Property from further damage,                  damage occurred.
             and keep a record of your expenses              6. Loss Payment
             necessary to protect the Covered Prop-
             erty, for consideration in the settlement          a. In the event of loss or damage insured
             of the claim. This will not increase the               against under a Coverage Form to which
             Limit of Insurance. However, we will not               this Condition applies, at our option we will
             pay for any subsequent loss or damage                  either:
             resulting from a cause of loss that is not            (1) Pay the value of lost or damaged prop-
             a Covered Cause of Loss. Also, if fea-                     erty;
             sible, set the damaged property aside                 (2) Pay the cost of repairing or replacing
             and in the best possible order for ex-                     the lost or damaged property, subject to
             amination.                                                 b.below;
       (8)   At our request, give us complete inven-              (3) Take all or any part of the property at an
             tories of the damaged and undamaged                        agreed or appraised value; or
             property. Include quantities, costs, val-
             ues and amount of loss claimed.                      (4) Repair, rebuild, or replace the property
                                                                        with other of like kind and quality, sub-'
        (6) As often as may be reasonably re-                           ject to b. below.
             quired, permit us to inspect the property
             proving the loss or damage and exam-               b. The cost to repair, rebuild or replace does
             ine your books and records.                            not include the increased cost attributable
                                                                    to enforcement of any ordinance or law
             Also permit us to take samples of dam-                 regulating the construction, use or repair of
             aged and undamaged property for in-                    any property.
             spection, testing and analysis, and
             permit us to make copies from your                 c. We will not pay you more than your finan-
             books and records.                                     cial interest in the Covered Property.
       (7) Send us a signed, sworn proof of loss                d. We will give notice of our intentions within
             containing the Information we request to               30 days after we receive the proof of loss.
             investigate the claim. You must do this            e. We will pay for covered loss or damage
             within 60 days after our request. We will              within 30 days after we receive the sworn
             supply you with the necessary forms.                   proof of loss, provided you have complied
       (8) Cooperate with us In the Investigation or                with all the terms of the Coverage Form,
             settlement of the claim.                               and
      b. We may examine any Insured" under oath,                  (1) We have reached agreement with you
         while not in the presence of any other                         on the amount of loss; or
         "insured" and at such times as may be rea-                (2) An appraisal award has been made.
         sonably required, about any matter relating
         to this insurance or the claim, including an
         "insured's" books and records. in the event
         of an examination, an "insured's" answers
         must be signed.




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         f. We may adjust losses with the owners of           10. Transfer Of Rights Of Recovery Against
            lost or damaged property if other than you.            Others To Us
            Our payment for such losses will only be for           If any person or organization to or for whom
            the owners' account. If we pay the owners,             we make payment under this insurance has
            such payments will satisfy your claims                 rights to recover damages from another, those
            against us for the owners' property. We will           rights are transferred to us to the extent of our
            not pay the owners more than their finan-              payment. That person or organization must do
            cial interest in the Covered Property.                 everything necessary to secure our rights and
        g. We may elect to defend you against suits                must do nothing after loss to impair them. But
            arising from claims of owners of property.             you may waive your rights against another
            We will do this at our expense.                        party in writing:
    7. Pair, Sets Or Parts                                         a. Prior to loss.
        a. Pair Or Set                                             b. After a loss, only if at the time of loss, that
            In case of loss or damage to any part of a                  party is one of the following:
            pair or set, we May:                                     (1) Someone insured by this insurance;
          (1) Repair or replace any part to restore the              (2) A business firm:
             • pair or set to its value before the loss; or              (a) Owned or controlled by you; or
          (2) Pay the difference between the value of                    (b) That owns or controls you; or
                the pair or set before and after the loss.
                                                                     (3) Your tenant.
        b. Parts
                                                                  This will not restrict your insurance.
            In case of loss of or damage to any part of
            Covered Property consisting of several            11. Unoccupancy And Vacancy
            parts when complete, we will only pay for              a. If a building or structure is "vacant" Or
           the value of the lost or damaged part.                     "unoccupied" beyond a period of 120 con-
   8. Other insurance                                                  secutive days, the Limits of Insurance ap-
                                                                       plicable to the building or structure and its
        a. You may have other insurance subject to                     contents will be automatically reduced by
           the same plan, terms, conditions and pro-                  50%, unless we extend the period of
            visions as the insurance under the applica-               "vacancy" or "unoccupancy" by endorse-
            ble Coverage Form. If you do, we will pay                  ment made a part of the applicable Cover-
           our share of the covered loss or damage.                    age Form.
           Our share is the proportion that the appli-
           cable Limit of Insurance under the Cover-              b. In addition to the penalty described in a.
           age Form bears to the limits of insurance of                above, "unoccupancy" or "vacancy" results
           all insurance covering on the same basis.                   in certain exclusions or limitations applica-
                                                                       ble to certain causes of loss. See Causes
       b. If there is other insurance covering the                    of Loss Form — Farm Property.
           same loss or damage, other than that de-
           scribed in 8.a. above, we will pay only the         GENERAL CONDITIONS
           amount of covered loss or damage in ex-             1. Concealment, Misrepresentation Or Fraud
           cess of the amount due from that other in-
                                                                  This insurance is void in any case of fraud by
           surance, whether you can collect on It or
                                                                  you as it relates to this insurance at any time.
           not. But we will not pay more than the ap-
                                                                  It is also void if you or any other "insured", at
           plicable Limit of Insurance.
                                                                  any time, intentionally conceal or misrepresent
   9. Recovered Property                                          a material fact concerning:
       If either you or we recover any property after             a. This insurance;
       loss settlement, that party must give the other
                                                                  b. The Covered Property;
       prompt notice. At your option, the property will
       be returned to you. You must then return to us             c. Your interest in the Covered Property; or
      the amount we paid to you for the property.                 d. A claim under this insurance.
       We will pay recovery expenses and the ex-
       penses to repair the recovered property, sub-
      ject to the Limit of Insurance.




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   2. Control Of Property                                             (2) The mortgageholders right to recover
       Any act or neglect of any person other than                          the full amount of the mortgageholder's
       you beyond your direction or control will not                        claim will not be impaired.
      affect this insurance.                                            At our option, we may pay to the mort-
      The breach of any condition of this insurance                     gageholder the whole principal on the
      at any one or more locations will not affect                      mortgage plus any accrued interest. In this
      coverage at any location where, at the time of                   event, your mortgage and note will be
      loss or damage, the breach of condition does                      transferred to us and you will pay your re-
      not exist.                                                        maining mortgage debt to us.
   3. Liberalization                                                f. If we cancel this policy, we will give written
                                                                       notice to the mortgageholder at least
      If we adopt any revision that would broaden
      the coverage under this insurance without                       (1) 10 days before the effective date of
      additional premium within 45 days prior to or                        cancellation if we cancel for your non-
      during the policy period, the broadened cover-                        payment of premium; or
      age will immediately apply to any Farm Prop-                    (2) 30 days before the effective date of
      erty Coverage Form that is affected by the lib-                      cancellation if we cancel for any other
      eralization and is a part of this policy.                            reason.
   4. Mortgageholders                                              g. If we elect not to renew this policy, we will
      a. The term mortgageholder includes trustee.                     give written notice to the mortgageholder at
                                                                       least 10 days before the expiration date of
      b. We will pay for covered loss of or damage                     this policy.
          to buildings or structures to each mort-
          gageholder shown in the Declarations in               5. No Benefit To Bailee
          their order of precedence, as interests may               No person or organization, other than you,
          appear.                                                   having custody of Covered Property will
      c. The mortgageholder has the right to re-                    benefit from this insurance.
          ceive loss payment even if the mortgage-              6. Policy Period
          holder has started foreclosure or similar                We cover,loss or damage commencing during
          action on the building or structure.                     the policy period shown in the Declarations.
      d. If we deny your claim because of your acts          C. Definitions
         or because you have failed to comply with
         the terms of this Insurance, the mortgage-             The following words and phrases have a special
          holder will still have the right to receive loss      meaning throughout the Farm Property Coverage
          payment if the mortgageholder:                        Forms:
        (1) Pays any premium due under the af-                  1. "Business property" means property pertaining
             fected Coverage Forms at our request if               to any trade, profession or occupation other
              you have failed to do so;                            than farming.
        (2) Submits a signed, sworn proof of loss               2. "Dwelling"    means a building used principally
              within 60 days after receiving notice                for family residential purposes, and includes
             from us of your failure to do so; and                 mobile homes and modular and prefabricated
                                                                   homes.
        (3) Has notified us of any change in Owner-
             ship, occupancy or substantial change                 "Dwelling" does not mean a building used in
              in risk known to the mortgageholder.                 such agricultural operations as storage of farm
                                                                   produce, "livestock" or "poultry".
         All of the terms of the affected Coverage
         Forms will then apply directly to the mort-            3. "Farm personal property" means equipment,
         gageholder.                                               supplies and products of farming or ranching
                                                                   operations, including but not limited to feed,
      e. If we pay the mortgageholder for any loss                 seed, fertilizer, "livestock", other animals,
         or damage and deny payment to you be-                     "poultry", grain, bees, fish, worms, produce
         cause of your acts or because you have                    and agricultural machinery, vehicles and
         failed to comply with the terms of the Cov-               equipment.
         erage Forms involved:
        (1) The mortgageholders rights under the
              mortgage will be transferred to us to the
             extent of the amount we pay; and




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   4. "Insured" means you and, if you are an indi-              12. "Vacancy" or "vacant" means the condition of
      vidual, the following members of your house-                   a building or structure (except while being
       hold:                                                         constructed) not containing sufficient furnish-
       a. Your relatives;                                            ings or other property customary to its intended
                                                                     use or occupancy.
      b. Any other person under the age of 21 who
           is in the care of any person specified               13. "Specified Causes of Loss" means the follow-
          above.                                                     ing: Fire; lightning; explosion; windstorm or
                                                                     hail; smoke; aircraft or vehicles; riot or civil
   5. "Insured location" means any location, includ-                 commotion; vandalism; leakage from fire ex-
      ing its private approaches, described in the                   tinguishing equipment; sinkhole collapse; vol-
      Farm Property Declarations.                                    canic action; falling objects; weight of snow,
   6. "Livestock" means cattle, sheep, swine, goats,                 ice or sleet; water damage; all as described in
      horses, mules and donkeys.                                     the Basic and Broad Causes of Loss (see
                                                                     Causes of Loss Form — Farm Property).
   7. "Money" means currency, coins and bank
      notes in current use and having a face value;           D. Limits Of Insurance
      also travelers' checks, register checks and                The .most we will pay for loss or damage in any
      money orders held for sale to the public.                  one occurrence is the lesser of the following:
   8. "Pollutants" means any solid, liquid, gaseous              1. The applicable Limit of Insurance shown in the
      or thermal irritant or contaminant, including                  Declarations; or
      smoke, vapor, soot, fumes, acids, alkalis,
      chemicals and waste. Waste includes materi-                2. The applicable Special Limit of Insurance
      als to be recycled, reconditioned or reclaimed.                described under Section A of each applicable
                                                                     Coverage.
   9. "Poultry" means fowl kept by you for use or
      sale.                                                   E. Deductible
  10. "Securities" means negotiable and non-                     We will not pay for loss, damage or expense in
      negotiable instruments or contracts represent-             any one occurrence until the amount of loss,
      ing either "money" or other property and in-               damage or expense exceeds the applicable De-
      cludes:                                                    ductible shown in the Declarations. We will then
                                                                 pay the amount of loss, damage or expense in
      a. Tokens, tickets, revenue and other stamps               excess of that Deductible, up to the applicable
         (whether represented by actual stamps or                Limit of Insurance or Special Limit of Insurance.
          unused value in a meter) in current use;
          and                                                    In the event that you sustain, from the same oc-
                                                                 currence, losses or expenses in excess of the
      b. Evidences of debt used in connection with               applicable Deductibles under two or more Cover-
          credit or charge cards, which cards are not            ages, only the highest applicable Deductible
          issued by you;                                         amount will apply.
      But "securities" does not include "money".
  11. "Unoccupancy" or "unoccupied" means the
      condition of:
      a. A "dwelling" (except while being con-
          structed) not being lived in; or
      b. Any other building or structure (except
          while being constructed) not being used;
      even if it contains furnishings or other property
      customary to its intended use or occupancy.




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                                                                                                    FARM
                                                                                            FP 03 04 01 98

                                                  READ IT CAREFULLY.
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE

           SINGLE FARM PROPERTY PER-OCCURRENCE
                        DEDUCTIBLE
                                                       following:
This endorsement modifies insurance provided under the
                                               — ADDITIONAL COVERAGES, CONDITIONS,
    FARM PROPERTY — OTHER FARM PROVISIONS FORM
    DEFINITIONS
                                               T COVERAGE FORM
    MOBILE AGRICULTURAL MACHINERY AND EQUIPMEN
    LIVESTOCK COVERAGE FORM

                                                         In the event that you sustain, from the same occur-
The Deductible Section is replaced by the following:
                                                         rence, losses ("losses"), damages or expenses in
 We will not pay for loss ("loss"), damage or expense    excess of the otherwise applicable Deductibles under
 in any one occurrence until the amount of loss          two or more Coverage Forms of this Farm Coverage
("loss"), damage or expense exceeds the applicable       Part, only the highest applicable deductible amount
 Deductible shown in the Declarations. We will then      will apply.
 pay the amount of loss ("loss"), damage or expense
 in excess of that Deductible, up to the applicable
 Limit of insurance or Special Limit of Insurance.




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                                                                                                      FARM
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    REPLACEMENT COST - HOUSEHOLD
                         PERSONAL PROPERTY
This endorsement modifies insurance provided under the following:

   FARM PROPERTY — FARM DWELLINGS, APPURTENANT STRUCTURES AND HOUSEHOLD
   PERSONAL PROPERTY COVERAGE FORM

The Valuation Loss Condition in Paragraph B. Cov-           b. The most we will pay in any one occurrence is
erage C Conditions under Coverage C — Household                the least of:
Personal Property, is deleted and replaced by the             (1) The amount actually and necessarily spent
following:                                                          to repair or replace the Covered Property;
    VALUATION                                                 (2) 400% of the actual cash value of the Cov-
    In the event of loss or damage under Coverage C                 ered Property as of time of loss; or
    we will determine the value of Covered Property           (3) The applicable special Limit of Insurance
    on the basis of replacement cost without deduc-            • shown in Paragraph A.3. under Coverage C
    tion for depreciation, subject to the following:                — Household Personal Property.
    a. We will determine the value of the following         c. If your loss qualifies for payment on a re-
        kinds of property on the basis of actual cash           placement cost basis, but the cost of repair or
        value as of time of loss up to an amount no            replacement is more than $500, the only basis
        greater than the cost to repair or replace:            on which we will settle pending completion of
      (1) Antiques, fine arts, paintings, and similar          repairs or replacement is actual cash value, as
            irreplaceable rare or antique articles;            of time of loss.
      (2) Memorabilia, souvenirs, collectors' items             In case of such a loss you can make an initial
            and similar articles whose age or history          claim for payment on the actual cash value
            contribute to their value;                         basis, and later make a supplementary claim
      (3) Articles not maintained In good or workable          for replacement cost payment. If you elect to
            condition; and                                     exercise this option, you must notify us of your
                                                                intention in writing within 180 days of the oc-
      (4) Articles that are outdated or obsolete and           currence of the loss.
            are stored or not used.




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                                                                                                       FARM
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES
This endorsement modifies insurance provided under the following:

   FARM COVERAGE PART including any attached endorsement that may provide specialized coverage on
   computers, but not including the FARM LIABILITY COVERAGE FORM

A. We will not pay for loss ("loss") or damage caused            b. Any other products or any services, data or
   directly or indirectly by any of the'following. Such              functions that directly or indirectly use or
   loss ("loss") or damage is excluded regardless of                 rely upon, in any manner, any of the items
   any other cause or event that contributes concur-                 listed in Paragraph 1.a. above;
   rently or in any sequence to the loss (loss") or              due to the inability to correctly recognize,
   damage.                                                       process, distinguish, interpret or accept one or
   1. The failure, malfunction or inadequacy of:                 more dates or times. An example is the inabil-
                                                                 ity of computer software to recognize the year
       a. Any of the following, whether belonging to             2000.
          any "insured" or to others:
                                                             2. Any advice, consultation, design, evaluation,
         (1) Computer hardware, including micro-                 inspection, Installation, maintenance, repair,
              processors, or other "electronic data              replacement or supervision provided or done
              processing equipment" as may be de-                by or for any "insured" to determine, rectify or
              fined elsewhere in this policy;                    test for, any potential or actual problems de-
         (2) Computer application software, includ-              scribed In Paragraph 1. above.
              ing "electronic media and records" as       B. If an excluded cause of loss as described above In
              may be defined elsewhere in this policy;       Paragraph A. results in:
         (3) Computer operating systems and re-              1. A "specified cause of loss" under the Special
              lated software;                                    Causes of Loss; or
         (4) Computer networks;                              2. A Covered Cause of Loss under the Basic or
         (5) Microprocessors (computer chips) not                Broad Causes of Loss;
              part of any computer system; or                we will pay only for the loss ("loss") or damage
         (6) Any other computerized or electronic            caused by such "specified cause of loss" or Cov-
              equipment or components; or                    ered Cause of Loss.
                                                          C. We will not pay for repair, replacement or modifi-
                                                             cation of any items in Paragraphs A.1.a. or b.
                                                             above to correct any deficiencies or change any
                                                             features.




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                                                                                                          FARM
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             CAUSES OF LOSS FORM - FARM PROPERTY
Words and phrases that appear in quotation marks                      (2) Watercraft or their trailers, furnishings,
have special meaning. Refer to the Definitions Sec-                        equipment or outboard motors unless
tion of the Farm Property — Other Farm Provisions                          within a fully enclosed building.
Form — Additional Coverages, Conditions, Definitions.                (3) Under Coverage E or Coverage F:
A. Covered Causes Of Loss                                                (a) "Livestock" or "poultry" when caused
    Covered Causes of Loss means the causes as                                 by running into streams, ponds or
    described and limited under either B. or C. or D.                          ditches, or against fences or other
    below in accordance with a corresponding entry of                          objects; or from smothering; or re-
    either Basic or Broad or Special, respectively, on                         sulting directly or indirectly from
    the Declarations opposite each Coverage or prop-                           fright;
    erty to which this insurance applies. Covered                        (b) "Livestock" or "poultry" when caused
    Causes of Loss are also limited by the Exclusions                          by freezing or smothering in bliz-
    in Section E.                                                              zards or snowstorms; or
    However, certain property is covered only for par-                   (c) Dairy or farm products in the open
    ticular causes of loss, as listed under the following                      other than hay, straw or fodder.
    items: the Coverage Extension to Coverage A;
    1.b., 1.c.(2), 1.e., 1.k., 1.1., 1.m., 1.n. and 1.0. of     3. Explosion, including the explosion of gases or
    Coverage E Covered Property; 1.b.(2) of Cover-                 fuel within the furnace of any fired vessel or
    age F Covered Property; F. of the Coverage Ex-                 within the flues or passages of such a vessel
    tensions to Coverage F; and B. of the Coverage                 from which the gases of combustion pass.
    Extensions to Coverage G.                                      But under Coverages E, F and G this cause of
B. Covered Causes Of Loss — Basic                                  loss does not include loss or damage caused
                                                                   by or resulting from:
   Subject to the provisions in Section A., when Ba-
    sic is shown in the Declarations, Covered Causes               a. Explosion of alcohol stills, steam boilers,
    of Loss means the following:                                       steam pipes, steam engines or steam tur-
                                                                       bines owned or leased by you, or operated
    1. Fire Or Lightning                                               under your control;
        We will not pay for loss of or damage to build-            b. Electric arcing;
        ings, or contents usual to a tobacco barn, if
        that loss or damage:                                       c. Rupture or bursting of water pipes;
        a. Results from the use of open fire for curing            d. Rupture, bursting or operation of pressure
            or drying tobacco In the barn; and                         relief devices; or
        b. Occurs during, or within the 5-day period               e. Rupture or bursting due to expansion or
            following, open-fire curing or drying.                     swelling of the contents of any building or
                                                                       structure caused by or resulting from water.
   2. Windstorm Or Hail, but not including:
                                                                4. Riot Or Civil Commotion,including:
        a. Frost or cold weather;
                                                                   a. Acts of striking employees while occupying
        b. Ice (other than hail), snow or sleet, whether               the "insured location"; and
            driven by wind or not; or
                                                                   b. Looting occurring at the time and place of a
        c. Loss of or damage to:                                       riot or civil commotion.
          (1) The interior of any building or structure,        5. Aircraft, meaning only loss or damage caused
                or the property inside a building or               by or resulting from:
                structure, caused by rain, snow, sleet,
               sand or dust, whether driven by wind or             a. Contact of an aircraft, spacecraft or self-
                not, unless the building or structure first            propelled missile with Covered Property or
               sustains wind or hail damage to its roof                with a building or structure containing Cov-
                or walls through which the rain, snow,                 ered Property; or
               sleet, sand or dust enters; or                      b. Objects falling from aircraft.




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   6. Vehicles, meaning only loss or damage                         b. Under Coverage A, B or G:
       caused by contact of a vehicle, or of an object                  In or from a building or structure under
       thrown up by a vehicle, with Covered Property                   construction, or of materials and supplies
       or with a building or structure containing Cov-                 for use in such construction, until the
       ered Property.                                                   building or structure is completed and oc-
       This cause of loss does not include loss or                     cupied;
       damage to:                                                   C. Under Coverage A, B or C:
       a. "Livestock"; or                                            (1) From that part of your principal resi-
       b. A fence, driveway or walk.                                       dence, including its grounds and appur-
       However, we will provide coverage under this                        tenant structures, which you rent to
       cause of loss if the fence, driveway or walk is                     someone who Is not an "Insured";
       appurtenant to a covered "dwelling" and the                   (2) With respect to household personal
       vehicle that caused the loss or damage was                          property away from the "insured loca-
       not owned or operated by a resident of the                          tion", of:
      "dwelling".                                                         (a) Property at any residence owned,by,
   7. Smoke, causing sudden and accidental loss or                             rented to, or occupied by, an
      damage.                                                                 "Insured", except while an "insured",
      This cause of loss does not include loss or                              is temporarily residing there.
      damage by smoke from agricultural smudging                               But property of a student who is an
      or industrial operations.                                               "insured" is covered at a residence
   8. Vandalism                                                                away from home provided the stu-
                                                                               dent has been there at any time
      This cause of loss does not include loss of or                           during the 45 days immediately pre-
      damage to:                                                               ceding the loss;
       a. A building or structure, or its contents, if the               (b) Any watercraft, its furnishings,
          building or struOture has been "vacant" for                          equipment or outboard motors; or
          more than 30 consecutive days immedi-
          ately before the loss.                                         (c) Trailers or campers.
      b. Any device or instrument, for the transmit-               d. Under Coverage E or F:
          ting, recording, receiving or reproduction of              (1) Discovered on taking inventory;
          sound or pictures, that is operated by power               (2) Due to wrongful conversion or embez-
          from the electrical system of a motor vehi-                      zlement;
          cle or mobile agricultural vehicle, unless it
          is:                                                        (3) Due to disappearance of any "farm
                                                                           personal property" unless there is evi-
        (1) Covered Property; and                                          dence that the property was stolen; or
        (2) Permanently installed in the motor ve-                   (4) Due to acceptance of counterfeit
              hicle or mobile agricultural vehicle.                        money, fraudulent post office or express
      c. While in or upon a motor vehicle or mobile                        money orders, Or checks or promissory
          agricultural vehicle, any tape, wire, record,                    notes not paid upon presentation.
          disc or other medium for use with any de-                e. Of any device or instrument for the trans-
          vice or instrument that transmits, records,                  mitting, recording, receiving or reproduction
          receives or reproduces sound or pictures                    of sound or pictures, that is operated by
          and that is operated by power from the                       power from the electrical system of a motor
          electrical system of the motor vehicle or                   vehicle or mobile agricultural vehicle, un-
          mobile agricultural vehicle.                                less it is:
   9. Theft, including attempted theft and loss of                   (1) Covered Property; and
      property from a known location when it is likely
      that the property has been stolen.                             (2) Permanently installed in the motor ve-
                                                                           hicle or mobile agricultural vehicle.
      This cause of loss does not include loss
      caused by or resulting from theft:
      a. Due to unauthorized instructions to transfer
          property to any person or to any place;




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        f. While in or upon a motor vehicle or mobile            b. Causing Death Of Covered Livestock
           agricultural vehicle, of any tape, wire, rec-              We will pay for loss of covered "livestock"
           ord, disc or other medium for use with any                 caused by:
           device or instrument that transmits, rec-
           ords, receives or reproduces sound or pic-               (1) Collision or overturn of a vehicle on
           tures and that is operated by power from                      which the "livestock" are being trans-
           the electrical system of the motor vehicle                    ported. Collision means accidental
           or mobile agricultural vehicle.                               contact of that vehicle with another ve-
                                                                         hicle or object; or
  10. Sinkhole Collapse, meaning loss or damage
      caused by the sudden sinking or collapse of                   (2) "Livestock" running into or being struck
      land into underground empty spaces created                         by a vehicle while the "livestock" are
      by the action of water on limestone or dolo-                       crossing, moving along or standing in a
       mite. This cause of loss does not include:                        public road.
      a. The cost of filling sinkholes; or                            But we will not pay for loss if a vehicle
                                                                     owned or operated by an "insured":
      b. Sinking or collapse of land into man-made
           underground cavities.                                    (1) Collides with the vehicle on which the
                                                                        "livestock" are being transported; or
  11. Volcanic Action, meaning direct loss or dam-
      age resulting from the eruption of a volcano                  (2) Strikes "livestock" crossing, moving
      when the loss or damage is caused by:                              along or standing in a public road.
      a. Airborne volcanic blast or airborne shock               c. Causing Damage To Other Farm
           waves;                                                    Personal Property
      b. Ash, dust or particulate matter; or                          We will pay for loss of or damage to cov-
                                                                     ered "farm personal property" (other than
      c. Lava flow.                                                  that described in a. or b. above) in or upon
      All volcanic eruptions that occur within any                   a motor vehicle, caused by collision or
      168-hour period will constitute a single occur-                overturn of that vehicle. Collision means
      rence.                                                         accidental contact of the motor vehicle with
      This cause of loss does not include the cost to                another vehicle or object.
      remove ash, dust or particulate matter that            13. Earthquake Loss To "Livestock"
      does not cause direct physical loss or damage          14. Flood Loss To "Livestock", meaning only
      to the Covered Property.                                   loss or damage caused by or resulting from
  12. Collision — Coverages E And F Only                         flood, surface water, waves, tides, tidal waves,
      a. Causing Damage To Covered Farm                          overflow of any body of water, or their spray,
           Machinery                                             all whether driven by wind or not.
           We will pay for loss of or damage to cov-       C. Covered Causes Of Loss — Broad
           ered farm machinery caused by collision or         Subject to the provisions in Section A., when
           overturn of that machinery. Collision means        Broad Is shown in the Declarations, Covered
           accidental contact of the farm machinery           Causes of Loss means the Covered Causes of
           with another vehicle or object.                    Loss under Section B. Covered Causes of Loss —
           Under this cause of loss we will not pay for       Basic, plus the following:
           loss or damage:                                   15. Electrocution Of Covered Livestock
         (1) To tires or tubes unless the damage is          16. Attacks On Covered Livestock By Dogs Or
              coincidental with other damage to the              Wild Animals
              farm machinery or implement;                       This cause of loss does not include loss or
         (2) Caused by contact between a tractor                 damage:
              and implement during towing, hitching              a. To sheep; or
              or unhitching;
                                                                 b. Caused by dogs or wild animals owned by
         (3) Caused by foreign objects taken into                    you, your employees or other persons resid-
              any farm machine or mechanical har-                    ing on the "insured location".
              vester; or
                                                             17, Accidental Shooting Of Covered Livestock
         (4) Caused by contact of farm machinery
              with the roadbed or ground.                        This cause of loss does not include loss or
                                                                 damage caused by you, any other "insured",
                                                                 your employees, or other persons residing on
                                                                 the "insured location".



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  18. Drowning Of Covered Livestock From                       24. Accidental Discharge Or Leakage Of Water
       External Causes                                              Or Steam from within a plumbing, heating, air
       This cause of loss does not include loss result-             conditioning or other system or appliance that
       ing from the drowning of swine under 30 days                 is located on the "insured location" and con-
       old.                                                         tains water or steam.
  19. Loading/Unloading Accidents, meaning                          Under this cause of loss we will pay for loss of
      sudden, unforeseen and unintended events                      or damage to covered personal property pro-
       causing or necessitating death of covered                    vided that Broad is shown in the Declarations
      "livestock" and occurring while they are being               for the coverage applicable to that personal
       unloaded from or loaded onto vehicles used or                property. If any part of a building or structure to
       to be used to transport them.                                which Coverage A, B or G applies must be
                                                                    torn out and replaced so that repairs can be
      This cause of loss does not include loss                      made to the damaged system or appliance, we
      caused by or resulting from disease.                          will also pay the necessary costs involved,
  20. Breakage Of Glass Or Safety Glazing Mate-                     provided that Broad is shown in the Declara-
       rial that is part of a building or structure, storm         tions for the coverage applying to that building
      door or storm window.                                        or structure.
       Under this cause of loss, we will not pay for               We will not pay:
       loss if the building or structure which contained            a. For loss or damage caused by discharge or
      the glass, including door or window glass, has                     leakage from a sump or related equipment
       been "vacant" for more than 30 consecutive                       and parts, including overflow due to sump
       days immediately before the loss.                                 pump failure or excessive volume of water;
  21. Falling Objects                                               b. The cost to repair any defect that caused
      But we will not pay for loss or damage to:                        the loss or damage;
       a. Personal property in the open;                           c. For loss or damage caused by discharge or
                                                                        leakage in a building or structure "vacant"
       b. The interior of a building or structure, or
                                                                        for more than 30 consecutive days imme-
           property inside a building or structure, un-
                                                                        diately before the loss; or
           less the roof or an outside wall of the
           building or structure is first damaged by a             d. For loss or damage caused by or resulting
           falling object; or                                           from freezing.
      c. The falling object itself.                            25. Freezing of a plumbing, heating, air condition-
                                                                   ing or automatic fire protective system or of a
  22. Weight Of Ice, Snow Or Sleet causing dam-
                                                                   household appliance.
      age to a building or to any property inside a
      building.                                                    Under this cause of loss, we will not pay for
                                                                   loss or damage which occurs while a building
      But under this cause of loss we will not pay for
                                                                   or structure is "vacant", "unoccupied" or being
      loss by pressure or weight of water in any
                                                                   constructed, unless you have used reasonable
      form, whether driven by wind or not, to any:
                                                                   care to:
      a. Foundation or retaining wall;
                                                                   a. Maintain heat in the building or structure; or
      b. Pavement or patio;
                                                                   b. Shut off the water supply and drain the
      c. Awning;                                                       system or appliance of water.
      d. Fence;                                                26. Sudden And Accidental Damage from artifi-
      e. Outdoor equipment;                                        cially generated electrical current — Applicable
                                                                   Only to Coverages A, B, C and D.
        f. Swimming pool; or
                                                                   This cause of loss does not include loss of or
      g. Bulkhead, dock, pier or wharf.                            damage to tubes, transistors or similar elec-
  23. Sudden And Accidental Tearing Apart,                         tronic components.
      cracking, burning or bulging of a steam or hot         D. Covered Causes of Loss — Special
      water heating system, an air conditioning or
      automatic fire protective system, or an appli-            Subject to the provisions in Section A., when
      ance for heating water.                                   Special is shown in the Declarations, Covered
                                                                Causes of Loss means Risks Of Direct Physical
      Under this cause Of loss we will not pay for              Loss unless the loss is excluded in the following
      loss or damage caused by or resulting from                paragraphs or in Section E. Exclusions.
      freezing.




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   1. We will not pay for loss or damage caused by                       (b) Shut off the water supply and drain
      or resulting from:                                                        the system or appliance of water.
      a. Fire, if that loss or damage is sustained by               (3) Due to any cause other than freezing
          buildings or contents usual to tobacco                            and occurring in a building or structure
          barns as the result of using open fire for                      "vacant" for more than 30 consecutive
          curing or drying tobacco in the barn, and                        days immediately before the loss.
          occurs:                                                h. Any of the following occurrences, if they
        (1) While tobacco is being fired; or                           take place in buildings or structures cov-
        (2) Within the 5-day period following to-                      ered under Coverage G or if the property
              bacco firing in the barn.                               destroyed or damaged is *farm personal
                                                                       property":
      b. Collapse, except as provided in the Addi-
          tional Coverage entitled Collapse. But if                 (1) Explosion of alcohol stills, steam boil-
          collapse results in a Covered Cause of                           ers, steam pipes or steam engines, if
          Loss at the Insured location", we will pay                       you own, lease or operate them;
         for the loss or damage caused by that Cov-                (2) Conditions or events (other than explo-
          ered Cause of Loss.                                             sions) inside hot water boilers or other
      c. Windstorm or hail to:                                             heating equipment, to the extent that
                                                                           they cause loss or damage to these
        (1) Dairy or farm products in the open;                            boilers or equipment;
        (2) Watercraft or their trailers, furnishings,             (3)     Rupture,   bursting or operating of pres-
             equipment or outboard motors, unless                         sure relief devices; or
              within a fully enclosed building.
                                                                   (4) Rupture or bursting due to expansion of
     d. Rain, snow, ice or sleet to personal prop-                         the contents of any building or structure,
         erty in the open;                                                 if the expansion is caused by or results
     e. Rain, snow, sleet, sand or dust, whether                          from water.
         driven by wind or not, to the interior of any                    But this exclusion does not apply to loss
          building or structure or the property inside a                  or damage caused by explosion of
          building or structure, unless the building or                   gases or fuel within the furnace of any
         structure first sustains wind or hail damage                     fired vessel or within the flues or pas-
         to its roof or walls through which the rain,                     sages through which the gases of com-
         snow, sleet, sand or dust enters;                                 bustion pass.
      f. Freezing, thawing, or pressure or weight of              i. Under Coverage A, B or C, theft from that
         water or ice whether or not driven by wind,                  part of your principal residence, including
         to any:                                                      its grounds and appurtenant structures,
       (1) Foundation or retaining wall;                             which you rent to someone who is not an
                                                                     "insured";
       (2) Pavement or patio;
       (3) Fence;                                                j. Under Coverage B or G, theft in or from a
                                                                      building or structure under construction, or
       (4) Swimming pool; or                                         of materials and supplies for use in such
       (5) Bulkhead, dock, pier or wharf.                            construction until the building or structure is
                                                                     completed and occupied;
     g. Discharge or overflow of water or steam
         from within a plumbing, heating, air condi-             k. Under Coverage A, B or C, theft of the
         tioning or automatic fire protective system                 following property away from the "insured
         or from within a household appliance:                       location":
       (1) That occurs on the "insured location",                  (1) Property at any residence owned by,
             but is caused by discharge that takes                        rented to, or occupied by, an "insured",
             place off the "insured location";                            except while an "insured" is temporarily
                                                                          residing there.
       (2) Caused by or resulting from freezing,
             and occurring in a building or structure                     But we will pay for loss by theft of the
             that is "vacant", "unoccupied", or being                     property of a student who is an "insured"
             constructed, unless you have used rea-                       from a residence away from home,
             sonable care to:                                             provided the student was there at any
                                                                          time during the 45 days immediately
           (a) Maintain heat in the building or                           preceding the loss.
                 structure; or




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          (2) Any watercraft, its furnishings, equip-                  s. Transport of "farm personal property",
                ment or outboard motors; or                               except to the extent of the coverage af-
          (3) Trailers or campers;                                        forded under Covered Causes of Loss —
                                                                          Basic and Broad.
        I. Inventory shortage;
                                                                       t. Any cause included in the following list if
      m. Disappearance of any "farm personal prop-                        that loss or damage is sustained by farm
            erty" or portable building or structure unless                machinery:
            there is evidence that the property was
            stolen;                                                     (1) Collision, upset or overturn of farm
                                                                               machinery or equipment, to the extent
      it Voluntary parting with any property by you                           of any loss•of or damage to the tires or
            or anyone else to whom you have entrusted                          inner tubes of such machinery or
            the property if induced to do so by any                           equipment.• But we will pay for the loss
           fraudulent scheme, trick, device or false                          of or damage to the tires or inner tubes
            pretense;                                                         if the same accident causes other cov-
      o. Unauthorized instructions to transfer prop-                          ered loss to the same machinery or
            erty to any person or to any place;                               equipment.
      p. Theft of or vandalism to:                                      (2) Contact between a tractor and an im-
         (1) Any device or instrument, for the                                plement during towing, hitching or un-
               transmitting, recording, receiving or re-                      hitching operations.
               production of sound or pictures, that is                 (3) Foreign objects being taken into any
               operated by power from the electrical                          farm machine or mechanical harvester.
               system of a motor vehicle or mobile ag-                  (4) Contact of farm machinery with the
               ricultural vehicle, unless it is:                              roadbed or ground, causing loss of or
              (a). Covered Property; and                                      damage to that machinery.
             (b) Permanently installed in the motor                           However, this Exclusion, (4), does not
                    vehicle or mobile agricultural vehi-                     apply If:
                    cle.                                                    (a) Contact with the roadbed or ground
         (2) While in or upon a motor vehicle or                                  results from collision or overturn of
               mobile agricultural vehicle, any tape,                             covered farm machinery, or from
               wire, record, disc or other medium for                             collision or overturn of a vehicle on
               use with any device or instrument that                             which the covered farm machinery is
               transmits, records, receives or repro-                             being transported. Collision means
               duces sound or pictures and that is op-                            accidental contact of the farm ma-
               erated by power from the electrical                                chinery with another vehicle or with
               system of the motor vehicle or mobile                              an object. For the purpose of this
               agricultural vehicle.                                              coverage, the roadbed or ground
      q. Vandalism or breakage of glass or safety                                 does not qualify as an object; or
           glazing material, if the building or structure                  (b) The incident causing the loss or
           was "vacant" for more than 30 consecutive                              damage to covered farm machinery
           days immediately before the loss.                                      occurs on land other than a roadway,
       r. Dishonest or criminal acts committed by                                 highway or other paved or gravelled
           you, any of your partners, employees                                   surface. The deductible for such loss
          (including leased employees), directors,                                or damage is the applicable de-
           trustees, authorized representatives or                                ductible shown in the Declarations,
           anyone to whom you entrust the property                                or $500, whichever Is greater.
          for any purpose, regardless of whether:                            Covered farm machinery does not in-
         (1) That person acts alone or in collusion                          clude farm machinery being transported
               with others; or                                               by a common or contract carrier, except
                                                                             to the extent that coverage is provided
         (2) The act Is committed during the hours                           under the Coverage E or Coverage F
               of employment.                                                Coverage Extension for Property in the
           This. exclusion does not apply to loss by                         Custody of a Common or Contract Car-
           acts of destruction committed by your                             rier.
           striking employees (Including leased em-
           ployees), but it does apply to employee
          (including leased employee)theft.




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     u. Artificially generated electric current, in-                     (9) Marring or scratching.
        cluding electric arcing, that disturbs:                           But if an excluded cause of loss that Is
       (1) Any electrical devices, appliances or                          listed in w.(1) through w.(9) results in a
            wires; or                                                     "specified cause of loss" or building glass
       (2) Under Coverages A, B, C and D, any                             breakage, we will pay for the loss or dam-
            tubes, transistors or similar electronic                      age caused by that "specified cause of
            components.                                                   loss" or building glass breakage.
                                                                  2. We will not pay for loss or damage caused by
        But:
                                                                     or resulting from any of the following, 2.a.
      (1) Under Coverages A, B, C and D, we will                     through 2.c. But if an excluded cause of loss
            pay for loss of or damage to electric                    that is listed in 2.a. through 2.c. results in a
            devices, appliances or wires, provided                   Covered Cause of Loss, we will pay for the
            the damage is sudden and accidental.                      loss or damage caused by that Covered Cause
      (2) If artificially generated electric current                 of Loss.
            results in fire, we will pay for the loss or              a. Weather conditions. But this exclusion
            damage caused by that fire.                                   applies only if weather conditions contribute
     V. Smoke, vapor or gas from agricultural                             in any way with a cause or event excluded
        smudging or industrial operations, to any                         in Section E. Exclusions, to produce the
        building, structure or personal property.                         loss or damage.
     w. The following causes of loss to any build-                    b. Acts or decisions, including the failure to
        ing, structure or personal property:                              act or decide, of any person, group, organi-
                                                                          zation or governmental body.
      (1) Wear and tear;
                                                                      c. Faulty, inadequate or defective:
      (2) Rust, corrosion, fungus, decay, deterio-
            ration, hidden or latent defect or any                      (1) Planning, zoning, development, survey-
            quality in property that causes it to                             ing, siting;
            damage or destroy itself;                                   (2) Design, specifications, workmanship,
      (3) Smog;                                                               repair, construction, renovation, re-
                                                                              modeling, grading, compaction;
      (4) Settling, cracking, shrinking or expan-
            sion;                                                       (3) Materials used in repair, construction,
                                                                              renovation or remodeling; or
      (5) Nesting or infestation, or discharge or
            release of waste products or secretions,                    (4) Maintenance;
            by birds, vermin, rodents, insects or                         of part or all of any property on or off the
            domestic animals.                                             "insured location".
      (6) Mechanical breakdown, including rup-                    3. We will not pay for loss or damage caused by
            ture or bursting caused by centrifugal                   or resulting from the discharge, dispersal,
            force;                                                   seepage, migration, release or escape of
      (7) Dampness or dryness of atmosphere;                         "pollutants" unless the discharge, dispersal,
                                                                     seepage, migration, release or escape is itself
      (8) Changes in temperature or extremes of                      caused by any of the "specified causes of
            heat or cold, including freezing. But this                loss". But if the discharge, dispersal, seepage,
            exclusion does not apply to freezing of a                 migration, release or escape of "pollutants" re-
            plumbing, heating, air conditioning or                   sults in a "specified cause of loss", we will pay
            automatic fire protective system or                      for the loss or damage caused by that
           freezing of a household appliance, if                     "specified cause of loss".
            you have used reasonable care to:
                                                               E. Exclusions
          (a) Maintain heat in the building or
                structure; or                                     The following Exclusions apply when any or all of
                                                                  the Covered Causes of Loss, Basic, Broad or
          (b) Shut off the water supply and drain                 Special, are specified In the Declarations.
                the system or appliance of water;
                                                                  We will not pay for loss or damage caused directly
                                                                  or indirectly by any of the following. Such loss or
                                                                  damage is excluded regardless of any other cause
                                                                  or event that contributes concurrently or in any
                                                                  sequence to the loss.




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   1. Ordinance Or Law                                                Volcanic action does not include the cost to
                                                                      remove ash, dust or particulate matter that
      The enforcement of any ordinance or law:                        does not cause direct physical loss or dam-
      a. Regulating the construction, use or repair                   age to Covered Property.
         of any property; or                                   3. Governmental Action
      b. Requiring the tearing down of any property,              Seizure or destruction of property by order of
          Including the cost of removing its debris.              governmental authority.
      This exclusion, Ordinance or Law, applies                   But we will pay for loss or damage caused by
      whether the loss results from:                              or resulting from acts of destruction ordered by
      a. An Ordinance or law that is enforced even if             governmental authority and taken at the time
         the property has not been damaged; or                    of a fire to prevent its spread, if the 'fire would
                                                                  be covered under this Coverage Form.
      b. The increased costs incurred to comply
         with an ordinance or law in the course of            4. Intentional Loss
         construction, repair, renovation, remodeling             We will not pay for loss or damage arising out
         or demolition of property, or removal of its             of any act committed:
         debris, following a physical loss to that
         property.                                                a. By or at the direction of any "insured"; and
   2. Earth Movement                                              b. With the intent to cause a loss.
      a. Any earth movement (other than sinkhole              5. Nuclear Hazard
         collapse), such as earthquake, landslide,                Nuclear reaction or radiation, or radioactive
         mine subsidence or earth sinking, rising or              contamination, however caused.
         shifting. This exclusion applies whether the             But if nuclear reaction or radiation, or radioac-
         earth movement is caused by human or                     tive contamination, results in fire, we will pay
         animal forces or any act of nature.                     for the loss or damage caused by that fire.
         But:                                                 6. Utility Services
       (1) If earth movement results in fire or                  The failure of power or other utility service
             explosion, we will pay for the loss or              supplied to the "insured location", however
             damage caused by that fire or explo-                 caused, if the failure occurs away from the
             sion; or                                            "insured location", except as provided under
       (2) If loss or damage to:                                  Coverage'C.
            (a) Farm machinery, vehicles and                      But if the failure of power or other utility serv-
                 equipment covered for the Special                ice results in a Covered Cause of Loss, we will
                 Causes of Loss; or                               pay for the loss or damage caused by that
            (b) "Livestock";                                     Covered Cause of Loss.
             is caused by earthquake, this Earth              7. Neglect
             Movement exclusion does not apply to                 Neglect, meaning neglect of the "insured" to
             such loss or damage.                                 use all reasonable means to save and pre-
      b. Volcanic eruption, explosion or effusion.               serve property at and after the time of a loss.
         But if volcanic eruption, explosion or effu-         8. War And Military Action
         sion results in fire or volcanic action, we              a. War, including undeclared or civil war;
         will pay for the loss or damage caused by
         that fire or volcanic action.    -                       b. Warlike action by a military force, including
                                                                      action in hindering or defending against an
         Volcanic action means direct loss or dam-                    actual or expected attack, by any govern-
         age resulting from the eruption of a volcano                 ment, sovereign or other authority using
         when the loss or damage is caused by:                        military personnel or other agents; or
       (1) Airborne volcanic blast or airborne                    c. Insurrection, rebellion, revolution, usurped
             shock waves;                                             power, or action taken by governmental
        (2) Ash, dust Or particulate matter; or                       authority in hindering or defending against
       (3) Lava flow.                                                 any of these.
         All volcanic eruptions that occur within any
         168-hour period will constitute a single oc-
         currence.




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  9. Water                                                      But:
     a. Flood, surface water, waves, tides, tidal               (1) If water, as described in 9.a. through d.
        waves, overflow of any body of water, or                     above, results In fire, explosion or
        their spray, all whether driven by wind or                   sprinkler leakage, we will pay for the
        not;                                                         loss or damage caused by that fire, ex-
                                                                     plosion or sprinkler leakage; or
     b. Mudslide or mudflow;
                                                                 (2) If loss or damage to:
     c. Water that backs up or overflows from a
        sewer, drain or sump; or                                   (a) Farm machinery, vehicles and
                                                                         equipment covered for the Special
     d. Water under the ground surface pressing                          Causes of Loss; or
        on, or flowing or seeping through:
                                                                     (b) "Livestock";
       (1) Foundations, walls, floors or paved
            surfaces;                                                  is caused by water as described In 9.a.
                                                                       a bove, this Water exclusion does not
       (2) Basements, whether paved or not; or                         apply to such loss or damage.
      (3) Doors, windows or other openings.                 Exclusions E.1. through E.9. apply whether or not
                                                            the loss event results in widespread damage or
                                                            affects a substantial area.




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                                                                          ,
                          ,
ENDORSEMENT- ORDINANCE OR LAW
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This Endorsement modifies insurance provided under the following:
    FARM PROPERTY COVERAGE PART
A. Increased Costs From Enforcement of Ordinance or Law — We will pay up to an additional twenty-five
 (25)percent of the Limit of Insurance under Coverage A or B for the increased costs you incur due to the
   enforcement of any ordinance or law that requires or regulates:
    1. Construction, demolition, remodeling, renovation, or repair of parts of a covered dwelling" or other
      structure damaged by a Covered Cause of Loss; or
    2. Demolition and reconstruction of undamaged parts of a covered "dwelling" or other structure necessitated
       by damage from a Covered Cause of Loss; or
    3. Remodeling, removal, or replacement of undamaged parts of a covered "dwelling" or other structure
       necessary for completion of the remodeling, repair, or replacement of parts damaged by a Covered
      Cause of Loss.
   This Is additional insurance.
B. Additional Debris Removal Expense — When damage from the Covered Cause of Loss and the increased
   costs described in paragraphs A above, exhaust the applicable limit of insurance under Coverage A or B or
   the enhanced limit of insurance as provided under A above, we will pay up to an additional five(5) percent of
   the original applicable limit of insurance for the costs you incur to remove debris from the construction,
   demolition, remodeling, renovation, repair, or replacement of property insured under Coverage A or B.
   This is additional insurance.
B. We will not pay for
    1. Loss in value to any "dwelling" or other structure due to the requirements of any ordinance or law; or
   2.Costs to comply with any ordinance or law that requires any"insured" or others to test for, monitor, clean
     up, remove, contain, treat, detoxify, neutralize, or in any way respond to or assess the effects of
     "pollutants" in or on any'dwelling" or other structure.




THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
POLICY IS WRITTEN.


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   ENDORSEMENT - COVERAGE ENHANCEMENTS AND INCREASED
   LIMITS
   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
   This endorsement modifies the insurance coverage provided under the following:
      FARM PROPERTY — FARM DWELLINGS, APPURTENANT STRUCTURES, AND HOUSEHOLD
      PERSONAL PROPERTY COVERAGE FORM
   A. SECTION I — Coverages — Coverage B — Other Private Structures Appurtenant to Dwellings Item A,
      Coverage — Paragraph 1, Covered Property, Is entirely deleted and replaced with the following:
     1. Covered Property — All of the following are Covered Property under Coverage B of this Coverage Form,
        provided a Limit of Insurance is shown in the Declarations:
       Private structures you own that are appurtenant to a covered 'dwelling" and:
       a. Separated from it by clear space; or
       b. Attached to it only by a fence, utility line, or similar connection.
       Fences, driveways, sidewalks, and other permanently installed outdoor fixtures that are within two hundred
       and fifty(250)feet of the "dwelling" covered under Coverage A.
  B. SECTION I — Coverage B — Other Private Structures Appurtenant to Dwellings; Coverage C — Household
     Personal Property; and SECTION III — Additional Coverages; the Special Limits of Insurance are amended
     as shown in the Schedule below. If a revised limit Is shown that limit applies to the Coverage unless a
     different amount is shown in the Declarations. The amount shown in the Declarations will apply:
                                                                                                Limit of       Limit of
                                                                                            Insurance In the  Insurance
  DESCRIPTION OF THE SPECIAL LIMIT OF INSURANCE:                                            Coverage Form: Changed To:
  Coverage B, Outdoor radio and TV antennas and towers and satellite dishes                              $250      $1,000
  Coverage C. Gold other than goldware,"money', platinum, and silver other than silverware:              $200      $3,000
   Letters of credit, manuscripts, passports, and "securiffes"                                         $1,500      $5,000
   Watercraft, including their equipment,furnishings, et cetera                                        $1,500      $5,000
   Trailers not used with watercraft nor for farming operations:                                       $1,500      $5,000
   Gravemarkers                                                                                        $1,000      $5,000
   "Business property" on the Insured location"                                                        $2,500      $5,000
   "Business property" off the "insured location'                                                        $250      $1,00
   Theft of:
      Furs,jewelry, precious and semiprecious stones, and watches                                      $1,500      $5,000
      Goldware, goldplated ware,silverware, silverplated ware, and pewterware,et cetera.               $2,500      $5,000
      Firearms                                                                                         $2,500      $7,500
   Loss to electronic apparatus, while in or upon a motor vehicle, et cetera                           $1,500      $3,000
   Loss to electronic apparatus, while not In or upon a motor vehicle, et cetera                       $1,500      $3,000
  SECTION III —ADDITIONAL COVERAGES:
   B. Credit Cards And Fund Transfer Cards: Forgery; Counterfeit Currency                                $500      $1,500




  THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
  POLICY IS WRITTEN.



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  ENDORSEMENT - CHANGED LIMITS OF INSURANCE
                                                      CAREFULLY.
  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
  This endorsement modifies insurance provided under the following:
                                                                    FORM
      FARM PROPERTY — FARM PERSONAL PROPERTY COVERAGE
                                                                        l Property — A,Coverage —3, Special
   A. SECTION I — Coverages — Coverage E — Scheduled Farm Persona                replaced with the following:
      Limits of Insurance Under Coverage E, Paragraph c, is entirely deleted and
                                                                          nt is $5,000.
      c. The Limit of Insurance on any one item of miscellaneous equipme
   B.SECTION II— Coverage Extensions — Paragraph E3, Covered     Property Away From the "Insured Location" —
                                                                            with the following:
     Paragraph 1, subparagraphs a, and b, are entirely deleted and replaced
                                                                                        l to the Operation of a Farm;
       a. One hundred (100) percent for Miscellaneous Equipment Usual or Incidenta
                                                                                 d and specifically covered in the
       b. One hundred (100) percent for Farm Machinery individually describe
                                                                          Farm; or
          Declarations that is Usual or Incidental to the Operatio n of a

        c.Ten (10) percent, for other types of property.




                                                                                  SEMENT WHEN ISSUED AFTER THE
    THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDOR
    POLICY IS WRITTEN.


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  ENDORSEMENT - BARNS, OUTBUILDINGS AND OTHER FARM
  STRUCTURES COVERAGE ENHANCEMENTS
  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
  This Endorsement modifies insurance provided under the following:
      FARM PROPERTY — BARNS, OUTBUILDINGS AND OTHER FARM STRUCTURES COVERAGE FORM
  A. SECTION II— Coverage Extensions — Coverage Extension A, Private Power and Light Poles is entirely
     deleted and replaced with the following:
   A. Private Power and Light Poles — We will pay up to $1,000 in any one occurrence as an additional amount
     of Insurance for direct physical loss of or damage to private power and light poles, outside wiring and
     attachments. Attachments include attached switch boxes,fuseboxes, and other electrical equipment
      mounted on poles you own at the "insured location". The $1,000 limit applies in excess of any applicable
     Deductible.
      If specific private power and light poles are shown in the Declarations, the Limit of Insurance shown for
      them will be in addition to the $1,000 Limit.
  B.SECTION III — Additional Coverages — Additional Coverage D, Removal of Fallen Trees is added:
   D. Removal of Fallen Trees:
      1. We will pay the reasonable expense you incur removing any fallen tree from the "insured location",
         provided, in falling, the tree damaged Covered Property under Coverage G and:
        a. The tree is located more than 250 feet from the damaged Covered Property; and
        b. The tree fell as the direct result of a Covered Cause of Loss.
      2. The most we will pay under this Additional Coverage is $1,000 In any one loss regardless of the number
         of fallen trees. No more than $500 of this limit will be available for the removal of any one tree.
      This Additional Coverage is additional insurance.




  THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
  POLICY IS WRITTEN.


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                                                                                                       FARM
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                     FARM LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.        c. Damages because of "bodily injury" include
Read the entire policy carefully to determine rights,          damages claimed by any person or organiza-
duties and what is and is not covered.                         tion for care, loss of services or death resulting
Throughout this policy the words "you" and "your"              at any time from the "bodily injury".
refer to the Named Insured shown in the Declara-            d. "Property damage" that is loss of use of tangi-
tions. The words "we", "us" and "our" refer to the              ble property that is not physically injured will
Company providing this insurance.                               be deemed to occur at the time of the
Other words and phrases that appear in quotation               "occurrence" that caused it.
marks have special meaning. Refer to Section IV —        2. Exclusions
Definitions.                                                This Insurance does not apply to:
                                                            a. Expected Or Intended injury
SECTION I — COVERAGES
                                                               "Bodily injury" or "property damage" expected
COVERAGE H BODILY INJURY AND PROPERTY                          or intended from the standpoint of the
DAMAGE LIABILITY                                               "insured". This exclusion does not apply to
1. Insuring Agreement                                         "bodily injury" resulting from the use of rea-
   a. We will pay those sums that the "Insured"                sonable force to protect persons or property.
      becomes legally obligated to pay as damages           b. Contractual Liability
      because of "bodily injury" or "property dam-             "Bodily injury" or "property damage" for which
      age" to which this insurance applies. We will            the "insured" is obligated to pay damages by
      have the right and duty to defend the "insured"          reason of the assumption of liability in a con-
      against any "suit" seeking those damages.                tract or agreement. This exclusion does not
      However, we will have no duty to defend the              apply to liability for damages:
      "insured" against any "suit" seeking damages
      for "bodily Injury" or "property damage" to            (1) That the "insured" would have in the ab-
      which this insurance does not apply. We may                  sence of the contract or agreement; or
      at our discretion investigate any "occurrence"         (2) Assumed In a contract or agreement that Is
      and settle any claim or "suit" that may result.              an "insured contract", provided the "bodily
      But:                                                         injury" or "property damage" occurs subse-
                                                                   quent to the execution of the contract or
     (1) The amount we will pay for damages is                     agreement. Solely for the purposes of li-
          limited as described in Section II — Limits
          Of Insurance; and                                        ability assumed in an "Insured contract",
                                                                   reasonable attorneys' fees and necessary
     (2) Our right and duty to defend end when we                  litigation expenses incurred by or for an
          have used up the applicable Limit of Insur-              "insured's" "indemnitee" shall be deemed to
          ance in the payment of judgments or set-                 be damages because of "bodily injury" or
          tlements under Coverage H or I or medical                "property damage", provided:
          expenses under Coverage J.
                                                                 (a) Liability to such "indemnitee" for, or for
      No other obligation or liability to pay sums or                  the cost of, that "indemnitee's" defense
      perform acts or services Is covered unless                        has also been assumed in the same
      explicitly provided for under the Additional                     "insured contract"; and
      Coverages.
                                                                 (b) Such attorneys' fees and litigation ex-
   b. This insurance applies to "bodily injury" and                    penses are for defense of that
      "property damage" only if:                                       "indemnitee" against a civil or alterna-
     (1) The "bodily injury" or "property damage" is                   tive dispute resolution proceeding in
         caused by an "occurrence"; and                                which damages to which this insurance
     (2) The "bodily Injury" or "property damage"                      applies are claimed.
         occurs during the policy period.




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   c. Pollution                                                         (b) Claim or suit by or on behalf of a gov-
    (1) "Bodily injury" and "property damage" aris-                            ernmental authority for damages be-
          ing out of the actual, alleged or threatened                         cause of testing for, monitoring, clean-
          discharge, dispersal, seepage, migration,                            ing up, removing, containing, treating,
          release or escape of pollutants:                                    detoxifying or neutralizing, or in any way
                                                                               responding to, or assessing the effects
        (a) At or from any premises, site or location                         of pollutants.
              which is or was at any time owned or
              occupied by, or rented or loaned to, any               Pollutants means any solid, liquid, gaseous or
             "insured";                                              thermal irritant or contaminant, including
                                                                     smoke, vapor, soot, fumes, acids, alkalis,
       (b) At or from any premises, site or location                 chemicals and waste. Waste includes materi-
              which is or was at any time used by or                 als to be recycled, reconditioned or reclaimed.
             for any "insured" or others for the han-
              dling, storage, disposal, processing or             d. Release Or Discharge From Aircraft
              treatment of waste;                                    "Bodily injury" or "property damage" caused by
       (c) Which are or were at any time trans-                      or resulting from any substance released or
              ported, handled, stored, treated, dis-                 discharged from an aircraft.
              posed of, or processed as waste by or                  This exclusion does not apply to model or
             for any "insured" or any person or or-                   hobby aircraft unless used or designed to carry
             ganization for whom you May be legally                  an operator(s), any other person(s) or cargo.
              responsible; or                                     e. Aircraft, Motor Vehicle, Motorized Bicycle
       (d) At or from any premises, site or location                 Or Tricycle
             on which any "insured" or any contrac-                  "Bodily injury" or "property damage" arising out
             tors or subcontractors working directly                 of:
             or indirectly on any "insured's" behalf
             are•performing operations:                             (1) Ownership of any aircraft, "motor vehicle",
                                                                          motorized bicycle or tricycle by any
            (i) If the pollutants are brought on or to                   "insured"; or
                 the premises, site or location in con-
                  nection with such operations by such             (2) Maintenance, use, operation or "loading or
                 "insured", contractor or subcontrac-                     unloading" of any aircraft, "motor vehicle",
                 tor, or                                                  motorized bicycle or tricycle by any
                                                                         "Insured" or any other person.
           (ii) If the operations are to test for,
                  monitor, clean up, remove, contain,                    This exclusion does not apply to:
                 treat, detoxify or neutralize, or in any              (a) An aircraft that causes "bodily injury" or
                 way respond to, or assess the effects                      "property damage" to a "residence em-
                 of pollutants.                                               ployee" who is not operating or main-
         Subparagraphs (a) and (d)(i) do not apply                           taining it;
         to "bodily injury" or "property damage"                       (b) Parking a "motor vehicle" or motorized
         arising out of heat, smoke or fumes from a                           bicycle or tricycle on, or on the ways
         hostile fire.                                                        next to, premises you own or rent, pro-
         As used in this exclusion, a hostile fire                            vided the "motor vehicle" is not owned
         means one which becomes uncontrollable                               by, or rented or loaned to you or the
         or breaks out from where it was intended to                        "insured";
         be.                                                           (c) A "motor vehicle" not subject to motor
    (2) Any loss, cost or expense arising out of                              vehicle registration by reason of its ex-
         any:                                                                clusive use as a device for assisting the
                                                                              handicapped.
       (a) Request, demand or order that any
            "insured" or others test for, monitor,                     (d)• A licensed recreational "motor vehicle"
             clean up, remove, contain, treat, detox-                        owned by an "insured", provided the
             ify or neutralize, or in any way respond                       "occurrence" takes place on the "insured
             to, or assess the effects of pollutants; or                      location";
                                                                       (e) "Bodily injury" or "property damage"
                                                                             arising out of the operation of any of the
                                                                             equipment listed in Paragraph f.(2) or
                                                                             f.(3) of the definition of "mobile equip-
                                                                             ment"(Section IV);




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   f. Watercraft                                                 (1) That take place on the "insured location"; or
      "Bodily injury" or "property damage" arising out           (2) Sustained by a "residence employee" in the
      of:                                                             course of employment by an "insured".
     (1) Ownership by any "insured" of an excluded            9.   Mobile  Equipment
          watercraft described below; or                          "Bodily injury" or "property damage" arising out
     (2) Maintenance, use, operation or "loading or               of:
          unloading", by any "insured" or any other             (1) The transportation of "mobile equipment"
          person, of an excluded watercraft described                  by a "motor vehicle" owned or operated by,
          below.                                                      or rented or loaned to, any "insured"; or
      Excluded watercraft are those that are princi-             (2) The use of any self-propelled land vehicle,
      pally designed to be propelled by engine power                  or "mobile equipment" in, or while in prac-
      or electric motor or are sailing vessels,                       tice or preparation for, a prearranged rac-
      whether owned by or rented to an "insured".                     ing, speed, strength or demolition contest
      This exclusion does not apply to watercraft:                    or in any stunting activity.
    (1) That are not sailing vessels and are pow-             h. Use Of Livestock Or Other Animals
          ered by:
                                                                  "Bodily injury" or "property damage" arising out
        (a) Inboard or inboard-outdrive engine or                 of:
               motor power of 50 horsepower or less
              not owned by an "insured";                        (1) The use of any livestock or other animal in,
                                                                      or while in practice or preparation for, a
        (b) Inboard or inboard-outdrive engine or                     prearranged racing, speed or strength
               motor power of more than 50 horse-                     contest, or prearranged stunting activity.
               power not owned by or rented to an                     But this Exclusion h.(1) applies only to
              "insured";                                              "occurrences", arising out of such contests
        (c) One or more outboard engines or mo-                       or activities, that take place at the site
              tors with 25 total horsepower or less;                  designated for the contest or activity; or
        (d) One or more outboard engines or mo-                 (2) The use of any livestock or other animal,
              tors with more than 25 total horsepower                 with or without an accessory vehicle, for
              if the outboard engine or motor is not                  providing rides to any person for a fee or
              owned by an "insured";                                  for providing rides in connection with or
        (e) Outboard engines or motors of more                        during a fair, charitable function or similar
              than 25 total horsepower owned by an                    type of event.
              "insured" if:                                    i. Business Pursuits
             (i) You acquire them prior to the policy             "Bodily injury" or "property damage" arising out
                  period; and                                     of or in connection with a "business" engaged
                   i. You declare them at policy in-              in by an "insured". This exclusion applies but is
                      ception; or                                 not limited to an act or omission, regardless of
                                                                  its nature or circumstance, involving a service
                  IL Your intention to insure is re-              or duty rendered, promised, owed, or implied
                      ported to us in writing within 45           to be provided because of the nature of the
                      days after you acquire the out-             "business".
                      board motors.
                                                                  This exclusion does not apply to an "insured"
            (ii) You acquire them during the policy                minor involved in self-employed "business"
                  period.                                         pursuits that are occasional or part-time and
              This coverage applies for the policy pe-            customarily undertaken on that basis by mi-
              riod.                                               nors.
    (2) That are sailing vessels, with or without                 A minor, as used in this exception, means a
          a uxiliary power:                                       person who has not attained his or her.
        (a) Less than 26 feet in overall length;                (1) 18th birthday; or
        (b) 26 feet or more in overall length, not              (2) 21st birthday if a full-time student.
              owned by or rented to an "insured".                 But in the event of "property damage" to which
    (3) That are stored.                                          this exception may apply, the person who
                                                                  sustains the "property damage" must be
      This exclusion does not apply to "occurrences"
                                                                  someone other than an "insured".
      of "bodily injury" or "property damage":




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                                                                      (e) The occasional occupancy of your prin-
    J. Custom Farming                                                      cipal residence by persons using the
      "Bodily injury" or "property damage" arising out                     residence exclusively as living quarters.
      of the "insured's" performance of, or failure to
       perform,"custom farming" operations.                   Exclusion 2.i. under Coverage H does not apply
                                                              with respect to the coverage provided in (a), (b),
      But this exclusion will apply only when your re-       (c),(d)or(e) above.
      ceipts from "custom farming" operations ex-
      ceed $5,000 for the 12 months Immediately              m. Communicable Disease
       preceding the date of the "occurrence".                    "Bodily injury" or "property damage" arising out
   k. Professional Services                                        of the transmission of a communicable disease
                                                                   by an "insured".
      "Bodily injury" or "property damage" arising out
      of the rendering of, or failure to render, pro-         n. Workers' Compensation Or Similar Law
      fessional services.                                          Any obligation of the 'Insured" under a work-
    I Rental Of Premises And Ownership Or
    .                                                              ers' compensation, disability benefits or un-
      Control Of Premises                                          employment compensation law or any similar
                                                                   law.
      "Bodily injury" or "property damage" arising out
      of:                                                    o. Employers' Liability
     (1) An act or omission in connection with any                "Bodily injury" sustained by:
           location (other than an "insured location")           (1) Any employee (other than a "residence
          that is rented to, or owned or controlled by,                employee") as a result of his or her em-
          the "insured".                                               ployment by the "insured";
          The only exceptions to this exclusion are in           (2) Any "residence employee", unless the
          "occurrences" of "bodily injury" or "property                employee makes a written claim or brings
          damage" sustained by a "residence em-                       "suit" no later than 36 months after the end
           ployee" arising out of and in the course of                 of the policy period; or
          employment by the "insured".                           (3) The spouse, child, parent, brother or sister
     (2) The rental or holding for rental of an                        of any employee as a consequence of
          "insured location".                                         "bodily injury" to that employee.
          This exclusion does not apply to:                       This exclusion applies whether the "insured"
        (a) The rental of a farm premises shown in                 may be held liable as an employer or in any
               the Declarations, provided the premises             other capacity and to any obligation to share
               is rented for "farming" purposes and the            damages with or repay someone else who
               rental commences during the present                 must pay damages because of the injury.
               annual policy period.                              The only exceptions to this exclusion are in
        (b) The rental of a farm premises acquired                "occurrences" of "bodily injury" for which the
               during the present annual policy period,           "insured" has assumed liability under an
               provided the rental is for "farming" pur-          "insured contract".
               poses.                                        p. Building Or Structure Under Construction
        (c) The rental of a residence for residential             "Bodily injury" arising out of any premises on
               purposes, provided:                                which a building or structure is being con-
              (i) The residence is located on a farm              structed.
                   premises used for "farming" pur-               The only exception to this exclusion is in an
                   poses; and                                     "occurrence" of "bodily injury" sustained by:
             (ii) Such farm premises is shown in the             (1) Persons who are not "insureds"; or
                   Declarations or acquired during the           (2) "Residence employees" of an "insured"
                   present annual policy period; and           •      arising out of or in the course of their em-
            (lig The rental commences during the                       ployment.
                   present annual policy period.                  But this exception requires that:
        (d) The occupancy of a part of your princi-              (1) In the case of a building that will be used as
               pal residence as:                                      a dwelling:
             (i) Living quarters, by no more than two                (a) It is located on an "insured location";
                   roomers or boarders; or                                 and
             (ii) An office, school, studio or private              (b) It is intended for occupancy by an
                   garage.                                                "insured", or by an "Insured'" "farm
                                                                          employees" or "residence employees";


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      (2) In the case of buildings or structures that            (2) A delay or failure by you or anyone acting
           will be used in "farming" operations, they                 on your behalf to perform a contract or
           are located on an "insured location" and                   agreement in accordance with its terms.
           intended for the use of an "insured".                  But with respect to "custom farming", Exclu-
   q. Bodily Injury To An Insured                                 sion u. will apply only when your receipts from
       "Bodily injury" to you or to any "insured" within          "custom farming" operations exceed $5,000 for
        the meaning of "insured" as defined in Para-              the 12 months immediately preceding the date
        graph 9. in Section IV — Definitions.                     of the "occurrence".
        This exclusion also applies to any claim made             This exclusion does not apply to the loss of
       or "suit" brought against you or any "Insured":            use of other property arising out of sudden and
                                                                  accidental physical injury to "your product" af-
      (1) To repay; or                                            ter It has been put to Its intended use.
      (2) Share damages with;                                 v. Recall Of Products, Work Or Impaired
        another person who may be obligated to pay                Property
        damages because of such "bodily injury".                  Damages claimed for any loss, cost or ex-
    r. Damage To Property                                         pense incurred by you or others for the loss of
                                                                  use, withdrawal, recall, inspection, repair, re-
       "Property damage" to:
                                                                  placement, adjustment, removal or disposal of:
      (1) Property you own;
                                                                (1) "Your product";
      (2) Property you rent or occupy;
                                                                (2) "Your work"; or
      (3) Premises you sell, give away or abandon, if           (3) "Impaired property";
           the "property damage" arises out of any
           part of those premises;                                if such product, work or property is withdrawn
                                                                  or recalled from the market or from use, by
      (4) Property loaned to you;                                 any person or organization, because of a
      (5) Personal property in the care, custody or               known or suspected defect, deficiency, inade-
           control of the "insured".                              quacy or dangerous condition in it.
   s. Damage To Your Product                                  w. Sexual Molestation, Corporal Punishment
       "Property damage" to "your product" arising                Or Physical Or Mental Abuse
       out of it or any part of it.                              "Bodily injury" or "property damage" arising out
    t. Damage To Your Work                                        of sexual molestation, corporal punishment or
                                                                  physical or mental abuse; or
       "Property damage" to:
                                                              x. Controlled Substances
      (1) "Your work", arising out of it or any part of
           it; or                                                "Bodily injury" or "property damage" arising out
                                                                  of the use, sale, manufacture, delivery, trans-
      (2) That particular part of any property that               fer or possession by any person of a Controlled
           must be restored, repaired or replaced be-             Substance(s) as defined by the Federal Food
           cause "your work" was incorrectly per-                 and Drug Law at 21 1.).S.C.A. Sections 811 and
           formed on it.                                          812. Controlled Substances include but are not
       But with respect to "custom farming", Exclu-               limited to cocaine, LSD, marijuana and all nar-
       sion I will apply only when your receipts from             cotic drugs. However, this exclusion does not
       "custom farming" operations exceed $5,000 for              apply to the legitimate use of prescription
       the 12 months immediately preceding the date               drugs by a person following the orders of a li-
       of the "occurrence".                                       censed physician.
   u. Damage To Impaired Property Or Property                 Exclusions c. through V. do not apply to damage
        Not Physically Injured                                by fire to premises while rented to you or tempo-
       "Property damage" to "impaired property" or            rarily occupied by you with permission of the
       property that has not been physically injured,         owner. A separate Limit of Insurance applies to
       arising out of:                                        this coverage as described in Section II — Limits
                                                              Of Insurance.
      (1) A defect, deficiency, inadequacy or dan-
           gerous condition in "your product" or "your
           work"; or




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COVERAGE I — PERSONAL AND ADVERTISING                            (3) Arising out of the willful violation of a penal
 INJURY LIABILITY                                                     statute or ordinance committed by, or with
 1. Insuring Agreement                                                the consent of, the "insured";
                                                                (4) For which the "insured" has assumed liabil-
    a. We will pay those sums that the "insured"
        becomes legally obligated to pay as damages                   ity in a contract or agreement. This exclu-
        because of "personal injury" or "advertising                  sion does not apply to liability for damages
        Injury" to which this insurance applies. We will              that the "insured" would have in the ab-
        have the right and duty to defend the "insured"               sence of the contract or agreement; or
       against any "suit" seeking those damages.                (5) Arising out of the actual, alleged or threat-
        However, we will have no duty to defend the                   ened discharge, dispersal, seepage, migra-
       "insured" against any "suit" seeking damages                   tion, release or escape of pollutants at any
       for "personal injury" or "advertising Injury" to               time.
        which this insurance does not apply. We may           b. "Personal injury":
       at our discretion investigate any "occurrence"
       or offense and settle any claim or "suit" that           (1) Arising out of the "business" pursuits of the
        may result. But:                                              "insured";
      (1) The amount we will pay for damages is                 (2) Arising out of civic or public activities per-
            limited as described in Section 11 — Limits               formed for pay by the "insured".
            Of Insurance; and                                 c. "Advertising injury" arising out of:
      (2) Our right and duty to defend end when we              (1) Breach of contract, other than misappro-
            have used up the applicable Limit of Insur-               priation of advertising ideas under an im-
            ance in the payment of judgments or set-                  plied contract;
            tlements under Coverages H or 1 or medi-           (2) The failure of goods, products or services
            cal expenses under Coverage J.                            to conform with advertised quality or per-
       No other obligation or liability to pay sums or                formance;
       perform acts or services is covered unless               (3) The wrong quotation or description of the
       explicitly provided for under the Additional                   price of goods, products or services; or
       Coverages.
                                                                (4) An offense committed by an "insured"
    b. This insurance applies to "personal injury" only               whose "business" is advertising, broadcast-
       if caused by an offense:                                       ing, publishing or telecasting.
     (1) Committed during the policy period; and              d. Any loss, cost or expense arising out of any:
     (2) Arising out of personal activities or out of
            operations usual or incidental to "farming",        (1) Request, demand or order that any
                                                                     "insured" or others test for, monitor, clean
            excluding advertising, publishing, broad-                 up, remove, contain, treat, detoxify or neu-
            casting or telecasting done by or for you.                tralize, or in any way respond to, or assess
    c. This Insurance applies to "advertising injury"                 the effects of pollutants; or
       only if caused by an offense committed:                  (2) Claim or suit by or on behalf of a govern-
      (1) In the "coverage territory" during the policy               mental authority for damages because of
            period; and                                               testing for, monitoring, cleaning up, remov-
      (2) In the course of advertising your farm-                     ing, containing, treating, detoxifying or
            related goods, products or services.                      neutralizing, or in any way responding to, or
                                                                      assessing the effects of pollutants.
2. Exclusions
                                                                  Pollutants means any solid, liquid, gaseous or
    This insurance does not apply to:                             thermal irritant or contaminant, including
    a. "Personal injury" or "advertising injury":                 smoke, vapor, soot, fumes, acids, alkalis,
     (1) Arising out of oral or written publication of            chemicals and waste. Waste includes materi-
            material, if done by or at the direction of           als to be recycled, reconditioned or reclaimed.
            the "insured" with knowledge of its falsity;
      (2) Arising out of oral or written publication of
            material whose first publication took place
            before the beginning ofthe policy period;




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COVERAGE J — MEDICAL PAYMENTS                                  b. Any person injured due to an act or omission in
1. Insuring Agreement                                              connection with any location (other than an
                                                                  "insured location") that is owned, rented or
   a. We will pay reasonable medical expenses                      controlled by the "insured".
      Incurred or medically ascertained within 3
                                                                   The only exceptions to this exclusion are in
      years from the date of an accident causing
                                                                  "occurrences" of "bodily injury" sustained by a
      "bodily injury".
                                                                  "residence employee" arising out of and in the
      We will make these payments regardless of                    course of employment by the "insured".
      fault.
                                                               c. Any "farm employee" or other person engaged
      Reasonable medical expenses means ex-                        in work usual or incidental to the maintenance
      penses incurred or ascertained for:                          or use of the "insured location" as a farm.
     (1) First aid administered at the time of an                  The only exceptions to this exclusion are in
          accident;                                               "occurrences" of "bodily injury" sustained by a
     (2) Necessary medical, surgical, x-ray and                   "residence employee" or by a person on the
          dental services, including prosthetic de-               "insured location" in a neighborly exchange of
          vices; and                                               assistance for which the "insured" is not obli-
                                                                   gated to pay any money.
     (3)  Necessary       ambulance, hospital, profes-
          sional nursing and funeral services.                 d. Any person eligible to receive any benefits that
                                                                   an "insured" voluntarily provides or is required
   b. This coverage applies only:                                  to provide under any workers' compensation,
     (1) To a person (other than an "insured") who                 non-occupational disability or occupational
          is on the "insured location" with the per-               disease law.
          mission of an "insured", or                          e. Any person regularly residing on any part of
     (2) To a person (other than an "insured") off                 the "insured location" or who is a resident
          the "insured location", provided the "bodily             member of your household.
          injury":                                                 The only exceptions to this exclusion are in
        (a) Arises out of a condition on the "insured             "occurrences" of "bodily injury" to a "residence
              location" or the ways immediately ad-                employee".
              joining it;                                       f. Any person, if the "bodily injury" is excluded
        (b) Is caused by the activities of an                       under Coverage H; or
             "insured" or by a "farm employee" in the              Any   person injured due to war, whether or not
              course of employment by an "insured";            g.
                                                                   declared, or due to any act or condition inci-
        (c) Is caused or sustained by a "residence                 dent to war. War includes civil war, insurrec-
              employee" in the course of employment                tion, rebellion and revolution. •
              by an "insured"; or                           ADDITIONAL COVERAGES
        (d) Is caused by an animal owned by or in           1. Supplementary Payments — Coverages H And I
              the care of an "insured".
                                                               We will pay, with respect to any claim we investi-
2. Exclusions                                                  gate or settle, or any "suit" against an "insured" we
   We will not pay expenses for "bodily injury" to:            defend:
   a. Any person injured while on the "insured loca-           a. All expenses we incur.
      tion" by reason of:                                      b. Up to $250 for cost of bail bonds required
     (1) Professional services being rendered there;                because of accidents or traffic law violations
          or                                                       arising out of the use of any vehicle to which
     (2) "Business" being engaged in there. This                   Coverage H applies. We do not have to furnish
          Exclusion, a.(2), applies but is not limited to          these bonds.
          an act or omission, regardless of its nature         c. The cost of bonds to release attachments, but
          or circumstance, involving a service or duty             only for bond amounts within the applicable
          rendered, promised, owed, or implied to be               Limit of Insurance. We do not have to furnish
          provided because of the nature of the                    these bonds.
         "business".                                           d. All reasonable expenses incurred by the
      The only exceptions to a.(1) and (2) are in                  "insured" at our request to assist us in the in-
      "occurrences" of "bodily injury" to a "residence              vestigation or defense of the claim or "suit",
      employee".                                                    including actual loss of earnings up to $250 a
                                                                    day because of time off from work.




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    e. All costs taxed against the "insured" in the               (2) Provides us with written authorization to:
       "suit".                                                       (a) Obtain records and other information
    f. Prejudgment interest awarded against the                             related to the "suit"; and
       "insured" on that part of the judgment we pay.                (b) Conduct and control the defense of the
        If we make an offer to pay the applicable Limit                    "indemnitee" in such "suit".
        of Insurance, we will not pay any prejudgment
        interest based on that period of time after the        So long as the above conditions are met, attor-
        offer.                                                  neys' fees incurred by us in the defense of that
                                                               "indemnitee", necessary litigation expenses in-
  g. All Interest on the full amount of any judgment           curred by us and necessary litigation expenses in-
       that accrues after entry of the judgment and            curred by the "indemnitee" at our request will be
        before we have paid, offered to pay, or depos-         paid as Supplementary Payments. Notwithstand-
        ited in court the part of the judgment that is         ing the provisions of Paragraph b.2. of the Con-
        within the applicable Limit of Insurance.              tractual Liability Exclusion (Exclusion 2.) under
  These payments will not reduce the Limits of In-             Coverage H — Bodily Injury and Property Damage
  surance.                                                     Liability, such payments will not be deemed to be
   If we defend an "insured" against a "suit" and an           damages for "bodily injury" and "property damage"
  "indemnitee" of the "Insured" is also named as a             and will not reduce the limits of insurance.
  party to the "suit", we will defend that "indemnitee"        Our obligation to defend an "insured's"
   provided all of the following conditions are met:          "indemnitee" and to pay for attorneys' fees and
  a. The "suit" against the "indemnitee" seeks                 necessary litigation expenses as Supplementary
       damages for which the "insured" has assumed             Payments ends when:
       the liability of the "indemnitee" in a contract or      a. We have used up the applicable limit of insur-
       agreement that is an "insured contract";                    ance in the payment of judgments or settle-
  b. This insurance applies to such liability as-                  ments; or
       sumed by the "insured";                                 b. The conditions set forth above, or the terms of
  c. The obligation to defend, or the cost of the                  the agreement described in Paragraph f.
       defense of, that "indemnitee", has also been                above, are no longer met.
       assumed by the "insured" in the same "insured        2. Damage To Property Of Others
       contract";                                              a. We will pay up to $500 per "occurrence" for
  d. The allegations in the "suit" and the informa-               "property. damage" to property of others
       tion we know about the "occurrence" are such                caused by an "insured".
       that no conflict appears to exist between the               At our option, we will either:
       Interests of the "insured" and the interests of
      the "indemnitee";                                          (1) Pay the actual cash value of the property;
                                                                       or
  e. The "indemnitee" and the "insured" ask us to
      conduct and control the defense of that                    (2) Repair or replace the property with other
      "indemnitee" against such "suit" and agree that                  property of like kind and quality.
       we can assign the same counsel to defend the            b. But we will not pay for "property damage":
      "insured" and the "indemnitee"; and
                                                                 (1) Caused intentionally by an "insured" who is
  f. The "indemnitee":                                                 13 years of age or older;
     (1) Agrees in writing to:                                   (2) To property owned by or rented to an
          (a) Cooperate .with us in the investigation,                "insured", a tenant of an "insured", or a
               settlement or defense of the "suit";                    member of your household; or
          (b) Immediately send us copies of any                  (3) Arising out of:
               demands, notices, summonses or legal                  (a) Professional services, or a "business"
               papers received in connection with the                      engaged in by an "insured";
               "suit";
                                                                    (b) An act or omission in connection with
          (c) Notify any other insurer whose coverage                      any premises (other than an "Insured lo-
               is available to the "indemnitee"; and                       cation") that are owned, rented or con-
         (d) Cooperate with us with respect to coor-                       trolled by the "insured"; or
               dinating other applicable insurance
               available to the "indemnitee"; and




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     (c) The ownership, maintenance, operation,            6. Subject to 3. above, the Medical Expense Limit is
         use, or "loading or unloading" of any                 the most we will pay under Coverage J for all
         "motor vehicle", motorized bicycle or                 medical expenses because of "bodily injury" sus-
         tricycle, farm machinery or equipment,                tained by any one person.
         aircraft or watercraft.                           The limits for this Coverage Form apply separately to
COVERAGE EXTENSION — COVERAGES H, I AND                    each consecutive annual period and to any remaining
                                                           period of less than 12 months, starting with the be-
The words "you" and "your", throughout this Coverage       ginning of the policy period shown in the Declara-
Form, include your spouse if a resident of the same        tions, unless the policy period is extended after issu-
household.                                                 ance for an additional period of less than 12 months.
                                                           In that case, the additional period will be deemed part
                                                           of the last preceding period for purposes of determin-
SECTION II— LIMITS OF INSURANCE                            ing the Limits of Insurance.
1. The Limits of Insurance shown in the Declarations
   and the provisions below fix the most we will pay       SECTION III — FARM LIABILITY CONDITIONS
    regardless of the number of:
                                                           The following conditions apply in addition to the
   a. "Insureds";                                          Common Policy Conditions:
    b. Claims made or "suits" brought; or                  LOSS CONDITIONS
    c. Persons or organizations making claims or           1. Bankruptcy
       bringing "suits".
                                                              Bankruptcy or insolvency of the "insured" or of the
2. The General Aggregate Limit is the most we will           "insured's" estate will not relieve us of our obliga-
   pay for the sum of:                                        tions under this Coverage Form.
   a. Damages under Coverage H and Coverage I;             2. Duties In The Event Of Occurrence, Offense,
       and                                                    Claim Or Suit
   b. Medical expenses under Coverage J.                      a. You must see to it that we are notified as soon
3. Subject  to 2. above, the Each Occurrence Limit is            as practicable of an "occurrence" or an offense
   the most we will pay for the sum of:                          which may result in a claim. To the extent
                                                                 possible, notice should include:
   a. Damages under Coverage H and
                                                               (1) Now, when and where the "occurrence" or
   b. Medical expenses under Coverage J
                                                                     offense took place;
   because of all "bodily injury" and "property dam-            (2) The names and addresses of any injured
   age" arising out of any one "occurrence".                         persons and witnesses; and
   All "bodily injury' and "property damage" resulting
                                                                (3) The nature and location of any injury or
   from any one accident or from continuous or re-
                                                                     damage arising out of the "occurrence" or
   peated exposure to substantially the same general
                                                                     offense.
   harmful conditions will be considered to be the re-
   sult of one "occurrence".                                  b. If a claim is made or "suit" is brought against
                                                                 any "insured", you must:
   Included within the Each Occurrence Limit is a
   special Limit of Insurance of $10,000, which is the          (1) Immediately record the specifics of the
   most we will pay for all covered damages that the                 claim or "suit" and the date received; and
   "insured" becomes legally obligated to pay be-               (2) Notify us as soon as practicable.
   cause of statutorily imposed vicarious liability for
   the actions of a child or minor. However, we will             You must see to it that we receive written no-
   not pay for those damages excluded by means of                tice of the claim or "suit" as soon as practica-
   2.e. or 2.f. of Section I — Coverage H, Exclusions.           ble.
4. Subject to the first paragraph in Paragraph 3.,            c. You and any other "insured" Involved must:
   above, the Fire Damage Limit is the most we will             (1) Notify the police if a law may have been
   pay under Coverage H for damages because of                       broken;
   "property damage" to premises, while rented to               (2) Immediately send us copies of any de-
   you or temporarily occupied by you with permis-                   mands, notices, summonses or legal pa-
   sion of the owner, arising out of any one fire.                   pers received in connection with the claim
5. Subject to 2. above, the Personal and Advertising                 or "suit";
   Injury Limit is the most we will pay under Cover-            (3) Authorize us to obtain records and other
   age I for the sum of all damages because of all                   Information;
   "personal injury" and all "advertising injury" sus-
   tained by any one person or organization.


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      (4) Cooperate with us in the investigation or        5. No Admission Of Liability With Medical
            settlement of the claim or defense against         Payments
            the "suit"; and                                    No payment we make under the provisions of
      (5) At our request, assist us in the enforcement         Coverage J constitutes an admission of liability by
            of any right against any person or organi-         any "insured" or us.
            zation that may be liable to the "insured"    6. Other Insurance
            because of injury or damage to which this
            insurance may also apply.                          This condition applies only if, in addition to the in-
                                                               surance provided under this Coverage Form, the
   d. No "insured" will, except at that "insured's" own      "insured" has other insurance under this or any
        cost, voluntarily make any payment, assume             other policy covering the same obligations to pay
        any obligation, or incur any expense, other           damages and provide defense against "suits" for
        than for first aid, without our consent.              damages.
   e. Any injured person who makes a claim for                 a. We will .pay only the proportion of covered
        payment of medical expenses under the pro-                damages and related defense costs that the
        visions of Coverage J must:                               applicable Limit of Insurance under this Cov-
      (1) Give us written proof of claim, under oath if           erage Form bears to the total amount of all
            required, as soon as practicable;                      your insurance providing the same coverage,
      (2) Execute authorization to allow us to obtain             in covered "occurrences" arising from any
            copies of medical reports and records; and            cause except the ownership, maintenance,
                                                                   use, operation or loading or unloading" of a:
      (3) Submit to physical examination by a phy-
            sician selected by us when and as often as           (1) "Motor vehicle";
            we reasonably require.                               (2) Vehicle which qualifies as "mobile equip-
       Requirements (1) and (2) above may be car-                      ment" only while used on premises you own
       ried out by a person acting on behalf of the in-               or rent; or
       jured person.                                             (3) Watercraft.
    f. If loss occurs under Additional Coverage 2. —          b. In covered "occurrences" arising from the
       Damage To Property Of Others, you must                     ownership, maintenance, use, operation or
       submit to us within 60 days after the loss, a              "loading or unloading" of a conveyance de-
       signed, sworn proof of loss, and exhibit the               scribed in (1),(2) or (3) above, this insurance
       damaged property, if within your control.                  will not apply to the extent that any collectible
3. Insurance Under Two Or More Coverages                          insurance, whether primary, excess or contin-
                                                                  gent, is available to the "insured".
   If two or more of this policy's coverages apply to
   the same loss or damage, we will not pay more          7. Transfer Of Rights Of Recovery Against
   than the actual amount of the loss or damage.              Others To Us
4. Legal Action Against Us                                    If the "insured" has rights to recover all or part of
                                                             any payment we have made under this Coverage
   No person or organization has a right under this           Form, those rights are transferred to us. The
   Coverage Form:                                            "insured" must do nothing after loss to impair
   a. To join us as a party or otherwise bring us into        them. At our request, the "insured" will bring "suit"
       a "suit" asking for damages from an "insured";        or transfer those rights to us and help us enforce
       or                                                     them.
   b. To sue us on this Coverage Form unless all of       ADDITIONAL CONDITIONS
       its terms have been fully complied with.           1. Liberalization
   A  person    or organization may sue us to recover         If we adopt any revision that would broaden the
   on an agreed settlement or on a final judgment            coverage under this Coverage Form without addi-
   against an "insured" obtained after an actual trial;      tional premium within 45 days prior to or during
   but we will not be liable for damages that are not        the policy period, the broadened coverage will
   payable under the terms of this Coverage Form or          immediately apply to this Coverage Form.
   that are in excess of the applicable Limit of Insur-
   ance.. An agreed settlement means a settlement         2. Representations
   and release of liability signed by us, the "insured"      By accepting this policy, you agree:
   and the claimant or the claimant's legal represen-        a. The statements in the Declarations are accu-
   tative.                                                        rate and complete;




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     b. Those statements are based upon representa-         6. "Farming" means the operation of an agricultural
         tions you made to us; and                             or aquacultural enterprise, and includes the op-
    c. We have issued this policy in reliance upon             eration of roadside stands, on your farm premises,
         your representations.                                 maintained solely for the sale of farm products
                                                               produced principally by you. Unless specifically
3. Separation Of Insureds                                      indicated in the Declarations, "farming" does not
    Except with respect to the Limits of Insurance,            include:
    and any rights or duties specifically assigned in          a. Retail activity other than that described above;
    this Coverage Form to the first Named Insured,                 Or
    this insurance applies:
                                                                b. Mechanized processing operations.
    a. As if each Named Insured were the only
         Named Insured; and                                 7. "Impaired property" means tangible property,
                                                               other than "your product" or "your work", that can-
    b. Separately to each "insured" against whom               not be used or is less useful because:
         claim is made or "suit" is brought.
                                                               a. It incorporates "your product" or -9your work"
SECTION IV — DEFINITIONS                                           that is known or thought to be defective, defi-
1. "Advertising injury" means an injury arising out of             cient, inadequate or dangerous; or
   one or more of the following offenses:                      b. You have failed to fulfill the terms of.a contract
    a. Oral or written publication of material that                or agreement;
        slanders or libels a person or organization or         if such property can be restored to use by:
        disparages a person's or organization's goods,
         products or services;                                 a. The repair, replacement, adjustment or re-
                                                                    moval of "your product" or "your work"; or
    b. Oral or written publication of material that
        violates a person's right of privacy;                  b. Your fulfilling the terms of the contract or
                                                                   agreement
    c. Misappropriation of advertising ideas or style
        of doing business; or                               8. "Indemnitee" means a person whose liability for
                                                               payment of damages because of "bodily injury" or
   d. Infringement of copyright, title or slogan.              "property damage" covered under this Coverage
2. "Bodily injury" means bodily injury, sickness or            Form has been assumed by an "insured" under an
   disease sustained by a person, and includes death           "insured contract".
    resulting from any of these at any time.                9. "Insured"
3. "Business" means a trade, profession, occupation,           a. "Insured" means you, and if you are:
   enterprise or activity, other than "farming" or
   "custom farming", which is engaged in for the pur-             (1) An individual, "insured" also means the
    pose of monetary or other compensation.                           following members of your household:
4. "Custom farming" means performance of specific                    (a) Your relatives;
    planting, cultivating, harvesting or similar specific            (b) Any other person under the age of 21
   "farming—operations by an "insured", at a farm                          who is in the care of any person speci-
   that is not an "insured location", when the per-                       fied above.
   formance is for, and under the direction or super-             (2) A partnership or joint venture, "insured"
   vision of, the owner or operator of the farm or the                 also means your members and your part-
   authorized representative of the owner or opera-                    ners and their spouses, but only with re-
   tor.                                                               spect to the conduct of your "farming" op-
   But "custom farming" does not mean:                                 erations.
   a. Operations conducted at a premises rented to,               (3) A limited liability company, "insured" also
        leased to or controlled by an "insured";                       means:
   b. Operations for which no compensation in                        (a) Your members, but only with respect to
        money or goods Is received; or                                     the conduct of your "farming" opera-
   c. A neighborly exchange of services.                                   tions; and
5. "Farm employee" means any "insured's" em-                         (b) Your managers, but only with respect to
   ployee whose duties are principally in connection                       their duties as your managers.
   with the maintenance or use of the "insured loca-              (4) An organization other than a partnership,
   tion" as a farm. These duties include the mainte-                  joint venture, or limited liability company,
   nance or use of the "insured's"farm equipment.                     "insured" also means:
   But "farm employee" does not mean any em-                         (a) Your executive officers and directors,
   ployee while engaged in an "insured's""business".                       but only with respect to their duties as
                                                                           your officers and directors; and


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          (b) Your stockholders, but only with respect          c. Any easement or license agreement, except in
               to their liability as stockholders.                  connection with construction or demolition op-
        No person or organization is an "insured" with              erations on or within 50 feet of a railroad;
        respect to the conduct of any current or past           d. An obligation, as required by ordinance, to
        partnership, joint venture or limited liability              indemnify a municipality, except in connection
        company that is not shown as a Named In-                     with work for a municipality;
        sured in the Declarations.                             e. That part of any other contract or agreement
    b. "Insured" also means any of your employees                    pertaining to your "farming" operations
        other than either your executive officers (if you          (including an indemnification of a municipality
        are an organization other than a partnership,                in connection with work performed for a mu-
       joint venture or limited liability company) or                nicipality) under which you assume the tort li-
        your managers (if you are a limited liability               ability of another to pay for "bodily injury" or
       company), but only for acts that:                           "property damage" to a third person or organi-
     (1) Cause "bodily injury" or "personal injury" to             zation. Tort liability means a liability that would
           someone other than you, your partners or                 be Imposed by law in the absence of any con-
           members (if you are a partnership or joint               tract or agreement.
           venture), your members (if you are a lim-               Paragraph e. does not include that part of any
           ited liability company) or a co-employee;               contract or agreement that indemnifies a rail-
           and                                                      road for "bodily injury" or "property damage"
     (2) Are within the scope of the employee's                     arising out of construction or demolition opera-
           employment by you. The providing of pro-                 tions, within 50 feet of any railroad property
           fessional health care services or the failure           and affecting any railroad bridge or trestle,
           to provide them will not be considered to be             tracks, roadbeds, tunnel, underpass or cross-
           within the scope of any employee's em-                  ing.
           ployment by you.                                 11."Insured location" means:
   c. "Insured" also means any person (other than              a. The farm premises (including grounds and
       your employee), or any organization while                    private approaches) and "residence premises"
       acting as your real estate manager.                         shown in the Declarations;
   d. "Insured" also means any person or organiza-             b. The part of other premises, or of other struc-
       tion:                                                       tures and grounds, that is used by you as'a
     (1) Legally responsible for animals or water-                  residence and:
           craft owned by an "insured" as defined in a.           (1) Shown in the Declarations; or
           above, but only insofar as:                            (2) Acquired by you during the present annual
          (a) The insurance under this Coverage                          policy period for your use as a residence;
               Form applies to "occurrences" involving         c. Premises used by you in conjunction with the
               animals or watercraft;                               premises included in a. or b. above;
         (b) That person's or organization's custody           d. Any part of premises not owned by any
               or use of the animals or watercraft does            "insured" but where an "insured" is temporarily
               not involve "business"; and                         residing;
          (c) That person or organization has the              e. Vacant land owned by or rented to an
               custody or use of the animals or water-             "insured";
               craft with the owner's permission.
                                                                f. Land, owned by or rented to an "insured", on
   e. "Insured" also means any person using a ve-                  w hich:
       hicle on the "Insured location" with your con-
       sent, provided this insurance applies to the               (1) A dwelling Is being constructed for occu-
       vehicle.                                                          pancy by an "insured", or by an "insured's"
                                                                        "farm employees" or "residence employ-
10."Insured contract" means:                                            ees"; or
   a. A contract for a lease of premises. However,               (2) A building or structure is being constructed
       that portion of the contract for a lease of                      for use of an "insured" in "farming" opera-
       premises that indemnifies any person or or-                      tions.
       ganization for damage by fire to premises
       while rented to you or temporarily occupied by          g. Individual or family cemetery plots or burial
       you with permission of the owner is not an                  vaults of an "insured";
      "insured contract";                                      h. Any part of premises occasionally rented to
   b. A sidetrack agreement;                                       any "insured" for other than "business" pur-
                                                                   poses; and


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    .
    I Any farm premises (including its grounds and             f. Vehicles not described in a., b., c. or d. above
        private approaches) that you or your spouse               that are maintained primarily for purposes
       acquire during the present annual policy pe-               other than the transportation of persons or
       riod.                                                      cargo.
12."Loading or unloading" means the handling of                   However, self-propelled vehicles with the fol-
   property:                                                      lowing types of permanently attached equip-
   a. After it is moved from the place where it is                ment are not "mobile equipment" but will be
       accepted for movement into or onto an air-                 considered "motor vehicles":
       craft, watercraft or "motor vehicle";                    (1) Equipment designed primarily for:
   b. While it is in or on an aircraft, watercraft or               (a) Road maintenance, but not construction
      "motor vehicle"; or                                                 or resurfacing; or
   c. While it is being moved from an aircraft, wa-                 (b) Street cleaning;
       tercraft or "motor vehicle" to the place where it        (2) Cherry pickers and similar devices
       is finally delivered.                                          mounted on automobile or truck chassis
   But "loading or unloading" does not include the                    and used to raise or lower workers; and
   movement of property by means of a mechanical                (3) Air compressors, pumps and generators,
   device, other than a hand truck, that is not at-                   including spraying, welding, building
   tached to the aircraft, watercraft or "motor vehi-                cleaning, geophysical exploration, lighting
   cle".                                                              and well servicing equipment.
13."Mobile equipment" means the following, including       14."Motor Vehicle"
   any attached machinery or equipment:
                                                              a. As used in this Coverage Form, the term
   a. Bulldozers, forklifts and tractors designed for            "motor vehicle" means:
       use principally off public roads;
                                                                (1) A motorized land vehicle, trailer or semi-
       Other farm machinery designed for use:                        trailer:
     (1) Principally off public roads; and                          (a) Designed for travel on public roads; or
     (2) As implements for cultivating or harvesting;               (b) Used on public roads;
   b. Vehicles while on premises you own or rent;                     unless it qualifies as "mobile equipment";
   c. Vehicles that travel on crawler treads, except            (2) Any machinery or equipment attached to a
      that snowmobiles are "mobile equipment" only                   vehicle, trailer or semitrailer included in (1)
      while on an "insured location" or any premises                 above;
       you own or rent.
                                                                (3) A motorized golf cart, snowmobile or other
   d. Vehicles, whether self-propelled or not, on                     motorized land vehicle owned by an
      which are permanently mounted:                                 "insured" and designed for recreational use
     (1) Power cranes, shovels, loaders, diggers or                  off public roads, while off an "insured loca-
           drills; or                                                tion"; or
     (2) Road construction or resurfacing equipment             (4) Any vehicle, including any attached ma-
 •         such as graders, scrapers or rollers;                     chinery or equipment, while being towed by
   e. Vehicles not described in a., b., c. or d. above               or carried on a vehicle included in (1), (2)
      that are not self-propelled and are maintained                 or(3) above.
      primarily to provide mobility to permanently            b. But "motor vehicle" does not mean:
      attached equipment of the following types:                (1) "Mobile equipment";
     (1) Air compressors, pumps and generators,                 (2) A boat, camp trailer, home trailer or utility
           including spraying, welding, building                     trailer unless it is being towed by or carried
           cleaning, geophysical exploration, lighting               on a motorized land vehicle included in
           and well servicing equipment; or                          a.(1) above; or
     (2) Cherry pickers and similar devices used to             (3) A motorized golf cart while used for golfing
           raise or lower workers;                                   purposes.




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 15."Occurrence" means an accident, including con-               20."Suit" means a civil proceeding in which damages
     tinuous or repeated exposure to substantially the               because of "bodily injury", "property damage",
     same general harmful conditions.                               "personal injury" or "advertising injury" to which
 16."Personal injury" means injury, other than "bodily               this insurance applies are alleged. "Suit" includes:
     injury", arising out of one or more of the following            a. An arbitration proceeding in which such dam-
     offenses:                                                           ages are claimed and to which the "insured"
     a. False arrest, detention or Imprisonment;                         must submit or does submit with our consent;
                                                                         or
     b. Malicious prosecution;
                                                                     b. Any other alternative dispute resolution pro-
     c. The wrongful eviction from, wrongful entry                       ceeding in which such damages are claimed
         into, or invasion of the right of private occu-                 and to which the "insured" submits with our
         pancy of a room, dwelling or premises that a                    consent.
         person occupies, by or on behalf of its owner,
         landlord or lessor;                                     21."Your product" means:
    d. Oral or written publication of material that                  a. Any goods or products, other than real prop-
         slanders or libels a person or organization or                  erty, manufactured, sold, handled, distributed
         disparages a person's or organization's goods,                 or disposed of by:
         products or services; or                                      (1) You; and
     e. Oral or written publication of material that                   (2) Others trading under your name.
         violates a person's right of privacy.                       b. Containers (other than vehicles), materials,
17."Property damage" means:                                              parts or equipment furnished in connection
     a. Physical injury to tangible property, including                 with such goods or products.
        all resulting loss of use Of that property. All             "Your product" does not include property rented to
        such loss of use shall be deemed to occur at                or located for the use of others but not sold.
         the time of the physical injury that caused it; or         "Your product" includes:
    b. Loss of use of tangible property that is not                 a. Warranties or representations made at any
         physically Injured. All such loss of use shall be              time with respect to the fitness, quality, dura-
        deemed to occur at the time of the                               bility or performance or use of "your product";
        "occurrence" that caused it.                                    and
18."Residence employee" means an "insured's" em-                    b. The providing of or failure to provide warnings
    ployee whose duties are principally in connection                   or instructions.
    with the maintenance or use of the "residence
    premises", including household or domestic serv-             22."Your work" means:
    ices, or who performs duties elsewhere of a simi-               a. Work or operations performed by you or on
    lar nature not in connection with the "business" of                 your behalf; and
    any "insured".                                                  b. Materials, parts or equipment furnished in
19."Residence premises" means your principal resi-                      connection with such work or operations.
   dence and the grounds and structures appurtenant
                                                                    "Your work" includes:
    to it.
                                                                    a. Warranties or representations made at any
   "Residence premises" does not include any part or
                                                                        time with respect to the fitness, quality, dura-
    parts of a building or structure that are used for                  bility, performance or use of "your work"; and
   "business".
                                                                    b. The providing of or failure to provide warnings
                                                                        or instructions.




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                                                                                                   FARM
                                                                                           FL 01 16 09 94

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     EXCLUSION MIGRANT AND
                  SEASONAL AGRICULTURAL WORKER
                         PROTECTION ACT
This endorsement modifies insurance provided under the following:

   FARM LIABILITY COVERAGE FORM
   FARM EMPLOYERS LIABILITY AND FARM EMPLOYEES MEDICAL PAYMENTS INSURANCE
     ENDORSEMENT
   BASIC FARM PREMISES LIABILITY ENDORSEMENT
   BROAD FARM PREMISES LIABILITY ENDORSEMENT

This Insurance does not apply to damages awarded under:
A. The Migrant and Seasonal Agricultural Worker Protection Act (29 USC Sections 1801 et seq.) (hereinafter
   "MSAWPA");
B. Any law, due to violation of the MSAWPA; or
C. Any regulation promulgated pursuant to the MSAWPA.




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                                                                                                       FARM
                                                                                               FL 01 63 01 98

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         AMENDATORY ENDORSEMENT
This endorsement modifies insurance provided under the following:

   FARM LIABILITY COVERAGE FORM

A. Coverage H — Bodily Injury And Property                       b. We will have the right and duty to defend
   Damage Liability                                                 the "insured" against any "suit" seeking
                                                                    damages for covered physical injury. How-
   Under 2. Exclusions, Exclusion c. Pollution:                     ever, we will have no duty to defend the
   Subparagraph (a) of Item (1) does not apply to                   "insured" against any "suit" seeking dam-
  "bodily injury" or "property damage" caused by                    ages for physical injury to which this insur-
   heat, smoke or fumes from a fire, if the fire:                   ance does not apply. We may at our dis-
   1. Is set by the "insured" on the "insured loca-                 cretion investigate any "occurrence" and
      tion"; and                                                    settle any claim or "suit" that may result.
   2. Is set for the purpose of burning off crop stub-              But:
      ble or other vegetation and is consistent with               (1) The amount we will pay for damages is
      normal and usual agricultural practice; and                       limited as described below in 3., Aggre-
   3. Is not set in violation of an ordinance or law.                   gate Limit Of Insurance; and
B. Chemical Drift Liability Coverage is added to                   (2) Our right and duty to defend end when
   the Farm Liability Coverage Form as Coverage M,                      we have used up the applicable Aggre-
   as described and limited in 1. through 5. below.                     gate Limit of Insurance in the payment
                                                                        of judgments or settlements under
   1. Insuring Agreement                                                Chemical Drift Liability Coverage.
      a. We will pay those sums that the Insured"                    As used in this endorsement the term "suit"
         becomes legally obligated to pay as dam-                    means a civil proceeding in which damages
         ages for physical injury to crops or animals                because of physical injury to which this in-
         if:                                                         surance applies are alleged.
        (1) The injury was caused by discharge,                     "Suit" includes:
             dispersal, release or escape into the air,
             from the "insured location", of the                   (1) An arbitration proceeding in which such
             chemicals, liquids or gases that the                        damages are claimed and to which the
             "insured" has used in normal and usual                     "Insured" must submit or does submit
             agricultural operations; and                                with our consent; or
        (2) The chemicals, liquids or gases entered                (2) Any other alternative dispute resolution
              into the air by some means other than                      proceeding in which such damages are
             discharge, dispersal, release or escape                     claimed and to which the "insured"
             from aircraft.                                              submits with our consent
         The term physical injury does not include               c. No other obligation or liability to pay sums
          any indirect or consequential damages                      or perform acts or services is covered un-
         such as loss, at any time, of market for                    less explicitly provided for under Subitems
         crops or animals or of use of soil or ani-                  a. through g. in the first paragraph of Item
          mals.                                                      1. Supplementary Payments of the Addi-
                                                                     tional Coverages in the Farm Liability Cov-
         This coverage applies only to physical in-                  erage Form. -
         jury that occurs during the policy period.
          The physical injury must be caused by an
         "occurrence".




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   2. Exclusions                                                         However, Paragraph e. above does not
      Chemical Drift Liability Coverage does not                         include that part of any contract or
      apply to:                                                          agreement that indemnifies a railroad
                                                                         for "bodily injury" or "property damage"
      a. Any loss, cost or expense arising out of                        arising out of construction or demolition
         any:                                                            operations, within 50 feet of any railroad
        (1) Request, demand or order that any                            property and affecting any railroad
             "insured" or others test for, monitor,                      bridge or trestle, tracks, roadbeds, tun-
             clean up, remove, contain, treat, detox-                    nel, underpass or crossing.
             ify or neutralize, or in any way respond            e. Physical injury to crops or animals you
             to or assess the effects of pollutants; or              own, rent or borrow.
        (2) Claim or "suit" by or on behalf of a gov-         3. AGGREGATE LIMIT OF INSURANCE for
             ernmental authority for damages be-                 CHEMICAL DRIFT LIABILITY COVERAGE:
             cause of testing for, monitoring, clean-            $25,000
             ing up, removing, containing, treating,
             detoxifying or neutralizing, or in any way          a. Our total liability for Coverage M, Chemical
             responding to or assessing the effects                  Drift Liability Coverage, is the Aggregate
             of, chemicals, liquids or gases.                        Limit of Insurance stated above, unless a
                                                                     different Aggregate Limit of Insurance is
      b. Physical injury to crops or animals arising                 stated for Coverage M in the Declarations.
         out of agricultural operations which are in
         violation of an ordinance or law.                       b. The stated Aggregate Limit of Insurance
                                                                     applies separately to each consecutive an-
      c. Physical injury to crops or animals ex-                     nual period and to any remaining period of
         pected or intended from the standpoint of                   less than 12 months, starting with the be-
         the "insured".                                              ginning of the policy period shown in the
      d. Physical injury to crops or animals for                     Declarations, unless the policy period is
         which the "insured" is obligated to pay                     extended after issuance for an additional
         damages by reason of the assumption of li-                  period of less than 12 months. In that case,
         ability in a contract or agreement. This ex-                the additional period will be deemed part of
         clusion does not apply to liability for dam-                the last preceding period for purposes of
         ages:                                                       determining the Aggregate Limit of Insur-
                                                                     ance.
       (1) Assumed in a contract or agreement
             that is an "insured contract", provided             c. Therefore, the stated Aggregate Limit of
             the physical injury occurs subsequent to                Insurance is the most we will pay for the
             the execution of the contract or agree-                 applicable period of time as described in b.
             ment; or                                                above, regardless of the number of:
       (2) That the "insured" would have in the                    (1) "Occurrences";
             absence of the contract or agreement.                 (2) "Insureds";
                                                                   (3) Claims made or "suits" brought; or
         With respect to Chemical Drift Liability                  (4) Persons or organizations making claims
         Coverage, Paragraph e. of the "insured                          or bringing "suits".
         contract" definition in the Farm Liability
         Coverage Form is deleted and replaced by             4. Section III — Farm Liability Conditions of the
         the following:                                          Farm Liability Coverage Form applies to
                                                                 Chemical Drift Liability Coverage.
             e. That part of a contract or agreement
                 pertaining to your "farming" opera-          5. Words and phrases that appear in quotation
                 tions (including an indemnification of          marks in this endorsement have meaning as
                 a municipality in connection with               defined in Section IV — Definitions of the Farm
                 work performed for a municipality)              Liability Coverage Form, unless otherwise de-
                 under which you assume the tort li-             fined in this endorsement.
                 ability of another to pay a third per-
                 son or organization for physical in-
                 jury to crops or animals. Tort liability
                 means a liability that would be im-
                 posed by law in the absence of any
                 contract or agreement.




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                                                                                                              FARM
                                                                                                      FL 04 06 01 98

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

           ADDITIONAL RESIDENCE RENTED TO OTHERS
This endorsement modifies insurance provided under the following:

        FARM LIABILITY COVERAGE FORM

                                                   SCHEDULE*

Description of Residence:          Building #1, Location #1 - Dwelling

Location of Residence:            4300 Washington St., Wisconsin Rapids, WI 54494

N umber of Families:               1
Description of Residence:          Location #2 - Building #1 - Dwelling

Location of Residence:             4121 Washington St., Wisconsin Rapids, WI 54494

N umber of Families:               1
  Information required to complete this Schedule, if not shown on this endorsement, will be shown in the
Declarations.

A. For the purpose of Coverage H - Bodily Injury              B. Exclusion 2.I.(2) of Coverage H (Section I) does
   And Property Damage Liability, and Coverage J -               not apply with respect to the residence(s) listed in
   Medical Payments, the residence(s)listed in the               the Schedule.
   Schedule is included in the meaning of "insured
   location".




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                                                                                                             FARM
                                                                                                     FL 10 20 12 02

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              WAR LIABILITY EXCLUSION
This endorsement modifies insurance provided under the following:

   FARM LIABILITY COVERAGE FORM
   PERSONAL LIABILITY ENDORSEMENT

A. The following exclusion is added to:                        C. Exclusion g. under Paragraph 2. Exclusions of
                                                                  Section I — Coverage J — Medical Payments in
   1. Paragraph 2. Exclusions of Section l'— Cover-
                                                                  the Farm Liability Coverage Form does not apply.
      age H — Bodily Injury And Property Damage
                                                                  Medical payments due to war are now subject to
      Liability in the Farm Liability Coverage Form;
                                                                  Exclusion f. of Paragraph 2. Exclusions of Sec-
      and
                                                                  tion 1 — Coverage J — Medical Payments since
   2. Paragraph A.2. Exclusions of Coverage A —                  "bodily injury" arising out of war is now excluded
      Bodily Injury And Property Damage Liability                 under Coverage H.
      in the Personal Liability Endorsement:
                                                               D. The following exclusion is added to Paragraph B.2.
      WAR                                                         Exclusions of Coverage B — Personal Injury Li-
      "Bodily injury" or "property damage', however               ability in the Personal Liability Endorsement:
      caused, arising, directly or indirectly, out of:            WAR
      a. War, including undeclared or civil war; or               "Personal injury", however caused, arising, directly
      b. Warlike action by a military force, including            or indirectly, out of:
           action in hindering or defending against an            1. War, including undeclared or civil war; or
           actual or expected attack, by any govern-              2. Warlike action by a military force, including
           ment, sovereign or other authority using
                                                                      action in hindering or defending against an ac-
           military personnel or other agents; or                     tual or expected attack, by any government,
      c. Insurrection, rebellion, revolution, usurped                 sovereign or other authority using military per-
           power, or action taken by governmental au-                 sonnel or other agents; or
           thority In hindering or defending against any          3. Insurrection, rebellion, revolution, usurped
           of these.
                                                                      power, or action taken by governmental author-
B. The following exclusion is added to Paragraph 2.                   ity in hindering or defending against any of
   Exclusions of Section I — Coverages, Coverage I                    these.
   — Personal And Advertising Injury Liability in
   the Farm Liability Coverage Form:
   WAR
  "Personal Injury" or "advertising injury", however
   caused, arising, directly or indirectly, out of:
   1. War, Including undeclared or civil war; or
   2. Warlike action by a military force, including
      action in hindering or defending against an ac-
      tual or expected attack, by any government,
      sovereign or other authority using military per-
      sonnel or other agents; or
   3. Insurrection, rebellion, revolution, usurped
       power, or action taken by governmental author-
       ity in hindering or defending against any of
      these.




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                                                                                                               FARM
                                                                                                      Ft. 10 35 12 02

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           FUNGI OR BACTERIA EXCLUSION - LIABILITY
This endorsement modifies insurance provided under the following:

   FARM LIABILITY COVERAGE FORM

A. The following is added to Paragraph 2., Exclusions          B. The following is added to Paragraph 2., Exclusions
   of Section I — Coverages, Coverage H — Bodily                  of Section I — Coverages, Coverage I — Personal
   Injury And Property Damage Liability:                          And Advertising Injury Liability:
   2. Exclusions                                                  2. Exclusions
      This insurance does not apply to:                              This insurance does apply to:
      Fungi Or Bacteria                                              Fungi Or Bacteria
      a. "Bodily injury" and "property damage" that                  a. "Personal injury" that would not have taken
         would not have occurred, in whole or in part,                   place, in whole or in part, but for the actual,
          but for the actual, alleged or threatened in-                  alleged or threatened inhalation of, inges-
          halation of, ingestion of, contact with, expo-                 tion of, contact with, exposure to, existence
         sure to, existence of, or presence of, any                      of, or presence of, any "fungi" or bacteria on
         "fungi" or bacteria on or within a building or                  or within a building or structure including its
         structure Including its contents, regardless                    contents, regardless of whether any other
         of whether any other cause, event, material                     cause, event, material or product contrib-
         or product contributed concurrently or in any                   uted concurrently or in any sequence to
         sequence to such injury or damage.                              such injury.
      b. Any loss, cost or expense arising out of the                 b. Any loss, cost or expense arising out of the
         abating, testing for, monitoring, cleaning up,                  abating, testing for, monitoring, cleaning up,
         removing, containing, treating, detoxifying,                    removing, containing, treating, detoxifying,
          neutralizing, remediating or disposing of, or                  neutralizing, remediating or disposing of, or
          in any way responding to, or assessing the                     in any way responding to, or assessing the
         effects of, "fungi" or bacteria, by any "in-                    effects of, "fungi" or bacteria, by any "in-
         sured" or by any other person or entity.                        sured" or by any other person or entity.
      This exclusion does not apply to any "fungi" or          C. The following is added to the Definitions Section:
      bacteria that are, are on, or are contained in, a           "Fungi" means any type or form of fungus, includ-
      good or product intended for consumption.                   ing mold or mildew and any mycotoxins, spores,
                                                                  scents or byproducts produced or released by
                                                                  fungi.




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                                                                                                             FARM
                                                                                                     FL 10 90 01 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              EXCLUSION OF TERRORISM
This endorsement modifies insurance provided under the following:

   FARM LIABILITY COVERAGE FORM

A. The following definitions are added and apply             B. The following exclusion is added:
   under this endorsement wherever the term terror-             EXCLUSION OF TERRORISM
   isrn, or the phrase any injury or damage, are en-
   closed in quotation marks:                                   We will not pay for "any injury or damage" caused
                                                                directly or indirectly by "terrorism", including action
   1. "Terrorism" means activities against persons,             in hindering or defending against an actual or ex-
       organizations or property of any nature:                 pected incident of "terrorism". "Any injury or dam-
        a. That involve the following or preparation for        age" is excluded regardless of any other cause or
            the following:                                      event that contributes concurrently or in any se-
                                                                quence to such injury or damage. But this exclu-
          (1) Use or threat of force or violence; or
                                                                sion applies only when one or more of the fol-
          (2) Commission or threat of a dangerous               lowing are attributed to an incident of
               act; or                                         "terrorism":
          (3) Commission or threat of an act that               1. The "terrorism" Is carried out by means of the
                interferes with or disrupts an electronic,          dispersal or application of radioactive material,
               communication, information, or me-                   or through the use of a nuclear weapon or de-
               chanical system; and                                 vice that involves or produces a nuclear reac-
        b. When one or both of the following applies:               tion, nuclear radiation or radioactive contamina-
                                                                    tion; or
          (1) The effect is to intimidate or coerce a
                government or the civilian population or        2. Radioactive material is released, and it appears
                any segment thereof, or to disrupt any              that one purpose of the "terrorism" was to re-
               segment of the economy; or                           lease such material; or
          (2) It appears that the intent is to intimidate       3. The "terrorism" Is carried out by means of the
               or coerce a government, or to further po-            dispersal or application of pathogenic or poi-
                litical, ideological, religious, social or          sonous biological or chemical materials; or
               economic objectives or to express (or            4. Pathogenic or poisonous biological or chemical
               express opposition to) a philosophy or               materials are released, and It appears that one
                ideology.                                           purpose of the "terrorism" was to release such
   2. "Any injury or damage" means any injury or                    materials; or
        damage covered under the Farm Liability Cov-            5. The total of insured damage to all types of
       erage Form or any endorsement modifying the                  property exceeds $25,000,000. In determining
        Farm Liability Coverage Form to which this en-              whether the $25,000,000 threshold is ex-
        dorsement is applicable, and includes but is not            ceeded, we will include all insured damage sus-
        limited to "bodily injury", "property damage",              tained by property of all persons and entities af-
      "personal injury" or "advertising injury" as may              fected by the "terrorism" and business
        be defined in the Farm Liability Coverage Form              interruption losses sustained by owners or oc-
      • or any endorsement modifying the Farm Liabil-               cupants of the damaged property. For the pur-
        ity Coverage Form.                                           pose of this provision, Insured damage means
                                                                    damage that is covered by any insurance plus
                                                                    damage that would be covered by any insur-
                                                                    ance but for the application of any terrorism ex-
                                                                    clusions; or




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   6. Fifty or more persons sustain death or serious             With respect to this Exclusion, Paragraphs B.5.
      physical injury. For the purposes of this provi-           and B.6. describe the threshold used to measure
      sion, serious physical injury means:                       the magnitude of an incident of "terrorism" and the
      a. Physical injury that involves a substantial             circumstances in which the threshold will apply, for
          risk of death; or                                      the purpose of determining whether this Exclusion
                                                                 will apply to that Incident. When the Exclusion ap-
      b. Protracted and obvious physical disfigure-              plies to an incident of "terrorism", there is no cov-
          ment: or                                               erage under tho Farm Liability Coverage Form or
       c. Protracted loss of or impairment of the                any endorsement modifying the Farm Liability
          function of a bodily member or organ.                  COverage Form.
   Multiple incidents of "terrorism" which occur within          In the event of any incident of "terrorism" that is not
   a 72-hour period and appear to be carried out in              subject to this Exclusion, coverage does not apply
   concert or to have a related purpose or common                to "any injury or damage" that is otherwise ex-
   leadership will be deemed to be one incident, for             cluded under the Farm Liability Covorago Form or
   the purpose of determining whether the thresholds             any endorsement modifying the Farm Liability
   in Paragraphs B.5. or B.6. are exceeded.                      Coverage Form.




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  ENDORSEMENT - ASBESTOS, LEAD, AND SILICA EXCLUSION
  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
  This endorsement modifies insurance provided under the following:
      FARM LIABILITY COVERAGE PART
  EXCLUSION — Asbestos, Lead, and Silica — This insurance does not apply to "bodily injury", including Medical
  Payments,'property damage","advertising injury", or "personal injury" arising out of or in any way directly or
  Indirectly relating to:
  A. The use of asbestos, lead, or silica in constructing or manufacturing any good, product, or structure; and
  B. The manufacture, mining, processing, installation, handling, testing, ownership, sale, resale, abatement,
     removal, transportation, storage, or disposal of asbestos, lead, or silica:
      1. Fiber;
      2. Dust;
      3. Structures;
      4. Goods; or
      5. Products; including any:
          a. Products containing asbestos, lead, or silica; or
          b. Material containing asbestos, lead, or silica; and
  C. Exposure to, Inhalation of, ingestion of, consumption of or absorption of asbestos, lead, or silica:
      1. Fiber;
      2. Dust;
      3. Structures;
      4. Goods; or
      5. Products; including any:
          a. Products containing asbestos, lead, or silica; or
          b. Material containing asbestos, lead, or silica; and
  D. Any error or omission in supervision, instructions, recommendations, notices, warnings, advice given, or that
     should have been given in connection with asbestos, lead, or silica:
      1. Fiber;
      2. Dust;
      3. Structures;
      4. Goods; or
      5. Products; Including any:
          a. Products containing asbestos, lead, or silica; or
          b. Material containing asbestos, lead, or silica; and
  E. Any device or product that is designed or used to protect any person or organization from exposure to,
     inhalation of or ingestion of asbestos, lead, or silica:



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    1. Fiber;
    2. Dust;
    3. Structures;
   4.Goods; or
    5. Products; including any:
        a. Products containing asbestos, lead, or silica; or
        b. Material containing asbestos or lead.




THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
POLICY IS WRITTEN.


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  ENDORSEMENT - EQUINE ACTIVITIES - OWNER OCCUPIED INSURED
  LOCATION
  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
  This Endorsement modifies insurance provided under the following:
      FARM LIABILITY COVERAGE FORM

  A. SECTION I — Coverages — Coverage H — Bodily Injury and Property Damage Liability — Item 2., Exclusions
     Paragraph h., Use of Livestock or Other Animals, is entirely deleted and replaced with the following:
          h. Use of Livestock or Other Animals:
             (1)"Bodily Injury" to any person arising out of their use of any horse or other animal while
                participating in, and/or in practice or preparation for:
                   (a)Racing, including but not limited to harness, steeplechase, or flat racing;
                   (b)Polo;
                   (c) Medieval games, including but not limited to jousting;
                   (d)Rodeo or rodeo type events, contests or exhibitions, including but not limited to calf roping,
                      team roping, bull riding, steer wrestling, bareback riding, saddle bronco riding, bull fighting,
                      calf scrambling, and/or rodeo clown activities;
                   (e) Hunts and hunting, other than the horse show riding discipline of hunter/jumper; and/or
                   (f) Vaulting; or
             (2)"Bodily injury" or "property damage" to any person arising out of the use of any horse or other
                animal by the following types of facilities and/or businesses:
                   (a)Petting zoos;
                   (b) Dude ranches;
                   (c) Horse related resorts;
                   (d) Horse related guest ranches;
                   (e) Horse related bed and breakfasts;
                   (f) Horse related homeowners' associations; and/or
                   (g) Horse related guest farms; or
             (3)"Bodily injury" or "property damage" arising out of the conduct and/or operation of any "insured'
                In using, providing, or renting horses or other animals for any activity for a fee, Including but not
                limited to the following:
                   (a)Riding;
                   (b) Hay rides;

                   (c) Carriage, buggy, wagon, or other vehicle rides;
                   (d)Sleigh rides;
                   (e)Trail rides; and/or
                   (f) Pony Rides.



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                   However, subparagraph (3)does not apply to horse riding instruction provided for a fee as part
                   of a program of instruction in riding horses.
  B. SECTION I — Coverages — Additional Coverages — Item 2., Damage To Property Of Others — Paragraph b.,
     subparagraph (3)(a)is entirely deleted and replaced by the following:
                   (a)Professional services, a "business," or "equine activities" engaged In by an Insured".
  C. SECTION IV — Definitions — The following definitions are entirely deleted and replaced by the following:
      6. "Farming" means the operation of an agricultural enterprise and includes "equine activities".
     18."Residence employee' means an "insured's" employee while performing duties in connection with the
        maintenance or use of the "residence premises", including household or domestic services. However,
        "residence employee" does not include any "insured's" employee while performing duties in connection
        with any "equine activities' or "business" of any "insured".
     19."Residence premises" means your principal residence and the grounds and structures appurtenant to it.
        "Residence premises" does not include any part of parts of a building or structure that are used for any
        "equine activities" or "business".
  D. SECTION IV — DEFINITIONS — In addition to the definitions contained in the Coverage Form the following
     definition is added:
     "Equine activities" means:
          a. Breeding;
          b. Boarding; and
          c. Training
        of horses; and horse
          d. Riding academies;
          e.Riding stables;
          f. Show(s); and
          g. Riding club(s),
        all while operated by an "insured" at an "insured location" described in the Declarations.
        "Equine activities" does not mean stables or facilities that provide horses for hire. However, this
        exception does not apply to "equine activities" where a program of instruction in riding horses is provided
        for a fee.




  THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
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    U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
               ASSETS CONTROL("OFAC")
          ADVISORY NOTICE TO POLICYHOLDERS
No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
   • Foreign agents;
   • Front organizations;
   •Terrorists;
   • Terrorist organizations; and
   • Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States Treas-
ury's web site — http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC
Other limitations on the promiums and payments also apply.




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                                                                                                            FARM
                                                                                                    FP 01 48 10 02

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     WISCONSIN CHANGES
This endorsement modifies insurance provided under the following:

   FARM COVERAGE PART

A. The Ordinance Or Law Exclusion in the:                        3. The following provision is added to Paragraph
                                                                    1.Property:
   1. Causes Of Loss — Farm Property; and
                                                                    e. When this Coverage Part insures real prop-
   2. Causes Of Loss — Earthquake Form;
                                                                        erty In Wisconsin which is owned and occu-
   does not apply to the total loss or constructive total                pied by you primarily as a "dwelling" and the
   loss of the "dwelling" you occupy.                                    property is wholly destroyed, we will pay the
B. The following applies only to "dwellings" covered                     Limit of Insurance that applies to such
   under Coverage A — Dwellings In the Farm Proper-                      property.
   ty — Farm Dwellings, Appurtenant Structures And            C. The Intentional Loss Exclusion in the Causes Of
   Household Personal Property Coverage Form.                    Loss Form — Farm Property, Mobile Agricultural
   Under the Loss Condition — Valuation In B. Cover-             Machinery And Equipment Coverage Form and
   age A Conditions in the Farm Property — Farm                  Livestock Coverage Form is replaced by the fol-
   Dwellings, Appurtenant Structures And Household               lowing:
   Personal Property Coverage Form:                              INTENTIONAL LOSS
   1. The last paragraph under 1.b.(3) and 1.d. is               1. We will not pay for loss ("loss") or damage
       replaced by the following:                                   arising out of any act committed:
       The cost of repairs or replacement does not in-              a. By or at the direction of any "insured"; and
       clude the increased cost attributable to en-                  b. With the intent to cause a loss ("loss").
      forcement of any ordinance or law regulating
       the construction, use or repair of any property,          2. However, this exclusion will not apply to deny
       except in the event of the total loss or construc-           coverage to an "insured" who did not cooperate
       tive total loss of the "dwelling" you occupy;                 in or contribute to the creation of the loss
                                                                   ("loss"), provided the loss ("loss') is otherwise
   2. Paragraph 1.c.(2) is replaced by the following:
                                                                    covered under this Coverage Part and:
         (2) A proportion of the cost to repair or
                                                                     a. The loss ("loss") arose out of an act or
               replace the damaged part of the struc-
                                                                         pattern of abuse or domestic abuse; and
               ture, without deduction for depreciation.
               This proportion will equal the ratio of the           b. The perpetrator of the loss ("loss") is crimi-
               applicable Limit of Insurance to 80% of                   nally prosecuted for the act or acts causing
               the cost of repair or replacement. The                    the loss ("loss").
               cost of repairs or replacement does not           3. If we pay a claim pursuant to Paragraph C.2.,
               include the increased cost attributable to           our payment to the innocent "insured" is limited
               enforcement of any ordinance or law                  to that "insured's" ownership interest in the
               regulating the construction, use or repair            property less any payments we first made to a
               of any property, except In the event of               mortgagee or other party with a legal secured
               the total loss or constructive total loss of          interest in the property. In no event will we pay
               the "dwelling" you occupy; and                        more than the Limit of Insurance.




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D. The Legal Action Against Us Condition in the:            F. The following Is added to the Transfer Of Rights
   1. Farm Liability Coverage Form does not apply.             Of Recovery Against Others To Us Loss Condi-
                                                               tion in the Farm Property — Other Farm Provisions
   2. Farm Property — Other Farm Provisions Form —             Form — Additional Coverages, Conditions, Defini-
       Additional Coverages, Conditions, Definitions is        tions, Mobile Agricultural Machinery And Equip-
       replaced by the following:                              ment Coverage Form and Livestock Coverage
       No one may bring action against us under this           Form:
       insurance unless the action is brought within 2         If we pay an "insured" for a loss ("loss") described
       years after the date on which the direct physical       in Paragraph C.2.1 the rights of the "Insured" to re-
       loss or damage occurred.                                cover damages from the perpetrator are trans-
E. The:                                                        ferred to us to the extent of our payment. Following
   1. Concealment, Misrepresentation Or Fraud                  the loss ("loss"), the "insured" may not waive such
      General Condition in the:                                rights to recover against the perpetrator.
      a. Farm Property — Other Farm Provisions                 We will be entitled to a recovery only after you
           Form — Additional Coverages, Conditions,            have been fully compensated for damages.
           Definitions;                                     G. In the Causes Of LOss Form — Farm Property,
       b. Mobile Agricultural Machinery And Equip-             under A. Covered Causes Of Loss, items which
           ment Coverage Form; and                             provide that a Cause of loss does not apply if the
                                                              "dwelling", "insured location", building or structure
      c. Livestock Coverage Form; and                          has been "vacant" for more than 30 consecutive
   2. Representations Additional Condition in the              days are revised to replace 30 consecutive days
      Farm Liability Coverage Form;                            with 60 consecutive days.
   are replaced by the following:                           H. The following are added:
      a. No misrepresentation and no breach of                 1. Knowledge And Acts Of Agents
          affirmative warranty made by you or on your              a. If any of our agents knows any fact that
           behalf in the negotiation for or procurement                breaches a condition of this policy, we will
          of this policy affects our obligations unless,               be considered to know it also if that fact:
          if a misrepresentation, the person knew or
          should have known that the representation                 (1) Is known to the agent at the time the
           was false, and unless:                                         policy is issued or an application made;
                                                                            Or
         (1) We rely on the misrepresentation or                     (2) Later becomes known to the agent in the
              affirmative warranty and the misrepre-
              sentation or affirmative warranty is either                  course of his or her dealings as an agent
              material or made with intent to deceive;                     with you.
              or                                                   b. Any fact that breaches a condition of this
         (2) The facts misrepresented or falsely                       policy and is known to the agent before the
              warranted contribute to the loss.                        loss will not:
      b. No failure of a condition before a loss and                 (1) Vold this policy; or
          no breach of a promissory warranty affects                 (2) Prevent a recovery in the event of loss.
          our obligation under this policy unless such          2. Conformity To Statute Or Rule
          failure or breach exists at the time of loss
          and either:                                              Any provision of this Coverage Part (including
                                                                   endorsements which modify the Coverage
         (1) Increases the risk at the time of loss; or            Part) that is in conflict with a Wisconsin statute
         (2) Contributes to the loss.                              or rule is hereby amended to conform to that
                                                                   statute or rule.
                                                                   The term rule means a valid rule promulgated
                                                                   by the Commissioner of Insurance in accord-
                                                                   ance with the rule-making authority conferred
                                                                   under Wis. Stat. Ann. Sec. 227.11(2) and pub-
                                                                   lished in the Wisconsin Administrative Code.




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I. The following loss settlement provisions are added                   (c) The mortgageholder, If any.
   to the Loss Payment Loss Condition in the Farm                        However, we will not pay more than the
   Property — Other Farm Provisions Form — Addi-                         amount of loss payable under this policy.
   tional Coverages, Conditions, Definitions. These                  (2) Within 10 days after withholding the
   provisions apply to all real property covered under                   required amount, we will give written no-
   the Farm Property — Farm Dwellings, Appurtenant                       tice of the withholding to the following:
   Structures and Household Personal Property Cov-
   erage Form and Farm Property — Barns, Outbuild-                     (a) The building inspection official of the
   ings and Other Farm Structures Coverage Form                              m unicipality where the covered prop-
   except a one- or two-family dwelling that you oc-                         erty Is located;
   cupy as your principal residence:                                   (b) You;
       g. If a municipality, which is a first class city,              (c) Any mortgageholder and any other
          has elected to apply the provisions of Wis.                        Ilenholder who has an existing lien
          Stat. Ann. Secs. 632.10 through 632.104, a                         against the property and is named in
          part of our payment for fire or explosion loss                     the Declarations; and
          or damage to your covered real property in
                                                                       (d) The court in which judgment was
          that municipality will be withheld if the loss                     entered if the final settlement was
          or damage is subject to these provisions.
                                                                             determined by judgment.
         (1) The withheld amount will be paid in
                                                                     (3) We will not be liable in any cause of
              accordance with the law, to the follow-
              ing:                                                       action, nor may any liability be imposed
                                                                         on us, arising from the payment, with-
            (a) The municipality where the covered                       holding or transferring of all of any por-
                  property is located;                                   tion of a final settlement in accordance
            (b) You and any other interest named in                      with Wis. Stat. Ann. Secs. 632.10
                 the Declarations; or                                    through 632.104.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   BOILER AND MACHINERY COVERAGE PART
   CAPITAL ASSETS PROGRAM (OUTPUT POLICY)COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   PROFESSIONAL LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART

The following is added:
The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued.
On each renewal, continuation, or anniversary of the effective date of this policy, we will compute the premium in
accordance with our rates and rules then in effect.




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                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                     b. Give you reports on the conditions we find;
    1. The first Named Insured shown in the Declara-                    and
       tions may cancel this policy by mailing or de-               c. Recommend changes.
       livering to us advance written notice of cancel-         2. We are not obligated to make any inspections,
       lation.                                                      surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                such actions we do undertake relate only to in-
       ering to the first Named Insured written notice              surability and the premiums to be charged. We
       of cancellation at least:                                    do not make safety inspections. We do not un-
        a. 10 days before the effective date of cancel-             dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-               organization to provide for the health or safety
           mium; or                                                 of workers or the public. And we do not warrant
                                                                    that conditions:
        b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first               b. Comply with laws, regulations, codes or
       Named Insured's last mailing address known to                    standards.
       us.                                                      3. Paragraphs 1. and 2. of this condition apply
   4. Notice of cancellation will state the effective               not only to us, but also to any rating, advisory,
       date of cancellation. The policy period will end             rate service or similar organization which
       on that date.                                                makes insurance inspections, surveys, reports
                                                                    or recommendations.
   5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we              4. Paragraph 2. of this condition does not apply
       cancel, the refund will be pro rata. If the first            to any inspections, surveys, reports or recom-
       Named Insured cancels, the refund may be                     mendations we may make relative to certifica-
       less than pro rata. The cancellation will be ef-             tion, under state or municipal statutes, ordi-
       fective even if we have not made or offered a                nances or regulations, of boilers, pressure ves-
       refund.                                                    • sels or elevators.
   6. If notice is mailed, proof of mailing will be suf-     E. Premiums
       ficient proof of notice.                                 The first Named insured shown in the Declara-
B. Changes                                                      tions:
   This policy contains all the agreements between              1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                    and
   The first Named Insured shown in the Declara-                2. Will be the payee for any return premiums we
   tions is authorized to make changes in the terms                 pay.
   of this policy with our consent. This policy's terms      F. Transfer Of Your Rights And Duties Under
   can be amended or waived only by endorsement                 This Policy
   issued by us and made a part of this policy.
                                                                Your rights and duties under this policy may not
C. Examination Of Your Books And Records                        be transferred without our written consent except
   We may examine and audit your books and rec-                 in the case of death of an individual named in-
   ords as they relate to this policy at any time during        sured.
   the policy period and up to three years afterward.           If you die, your rights and duties will be trans-
D. Inspections And Surveys                                      ferred to your legal representative but only while
   1. We have the right to:                                     acting within the scope of duties as your legal rep-
                                                                resentative. Until your legal representative is ap-
       a. Make inspections and surveys at any time;             pointed, anyone having proper temporary custody
                                                                of your property will have your rights and duties
                                                                but only with respect to that property.




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                                                                                                    IL 00 21 07 02

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                 (Broad Form)

This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   PROFESSIONAL LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                              B. Under any Medical Payments coverage, to
   A. Under any Liability Coverage, to "bodily injury"           expenses incurred with respect to "bodily injury"
      or "property damage":                                      resulting from the "hazardous properties" of
                                                                 "nuclear material" and arising out of the opera-
     (1) With respect to which an "insured" under                tion of a "nuclear facility" by any person or or-
          the policy is also an insured under a nuclear          ganization.
          energy liability policy issued by Nuclear En-
          ergy Liability Insurance Association, Mutual        C. Under any Liability Coverage, to "bodily injury"
          Atomic Energy Liability Underwriters, Nu-              or "property damage" resulting from "hazardous
          clear Insurance Association of Canada or               properties" of "nuclear material", if:
          any of their successors, or would be an in-           (1) The "nuclear material"(a) is at any "nuclear
          sured under any such policy but for its ter-               facility" owned by, or operated by or on be-
          mination upon exhaustion of its limit of li-               half of, an "insured" or (b) has been dis-
          ability; or                                                charged or dispersed therefrom;
    (2) Resulting from the "hazardous properties"              (2) The "nuclear material" is contained in "spent
          of "nuclear material" and with respect to                  fuel" or "waste" at any time possessed,
          which (a) any person or organization is re-                handled, used, processed, stored, trans-
          quired to maintain financial protection pur-               ported or disposed of, by or on behalf of an
          suant to the Atomic Energy Act of 1954, or                "insured"; or
          any law amendatory thereof, or (b) the "in-
          sured" is, or had this policy not been issued        (3) The "bodily Injury" or "property damage"
                                                                     arises out of the furnishing by an "insured"
          would be, entitled to indemnity from the                   of services, materials, parts or equipment in
          United States of America, or any agency                    connection with the planning, construction,
          thereof, under any agreement entered into                  maintenance, operation or use of any "nu-
          by the United States of America, or any                    clear facility", but if such facility is located
          agency thereof, with any person or organi-                 within the United States of America, its ter-
          zation.                                                    ritories or possessions or Canada, this ex-
                                                                     clusion (3) applies only to "property dam-
                                                                     age" to such "nuclear facility" and any
                                                                     property thereat.




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 2. As used in this endorsement:                                     (c) Any equipment or device used for the proc-
   "Hazardous properties" includes radioactive, toxic                     essing, fabricating or alloying of "special
    or explosive properties.                                              nuclear material" if at any time the total
                                                                          amount of such material In the custody of
   "Nuclear material" means "source material", "Spe-                      the "insured" at the premises where such
    cial nuclear material" or "by-product material".                      equipment or device is located consists of
   "Source material", "special nuclear material", and                     or contains more than 25 grams of pluto-
   "by-product material" have the meanings given                          nium or uranium 233 or any combination
    them in the Atomic Energy Act of 1954 or in any                       thereof, or more than 250 grams of uranium
    law amendatory thereof.                                               235;
   "Spent fuel" means any fuel element or fuel com-                 (d) Any structure, basin, excavation, premises
    ponent, solid or liquid, which has been used or ex-                  or place prepared or used for the storage or
    posed to radiation in a "nuclear reactor".                            disposal of "waste";
   "Waste" means any waste material (a) containing                and includes the site on which any of the foregoing
   "by-product material" other than the tailings or               is located, all operations conducted on such site
    wastes produced by the extraction or concentration            and all premises used for such operations.
    of uranium or thorium from any ore processed pri-             "Nuclear reactor" means any apparatus designed
    marily for its "source material" content, and (b) re-         or used to sustain nuclear fission in a self-
    sulting from the operation by any person or organi-           supporting chain reaction or to contain a critical
   zation of any "nuclear facility" included under the            mass of fissionable material.
   first two paragraphs of the definition of "nuclear fa-
   cility".                                                       "Property damage" includes all forms of radioac-
                                                                  tive contamination of property.
   "Nuclear facility" means:
      (a) Any "nuclear reactor";
      (b) Any equipment or device designed or used
            for(1)separating the isotopes of uranium or
            plutonium, (2) processing or utilizing "spent
            fuel", or (3) handling, processing or pack-
            aging "waste";




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              EXCLUSION OF TERRORISM
This endorsement modifies insurance provided under the following:

        BOILER AND MACHINERY COVERAGE PART
        COMMERCIAL CRIME COVERAGE FORM
        COMMERCIAL INLAND MARINE COVERAGE PART
        COMMERCIAL PROPERTY COVERAGE PART
        EQUIPMENT BREAKDOWN PROTECTION COVERAGE FORM
        FARM COVERAGE PART
        GOVERNMENT CRIME COVERAGE FORM
        STANDARD PROPERTY POLICY

                                                   SCHEDULE

The Exception Covering Certain Fire Losses (Paragraph C)applies to property located in the following state(s),
if covered under the indicated Coverage Form, Coverage Part or Policy:


State(s)                                                   Coverage Form, Coverage Part or Policy

Arizona, California, Connecticut, Illinois, Maine, Missouri FARM COVERAGE PART
New Jersey, Pennsylvania, Rhode Island, North
Carolina,

Wisconsin, Virginia

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. The following definition is added and applies under         2. When one or both of the following applies:
   this endorsement wherever the term terrorism is                a. The effect Is to intimidate or coerce a
   enclosed in quotation marks.                                      government or the civilian population or any
  "Terrorism" means activities against persons,                      segment thereof, or to disrupt any segment
   organizations or property of any nature:                          of the economy; or
   1. That involve the following or preparation for the           b. It appears that the intent is to intimidate or
       following:                                                    coerce a government, or to further political,
       a. Use or threat of force or violence; or                     ideological, religious, social or economic
                                                                     objectives or to express (or express
       b. Commission or threat of a dangerous act; or                opposition to) a philosophy or ideology.
       c. Commission or threat of an act that
           interferes with or disrupts an electronic,
           communication, information, or mechanical
           system; and




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B. The following exclusion is added:                                   With respect to this item B.5., the immediately
   EXCLUSION OF TERRORISM                                              preceding paragraph describes the threshold
                                                                       used to measure the magnitude of an incident
   We will not pay for loss or damage caused directly                  of "terrorism" and the circumstances in which
   or indirectly by "terrorism", including action in                   the threshold will apply, for the purpose of
   hindering or . defending against an actual or                       determining whether this Exclusion will apply to
   expected incident of "terrorism". Such loss or                      that incident. When the Exclusion applies to an
   damage is excluded regardless of any other cause                    incident of "terrorism", there is no coverage
   or event that contributes concurrently or in any                    under this Coverage Form, Coverage Part or
   sequence to the loss. But this exclusion applies                    Policy.
   only when one or more of the following are
   attributed to an incident of "terrorism":                   C. Exception Covering Certain Fire Losses
   1. The "terrorism" Is carried out by means of the              The following exception to the Exclusion Of
       dispersal or application of radioactive material,          Terrorism applies only If indicated and as indicated
       or through the use of a nuclear weapon or                  In the Schedule of this endorsement.
       device that involves or produces a nuclear                 If "terrorism" results in fire, we will pay for the loss
       reaction, nuclear radiation or radioactive                 or damage caused by that fire, subject to all
       contamination; of                                          applicable policy provisions including the Limit of
   2. Radioactive material is released, and it appears            Insurance on the affected property. Such coverage
       that one purpose of the "terrorism" was to                 for fire applies only to direct loss or damage by fire
       release such material; or                                  to Covered Property. Therefore, for example, the
                                                                  coverage does not apply tO insurance provided
   3. The "terrorism" is carried out by means of the              under Business Income and/or Extra Expense
      dispersal or application of pathogenic or                   coverage forms or endorsements that apply to
       poisonous biological or chemical materials; or             those coverage forms, or to the Legal Liability
  4. Pathogenic or poisonous biological or chemical               Coverage Form or the Leasehold Interest
       materials are released, and it appears that one            Coverage Form.
       purpose of the "terrorism" was to release such          D. Application Of Other Exclusions
       materials; or
                                                                  1. When the Exclusion Of Terrorism applies in
  5. The total of insured damage to all types of                      accordance with the terms of 8.1. or 8.2., such
       property in the United States, its territories and             exclusion applies without regard to the Nuclear
       possessions, Puerto Rico and Canada exceeds                    Hazard Exclusion in this Coverage Form,
      $25,000,000. In determining whether the                         Coverage Part or Policy.
      $25,000,000 threshold is exceeded, we will
      include all insured damage sustained by                     2. The terms and limitations of any terrorism
       property of all persons and entities affected by               exclusion, or the inapplicability or omission of a
      the "terrorism" and business interruption losses                terrorism exclusion, do not serve to create
      sustained by owners or occupants of the                         coverage for any loss or damage which would
      damaged property. For the purpose of this                       otherwise be excluded under this Coverage
       provision, insured damage means damage that                    Form, Coverage Part or Policy, such as losses
      is covered by any insurance plus damage that                    excluded by the Nuclear Hazard Exclusion or
      would be covered by any insurance but for the                   the War And Military Action Exclusion.
      application of any terrorism exclusions. Multiple
      incidents of "terrorism" which occur within a 72-
      hour period and appear to be carried out in
      concert or to have a related purpose or common
      leadership will be deemed to be one incident,
      for the purpose of determining whether the
      thresheld is exceeded.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 WISCONSIN CHANGES - CANCELLATION
                         AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   BOILER AND MACHINERY COVERAGE PART
   CAPITAL ASSETS PROGRAM(OUTPUT POLICY)COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   FARM COVERAGE PART
   FARM UMBRELLA LIABILITY POLICY
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Paragraph 2. of the Cancellation Common Policy          B. The following Is added to the Cancellation
   Condition is replaced by the following:                    Common Policy Condition:
   2. We may cancel this policy by mailing or                 7. Anniversary Cancellation
      delivering to the first Named Insured written               If this policy is written for a term of more than
      notice of cancellation at least 10 days before             one year or has no fixed expiration date, we
      the effective date of cancellation.                         may cancel this policy for any reason by mailing
      If this policy has been In effect for less than 60         or delivering to the first Named Insured written
      days and is not a renewal policy, we may                   notice of cancellation at least 60 days before
      cancel for any reason.                                     the anniversary date of the policy. Such
       If this policy has been In effect for 60 days or          cancellation will be effective on the policy's
      more or Is a renewal of a policy we issued,                anniversary date.
      except as provided in Paragraph 7. below, we               We may cancel this policy because of the
      may cancel this policy only for one or more of             termination of an insurance marketing
      the following reasons:                                     Intermediary's contract with us only if the notice
      a. The policy was obtained by material                     of cancellation contains an offer to continue the
           misrepresentation;                                    policy with us if we receive a written request
                                                                 from the first Named Insured prior to the date
      b. There has been a substantial change in the              of cancellation.
           risk we originally assumed, except to the
           extent that we should have foreseen the         C. The following applies to the:
           change or considered the risk In writing the       BOILER AND MACHINERY COVERAGE PART
           policy;                                            CAPITAL ASSETS PROGRAM(OUTPUT
      c.   There   have been substantial breaches of          POLICY)COVERAGE PART
           contractual duties, conditions or warranties;      COMMERCIAL INLAND MARINE COVERAGE
           or                                                 PART
                                                              COMMERCIAL PROPERTY COVERAGE PART
      d. Nonpayment of premium.                               CRIME AND FIDELITY COVERAGE PART
      If this policy has been in effect for 60 days or        FARM COVERAGE PART
      more or is a renewal of a policy we issued, the
      notice of cancellation will state the reason for
      cancellation.




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    1. We may rescind this policy because of the                        b. We may refuse to renew this policy because
       following:                                                           of the termination of an insurance marketing
        a. Misrepresentation made by you or on your                         intermediary's contract with us only if the
            behalf in the negotiation for or procurement                    notice of nonrenewal contains an offer to
            of this Coverage Part, If the person knew or                    renew the policy with us if we receive a
            should have known that the representation                       written request from the first Named Insured
            was false;                                                      prior to the renewal date.
       b. Breach of affirmative warranty made by you                    c. If you fall to pay the renewal or continuation
            or on your behalf In the negotiation for or                     premium by the premium due date, this
            procurement of this Coverage Part;                              policy will terminate on the policy expiration
                                                                            or anniversary date, if we have:
       c. Failure of a condition before a loss if such
           failure exists at the time of loss; or                        (1) Given you written notice of the renewal
                                                                                or continuation premium not more than
       d. Breach of a promissory warranty if such                               75 days nor less than 10 days prior to
            breach exists at the time of loss.                                  the due date of the premium; and
   2. We may not rescind this policy:                                    (2) Stated clearly in the notice the effect of
       a. For the reasons in Paragraphs C.1.a. and                              nonpayment of premium by the due
            C.1.b. unless:                                                      date.
         (1) We rely on the misrepresentation or                    2. Anniversary Alteration
                affirmative     warranty       and      the            If this policy is written for a tem) of more than
                misrepresentation       or      affirmative            one year or has/ no fixed expiration date, we
                warranty Is either material or made with               may alter the terms or premiums of this policy
                intent to deceive; or                                  by mailing or delivering written notice of less
         (2) The facts misrepresented or falsely                       favorable terms or premiums to the first Named
                warranted contribute to the loss.                      Insured's last mailing address known to us. We
       b. For the reasons in Paragraphs C.1.c. and                     will mail, by first class mail, or deliver this notice
           C.1.d. unless such failure or breach:                       at least 60 days prior to the anniversary date.
         (1) Increases the risk at the time of loss; or                If we notify the first Named Insured within 60
                                                                       days prior to the anniversary date, the new
         (2) Contributes to the loss.                                  terms or premiums will not take effect until 60
   3. we elect to rescind this policy, we will notify
      If                                                               days after the notice was mailed or delivered.
      the first Named Insured of our intention within                 The notice will include a statement of the first
      60 days after acquiring knowledge of sufficient                  Named Insured's right to .cancel. The first
      facts to constitute grounds for rescission.                      Named Insured may elect to cancel the policy
                                                                       at any time during the 60-day period, In
D. The following are added and supersede any other
                                                                       accordance with Paragraph I. of the
   provisions to the contrary:
                                                                       Cancellation Common Policy Condition. If the
   1. Nonrenewal                                                      first Named Insured elects to cancel the policy
      a. If we elect not to renew this policy we will                 during the 60-day period, retum premiums or
           Mail or deliver written notice of nonrenewal               additional premium charges will be calculated
           to the first Named Insured's last mailing                   proportionately on the basis of the old
           address known to us. We may elect not to                    premiums.
           renew for any reason; the notice will state
           the reason for nonrenewal. We will mail or
           deliver the notice at least 60 days before the
           expiration date of this policy.
           We need not mail or deliver the notice If:
          (1) You have insured elsewhere;
          (2) You       have accepted replacement
               coverage;
          (3) You have requested or agreed to
               nonrenewal of this policy; or
         (4)This policy is expressly designated as
               nonrenewable.




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  3. Renewal With Altered Terms                                       We need not mail or deliver this notice if the
                                                                      only change adverse to you is a premium
     If we elect to renew this policy but on less                     increase that:
     favorable terms or at higher premiums, we will
     mail or deliver written notice of the new terms                  a. Is less than 25% and is generally applicable
     or premiums to the first Named Insured's last                        to the class of business to which this policy
     mailing address known to us. We will mall, by                        belongs; or
     first class mail, or deliver this notice at least 60             b. Results from a change based on your action
     days prior to the renewal date.                                      that alters the nature or extent of the risk
     If we notify the first Named Insured within 60                       insured against, including but not limited to
     days prior to the renewal date, the new terms                        a change in the classification or the units of
     or premiums will not take effect until 60 days                       exposure, or increased policy coverage.
     after the notice was mailed or delivered. The              E. Special Provision — Cancellation And
     notice will include a statement of the first                  Nonrenewal
     Named Insured's right to cancel. The first
     Named Insured may elect to cancel the                         With respect to Insurance provided under the
     renewal policy at any time during the 60-day                  Commercial Automobile Coverage Part, we will not
                                                                   cancel or refuse to renew Liability Coverage wholly
     period, in accordance with Paragraph 1. of the
                                                                   or partially because of age, sex, residence, race,
     Cancellation Common Policy Condition. If the
     first Named Insured elects to cancel the                      color, creed, religion, national origin, ancestry,
                                                                   marital status or occupation of anyone who is an
     renewal policy during the 60-day period, return
                                                                   insured.
      premiums or additional premium charges will
      be calculated proportionately on the basis of
     the old premiums.




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                   STARNET INSURANCE COMPANY - PRIVACY NOTICE
 StarNet Insurance Company (the "Company"), a member company of the W.R. Berkley Corporation ("Berkley") group of
 companies and each other member of the Berkley group of companies ("Affiliates") understands our customers' concern about
 privacy of their information collected by the Company. Our Company is dedicated to protecting the confidentiality and security
 of nonpublic personal Information we collect about our customers in accordance with applicable laws and regulations. This
 notice refers to the Company by using the terms "us,""we," or "our." The law requires that we send you a notice describing
 our privacy policy and how we treat the nonpublic personal information about our customers that we receive in connection with
 our business (Information").

 Why We Collect and How We Use Information;
 We colect and use Information for business purposes with respect to our insurance products and services and other business
 relation; involving our customers. We gather this Information to evaluate your request for insurance, to evaluate your
 insurance claims, to administer, maintain or review your insurance policy, and to process your insurance transactions. We
 also accumulate certain information about you as may be required or permitted by law.

Your insurance agent or broker also collects this Information and may use it to help with your overall insurance program or to
market additional products and services to you. We may also use Information to offer you other products or services that we
or our Affiliates provide.

How We Collect Information:
Most Information collected by us is provided by you or your insurance agent or broker to us. We obtain Information from (i)
applications or other forms submitted by you, your insurance agent or broker or your authorized representatives to us and our
Affiliates, and (II) your transactions with us or our Affiliates. We may also obtain Information from other sources such as (i)
consumer reporting agencies, (ii) other institutions or information services providers, (iii) employers,(iv) other insurers, or (v)
your family members.

Information We Disclose:
We disclose any Information which we believe is necessary to conduct our business as permitted by applicable law or where
required by applicable law. This disclosure may include (I) Information we receive from you on applications or other forms
provided to us and our Affiliates, such as names, addresses, social security numbers, assets, employer Information, salaries,
etc. (ii) Information about your transactions with us and our Affiliates, such as policy coverages, premiums, payment history,
etc., and (iii) Information we receive from a consumer reporting agency, such as credit worthiness and credit history.

To Whom We Disclose Information:
 We may,as permitted or required by applicable law, disclose your Information to nonaffiliated third parties, such as (I) your
 Insurance agent or broker, (ii) independent claims adjusters, (iii) insurance support organizations,(iv) processing companies,
(v) actuarial organizations,(vi) law firms,(vii) other insurance companies involved in an insurance transaction with you, (viii)
 law enforcement, regulatory, or governmental agencies,(ix) courts or parties therein pursuant to a subpoena or court order,(x)
 businesses with whom we have a marketing agreement, or (xi) our Affiliates.

We may share Information with our Affiliates so that they may offer you products and services from the Berkley group of
companies or to analyze our book of business and to consolidate necessary Information. We do not disclose Information to
other companies or organizations not affiliated with us for the purpose of using Information to sell their products or services to
you. For example, we do not sell your name to unaffiliated mail order or direct marketing companies.

How We Protect Information:
We require our employees to protect the confidentiality of Information as required by applicable law. Access to Information by
our employees is limited to administering, offering, servicing, processing or maintaining of our products and services. We also
maintain physical, electronic and procedural safeguards designed to protect Information. When we share or provide
Information to other persons or organizations, we contractually obligate them, if required by law, to treat Information as
confidential and conform to our privacy policy and applicable laws and regulations.

Correction and Access to Information:
Upon our receipt of your written request to us at StarNet Insurance Company,475 Steamboat Road, Greenwich, Connecticut
06836-2519 we will generally make Information available for your review. If you believe the Information we have about you is
incorrect or inaccurate, you may request that we make any necessary corrections, additions or deletions. If we agree with
your belief, we will correct our records If required by applicable law. If we do not agree, you may submit to us a short
statement of dispute, which we will include in any future disclosure by us of such Information If required by applicable law.

Requirements for Privacy Notice:
This privacy notice Is being provided due to recently enacted federal and state laws and regulations establishing new privacy
standards and requires us to provide this privacy policy. For additional information regarding our privacy policy, please write to
us at 475 Steamboat Road, Greenwich, Connecticut 06830

Dated: May 2003



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              yob BerkleyEquine & Cattle
                                StarNet Insurance Company

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To report a property or liability loss, immediately contact YORK:
    1. Email: 6648equ1nefarm@yorkrsg.com
    2. Fax: 800-393-8104
    3. Phone: 866-391-9675 -or- 321-578-5102




                                   YORK
                                    York Risk Services Group, Inc.
                                    605 Crescent Executive Court
                                        Lake Mary, FL 32746

Immediately report to the Company or to your Agent any incidences that you believe may result in a
claim or suit to be filed against you. Have your insurance policy handy so you can give the claim
representative your policy number and effective dates.

                                REMEMBER NOT TO ADMIT ANY FAULT.

Immediately report to thc Company if you are served Suit papers by a third party, whether you believe
it is valid or applies to your insurance policy. Be prepared to fax or mail a copy of these papers to the
Company or to your Agent.

                 FAILURE TO FOLLOW THESE RULES MAY JEOPARDIZE YOUR COVERAGE.




StarNetFarmClaimCardYork.pdf                                                               060ct0ber2017
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